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                                        NO. 22-1478
                     United States Court of Appeals
                                  for the First Circuit


       STEFANO GRANATA; JUDSON THOMAS; COLBY CANNIZZARO; CAMERON PROSPERI;
                THE GUNRUNNER, LLC; FIREARMS POLICY COALITION, INC.,
                                   Plaintiffs-Appellants,
                                              v.
         ANDREA JOY CAMPBELL, in her official capacity as Attorney General of the
        Commonwealth of Massachusetts; TERRENCE REIDY, in his official capacity as
           Secretary of the Executive Office of Public Safety and Security of the
                             Commonwealth of Massachusetts,
                                   Defendants-Appellees.

                APPEAL FROM A JUDGMENT OF THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MASSACHUSETTS


                      BRIEF OF THE DEFENDANTS-APPELLEES

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                                        INTRODUCTION

             Massachusetts law protects consumers from the sale of unsafe handguns that

       are prone to malfunction or accidental discharge during normal use or are not

       equipped with basic safety features. Together, the requirements for the

       commercial sale of handguns codified in Mass. Gen. Laws ch. 140, § 123, and the

       Attorney General’s handgun sales regulations, 940 Code Mass. Regs. §§ 16.01 et

       seq. (together, the “handgun safety regulations”), ensure that handguns sold in the

       Commonwealth are not defective and protect handgun users and their families

       against accidental injury or death. In this case, the plaintiffs claim that

       Massachusetts’s handgun safety regulations infringe their Second Amendment

       rights because, even though there are hundreds of handgun models that plaintiffs

       can lawfully buy, keep, and carry in Massachusetts, the handgun safety regulations

       prevent them from buying 18 specific handgun models that are not compliant with

       the regulations. In effect, plaintiffs claim that they have “a right to keep and carry

       any weapon whatsoever,” in contravention of District of Columbia v. Heller, 554

       U.S. 570, 626 (2008), and New York State Rifle & Pistol Ass’n v. Bruen, 142 S. Ct.

       2111, 2128 (2022).

             The District Court properly dismissed plaintiffs’ complaint because it fails to

       state a claim upon which relief can be granted. This Court may affirm for any or

       all of three independent reasons. First, the handgun safety regulations do not run
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       afoul of the text of the Second Amendment, because they do not meaningfully

       infringe plaintiffs’ right to keep and bear arms for lawful self-defense. Plaintiffs

       retain the ability to purchase, possess, and carry hundreds of handgun models that

       are approved for sale in Massachusetts; their claimed deprivation is the inability to

       purchase 18 models of handguns that are not approved for sale in Massachusetts

       because they have not satisfied the minimum safety requirements imposed by the

       state. Second, the challenged regulations are valid because they are conditions and

       qualifications on the commercial sale of arms that are presumptively lawful under

       Heller and Bruen. Third, the challenged regulations are consistent with the

       Nation’s historical tradition of firearms regulation, and thus do not violate the

       Second Amendment.

                                   QUESTION PRESENTED

             Do the handgun safety regulations—which prohibit the commercial sale of

       handgun models that have not met minimum safety requirements imposed by

       Massachusetts to protect against accidents like explosion or unintended discharge,

       but which do not interfere with plaintiffs’ ability to purchase, keep, and carry

       hundreds of other handgun models—violate the Second Amendment?




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                                 STATEMENT OF THE CASE

             This is an appeal from a judgment of the U.S. District Court for the District

       of Massachusetts (Zobel, J.) dismissing plaintiffs’ complaint for failure to state a

       claim upon which relief can be granted.

       Statutory and Regulatory Background
             To protect Massachusetts consumers and their families, two sets of safety

       requirements establish minimum standards for handguns sold by licensed retailers

       in the Commonwealth: (1) regulations promulgated pursuant to the Attorney

       General’s authority under Mass. Gen. Laws ch. 93A, § 2(c), and codified at 940

       Code Mass. Regs. §§ 16.01 et seq.; and (2) statutory requirements at Mass. Gen.

       Laws ch. 140, § 123, that form the basis for the Approved Firearms Roster.

             1.     The Attorney General’s Regulations
             Under Mass. Gen. Laws ch. 93A, § 2(c), the Attorney General has the

       authority to “prevent the deceptive or unfair sale or transfer of defective products

       which do not perform as warranted.” American Shooting Sports Council, Inc. v.

       Attorney Gen., 429 Mass. 871, 875, 711 N.E.2d 899, 902 (1999). Pursuant to this

       authority, in October 1997, the Attorney General of Massachusetts promulgated a

       set of regulations deeming it an unfair or deceptive trade practice for a “handgun-




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       purveyor”1 to “transfer” 2 a handgun within the Commonwealth that does not meet

       certain minimum safety and performance standards. 940 Code Mass. Regs.

       §§ 16.01 et seq. (the “Attorney General’s regulations”); see also Enforcement

       Notice: Attorney General’s Handgun Safety Regulations.3 The Attorney General’s

       regulations “are intended to protect responsible gun owners and their families from

       firearms 4 that are unsafe by design or manufacture.” July 16, 2004 Consumer

       Advisory on Glock Handguns (“Consumer Advisory”).5




       1
        A “handgun-purveyor” is defined to exclude those who transfer fewer than five
       handguns per year, those who transfer handguns to law enforcement, military
       personnel, or museums, and those who transfer antique weapons or weapons used
       for target shooting competitions. 940 Code Mass. Regs. § 16.01.
       2
        “Transfer” is defined as “sell, rent, or lease” and excludes sales to firearm
       wholesalers who do not intend to sell the handguns to Massachusetts retailers or
       consumers. Id.
       3
         See https://www.mass.gov/doc/attorney-generals-handgun-regulation-
       enforcement-notices/download, at 1-2. The Attorney General’s Enforcement
       Notices, as well as other sources cited in this section, are “official public records”
       that the Court may properly consider on a motion to dismiss. See Watterson v.
       Page, 987 F.2d 1, 3 (1st Cir. 1993).
       4
        Massachusetts law defines the term “firearm” such that it encompasses all
       handguns. See Mass. Gen. Laws ch. 140, § 121. A firearm is distinct from a
       “rifle” or “shotgun,” which are separately defined. See id.
       5
        See https://www.mass.gov/doc/attorney-generals-handgun-regulation-
       enforcement-notices/download, at 8.


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               The Attorney General’s regulations came in the wake of national research on

       preventing fatalities from accidental firearm discharges. In 1991, the United States

       General Accounting Office (“GAO”) conducted a study at the request of Congress

       that found that two basic safety features—child proofing and a load indicator—

       could prevent one third of all accidental gun deaths in the United States. See U.S.

       General Accounting Office, Report to the Chairman, Subcommittee on Antitrust,

       Monopolies, and Business Rights, Committee on the Judiciary, U.S. Senate,

       Accidental Shootings: Many Deaths and Injuries Caused by Firearms Could be

       Prevented 3 (1991) (“GAO Report”). 6 At the time, firearms were the fourth

       leading cause of accidental deaths among children aged 5 to 14 and third among

       15- to 24-year-olds. Id. at 2. The report noted that the two studied features would

       not prevent deaths caused by a gun that “discharge[d] when it [was] accidentally

       dropped or [fell] from its storage location”; thus, the prevention of such deaths fell

       outside the scope of the study. Id. at 4. The GAO Report recommended that “all

       possible efforts be made to reduce the number of accidental shootings” in light of

       the devastating “human, economic, and public health costs of these shootings to

       the victims, their families, and society[.]” Id. at 5.

               The Attorney General’s regulations make it an unfair and deceptive practice,

       and therefore a violation of state law, for a purveyor to transfer a handgun that is


       6
           See http://www.gao.gov/assets/160/150353.pdf.

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       defective or lacks certain safety features. First, handguns sold by retailers cannot

       be “made from inferior materials.” 940 Code Mass. Regs. § 16.04. To satisfy this

       requirement, a handgun must be made of materials that meet a specified minimum

       melting point, tensile strength, and density, or the gun must pass a performance test

       to show it can be fired repeatedly with only a limited number of malfunctions and

       without breaking. Id. §§ 16.01; 16.04(1), (3). Next, the handgun must not be

       “prone” to either repeated firing upon a single trigger pull or explosion upon firing.

       Id. § 16.04(2). The handgun must also pass a “drop test” to show it is not “prone

       to accidental discharge.” Id. §§ 16.01; 16.04(2). Further, the handgun must have a

       “safety device,” as defined by statute, that prevents the firing of the gun by an

       unauthorized user. Id. § 16.05(1) (citing Mass. Gen. Laws ch. 140, § 131K

       (providing examples of safety devices)).7 The handgun must also have a form of

       childproofing, defined as any mechanism that “effectively precludes an average

       five year old child from operating the handgun when it is ready to fire.” Id.

       § 16.05(2). Examples of adequate child-proofing mechanisms include a ten-pound

       trigger pull or a firing mechanism that cannot be operated by the smaller hands of




       7
        Such safety devices include, but are not limited to, “mechanical locks or devices
       designed to recognize and authorize, or otherwise allow the firearm to be
       discharged only by its owner or authorized user, by solenoid use-limitation
       devices, key activated or combination trigger or handle locks, radio frequency tags,
       automated fingerprint identification systems or voice recognition.” Mass. Gen.
       Laws ch. 140, § 131K.

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       an average five-year-old. Id. A “hammer deactivation device” also meets the

       child-proofing requirement. Id. § 16.05(4). 8 For semi-automatic handguns, the

       regulations further require either a load indicator or a magazine safety disconnect.

       Id. §§ 16.05(3); 16.05(4). 9 Finally, handguns must have a tamper resistant serial

       number. Id. § 16.03. 10

             The Attorney General’s regulations do not apply to all handgun sales in

       Massachusetts. As noted above, the regulations apply only to transfers by

       “handgun-purveyors,” 11 defined to exclude (among others) sellers who transfer

       fewer than five handguns per year. Id. § 16.01. These private sales are therefore

       not subject to the Attorney General’s regulations. Furthermore, most of the


       8
         A “hammer deactivation device” is “a built-in device (or an extension of the
       hammer) which allows a user manually to lower the handgun’s hammer into a
       deactivated position, and which must be manually re-toggled in order to re-cock
       the hammer before the handgun can be fired.” 940 Code Mass. Regs. § 16.01.
       9
         A “load indicator” is a “device which plainly indicates that a cartridge is in the
       firing chamber within the handgun.” A “magazine safety disconnect” is a “device
       that prevents the firing of the handgun when the magazine is detached from the
       handgun.” 940 Code Mass. Regs. § 16.01.
       10
         In addition to these safety features, the Attorney General’s regulations also
       require licensed retailers to make certain safety disclosures at the time of sale. 940
       Code Mass. Regs. § 16.06(1)-(3). Those provisions were not challenged in this
       complaint and are not at issue in this appeal.
       11
         Because plaintiffs use the term “licensed retailer” in their complaint, this brief
       uses that term interchangeably with “handgun-purveyor,” as well as “dealer,”
       another term commonly used in guidance related to these regulations.


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       regulations do not apply to handguns that were manufactured on or before October

       21, 1998. Id. § 16.07; Enforcement Notice #2: Attorney General’s Handgun Safety

       Regulations. 12

             2.     Codification of Section 123 and the Approved Firearms Roster

             In 1998, soon after the promulgation of the Attorney General’s regulations,

       the Legislature codified several overlapping provisions at Mass. Gen. Laws

       ch. 140, § 123, cl. 18-21 (“Section 123”), which impose conditions on a license to

       sell, rent, or lease firearms, rifles, or shotguns granted under Mass. Gen. Laws

       ch. 140, § 122. Specifically, the Attorney General’s regulations and Section 123

       share minimum safety standards relating to: the material composition of the

       handgun, Mass. Gen. Laws ch. 140, § 123, cl. 18; whether the handgun is prone to

       accidental discharge, id. § 123, cl. 19; and whether the handgun is prone to

       repeated firing or explosion, id. § 123, cl. 20. It is unlawful for a retailer to sell a

       handgun that does not comply with Section 123’s safety requirements. Mass. Gen.

       Laws ch. 140, § 128.

             In conjunction with Section 123, the Legislature directed the Secretary of the

       Executive Office of Public Safety and Security (“Secretary”) to “compile and

       publish a roster” of handguns that meet Section 123’s requirements. Mass. Gen.




       12
         See https://www.mass.gov/doc/attorney-generals-handgun-regulation-
       enforcement-notices/download, at 3-4.

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       Laws ch. 140, § 131¾. This roster is known as the “Approved Firearms Roster.”

       501 Code Mass. Regs. §§ 7.01 et seq.; see also Enforcement Notice #3: Attorney

       General’s Handgun Sales Regulations (940 Code Mass. Regs. § 16.00), February

       2002. 13

               As of its June 2021 update,14 the Approved Firearms Roster listed over

       1,000 handgun models that have been shown by independent testing 15 to meet

       Section 123’s requirements. See Approved Firearms Roster: 06/2021 (“June 2021

       Roster”). 16 The June 2021 Roster includes handguns from 29 manufacturers, often


       13
         See https://www.mass.gov/doc/attorney-generals-handgun-regulation-
       enforcement-notices/download, at 5-7.
       14
         At the time of briefing below, the most recent update to the Approved Firearms
       Roster was in June 2021. Since that time, the Approved Firearms Roster has been
       further updated, in February 2022 and October 2022. Those updates have placed
       over two dozen additional handgun models on the roster. See
       https://www.mass.gov/doc/approved-firearms-roster-9/download;
       https://www.mass.gov/doc/approved-firearms-roster-10/download.
       15
         A handgun may be placed on the Approved Firearms Roster “only after the
       Secretary has received a final test report from an approved independent testing
       laboratory” certifying that the handgun make and model meets the requirements of
       Section 123. 501 Code Mass. Regs. § 7.03(1). To have a particular handgun
       placed on the roster, a manufacturer or other entity can submit the handgun for
       testing at an approved laboratory and then send the final test report to the Secretary
       and the Gun Control Advisory Board. Id. § 7.04(1). Thus, the fact that a particular
       handgun is not included on the roster could mean that it has failed the requisite
       testing, or it could mean that the requisite testing has never been performed and/or
       submitted to the Secretary.
       16
            See https://www.mass.gov/doc/approved-firearms-roster-7/download.


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       with multiple models for each manufacturer. See id. For example, 66 Sig Arms

       models appear on the June 2021 Roster, representing numerous styles across six

       different calibers. See id. at 10-12.

             Like the Attorney General’s regulations, Section 123 does not regulate

       private sales; those sales are governed separately by Mass. Gen. Laws ch. 140,

       §§ 128A and 128B, which authorize a private seller to transfer up to four guns per

       year. Only “firearms dealer[s] licensed in Massachusetts” are prohibited from

       selling handguns that do not appear on the Approved Firearms Roster. 501 Code

       Mass. Regs. § 7.02. In addition, licensed retailers may sell handguns that do not

       appear on the Approved Firearms Roster if the gun was lawfully owned or

       possessed in Massachusetts prior to October 21, 1998. Id. § 7.05. 17

             The Attorney General’s regulations related to childproofing, load indicators,

       and tamper-resistant serial numbers have not been codified at Section 123 and so

       are not tested for inclusion on the Approved Firearms Roster. To be sold by a

       retailer in Massachusetts, a handgun that appears on the roster also must comply

       with the Attorney General’s regulations. Mass. Gen. Laws ch. 140, § 128; 940

       Code Mass. Regs. § 16.04.




       17
         A separate roster lists handguns that may be sold for formal target shooting and
       that are subject to a separate set of requirements. 501 Code Mass. Regs. §§ 7.12-
       7.15.

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       Statement of Facts

             The plaintiffs, four individuals, one gun retailer, and one organization, filed

       the underlying complaint in this matter on June 8, 2021. Plaintiffs bring a single

       claim under 42 U.S.C. § 1983 and the United States Constitution, alleging that

       Massachusetts’s handgun safety regulations deprive them of their right to keep and

       bear arms under the Second Amendment. Compl. ¶¶ 56-73, Appendix

       (“App.”) 19-22.

             1.     Individual Plaintiffs
             All four individual plaintiffs allege that they have a valid license to carry

       (“LTC”). Compl. ¶¶ 47-50, App. 16-18. Among other things, an LTC authorizes

       the licensee to purchase handguns, keep them in their homes, and carry them in

       public. Mass. Gen. Laws ch. 269, § 10(a); id. ch. 140, §§ 131, 131E(b), 131F.

       These four plaintiffs together identify 18 models of handguns they would purchase

       “new from a licensed retailer” but for Massachusetts’s handgun safety regulations.

       Compl. ¶¶ 47-50, App. 16-18.18 The complaint does not indicate what handguns, if

       any, the plaintiffs already purchased and own with their LTCs.



       18
         The makes and models of these 18 handguns are: Beretta 92X Performance; CZ-
       USA DW Kodiak 10mm; CZ-USA 75 Compact 9mm; CZ P-09; CZ P-10F; CZ-
       USA P-10 9mm; CZ Tactical Sport; CZ Tactical Sport Orange; fifth generation
       Glock 19 or 17; Kimber Ultra carry II .45; Kimber KHX custom .45; Kimber
       Desert Warrior .45; Magnum Research Desert Eagle XIX.50AE; Nighthawk
       Custom Heinie Signature Recon; Sig Arms Model 1911 “We the People” edition;
                                                                  (footnote continued)

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             Of the 18 models the individual plaintiffs seek to purchase, two of the

       models—both manufactured by Glock—appear on the Approved Firearms Roster.

       See Compl. ¶¶ 47-48, App. 16-17; June 2021 Roster, supra. Those models

       nonetheless cannot be sold by retailers in Massachusetts because they fail to

       comply with the Attorney General’s regulation that requires either a load indicator

       or magazine safety disconnect on semi-automatic handguns. See Consumer

       Advisory, supra; 940 Code Mass. Regs. §§ 16.05(3), (4). In an earlier

       constitutional challenge, this Court upheld that regulation, as applied to Glock

       handguns, against a due process challenge based on vagueness. See Draper v.

       Healey, 827 F.3d 1, 5 (1st Cir. 2016).19

             The remaining 16 models the individual plaintiffs desire to purchase do not

       appear on the Approved Firearms Roster. See Compl. ¶¶ 47-50, App. 16-18; June

       2021 Roster, supra. Plaintiffs make no factual allegations as to why these models

       are not on the roster. The complaint does not explain, for example, whether these

       models have failed one or more of the required safety and performance tests, or




       Sig Arms Model 1911 “TacOps” edition; and the Sig P365XL. Compl. ¶¶ 47-50,
       App. 16-18.
       19
         Although the Draper plaintiffs had also raised a challenge under the Second
       Amendment in the District Court, they stipulated before this Court that dismissal of
       the vagueness due process challenge “require[d] dismissal of their Second
       Amendment claim as well” and so the Court did not reach the merits of the Second
       Amendment claim. Draper, 827 F.3d at 4-5.

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       whether manufacturers have simply failed to make the models available for

       independent testing and submit the results to the Secretary. See generally Compl.;

       see also note 15, above. Further, the individual plaintiffs make no allegations

       about what features, if any, are unique to any of the 18 models that cannot be

       found in one or more of the hundreds of models of handguns that are available for

       purchase in Massachusetts. See generally Compl.

             2.     Retailer and Organizational Plaintiffs
             The retailer plaintiff, The Gunrunner, LLC (“Gunrunner”), alleges that, but

       for Massachusetts’s handgun sales regulations, it would “make available for sale to

       all of its law-abiding customers all commercially available handguns” that it is

       now barred from selling by the handgun safety regulations. Compl. ¶ 51, App. 18.

       Beyond this general allegation, Gunrunner makes no allegation of concrete harm to

       its business due to Massachusetts’s handgun safety regulations. Neither does

       Gunrunner allege it is unable to sell operational handguns to properly licensed

       Massachusetts consumers. See id.

             The organizational plaintiff, the Firearms Policy Coalition, Inc. (“FPC”),

       alleges harm to itself and on behalf of its members, which include the four

       individual plaintiffs. Compl. ¶¶ 52-55, App. 18-19. FPC does not allege that any

       of its members who are properly licensed in Massachusetts are unable to purchase




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       or possess an operational handgun for self-defense or other lawful purposes. See

       id.

       The District Court’s Decision

             Following briefing and argument on the defendants’ motion to dismiss, the

       District Court issued a Memorandum & Order (“Order”) on May 19, 2022,

       allowing defendants’ motion and dismissing the complaint.20

             At the time of the opinion, the prevailing framework for reviewing Second

       Amendment challenges within the First Circuit (and all other circuits) was a two-

       step approach. See Order 7. At step one, courts looked at whether the “challenged

       law burdens conduct that falls within the scope of the Second Amendment’s

       guarantee” and, if it did, courts proceeded to step two, which applied an

       appropriate level of means-ends scrutiny based on the severity of the challenged

       law’s burden on the plaintiff’s Second Amendment right. See, e.g., Gould v.

       Morgan, 907 F.3d 659, 668-69 (1st Cir. 2018).

             Although the defendants briefed below the arguments that the challenged

       regulations were consistent with the text and historical tradition of firearms

       regulation, and constituted presumptively lawful conditions and qualifications on

       the commercial sale of arms, see App. 38-43, the District Court—consistent with




       20
         The District Court’s Order is reprinted at pages A-1 to A-16 of the Addendum to
       plaintiffs’ brief. It is cited in this brief as “Order [page number].”

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       many decisions issued under the prior framework—assumed without deciding that

       the handgun safety provisions burden conduct within the historical scope of the

       Second Amendment. Order 8. The court nonetheless found that burden to be

       “modest” “at most” because “[e]ligible individuals within Massachusetts can freely

       choose from over a thousand handguns” approved for commercial sale within the

       state under the challenged provisions. Id. at 10-11. The District Court noted that

       the regulations do not restrict handgun possession in any manner and, further, do

       not even apply to all handgun sales, given the carve-out for private sales. Id. As a

       result, the regulations do not constitute the “total prohibition against keeping a

       handgun for self-defense within the home” that was at issue in Heller. Id. at 10.

             The District Court squarely rejected the plaintiffs’ argument that the

       regulations are a “total ban on the sale and thus possession of [the] specific makes

       and models” that the plaintiffs seek to acquire and so are unconstitutional under

       Heller. Id. at 11. Instead, the court explained, the plaintiffs’ argument “stretches

       Heller beyond the plain meaning of its text without any authority for doing so.” Id.

       The District Court continued, “[p]rohibiting the sale of specific makes and models

       of handguns for safety reasons is not the same as a total prohibition of the sale of

       handguns.” Id. In particular, the “fact that [the plaintiffs] cannot purchase every

       single handgun that may be in common use and available for purchase in other

       states, does not transform the regulations into a total ban on a category of class of


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       firearms (i.e., handguns in this case).” Id. at 11. “To conclude otherwise,” the

       court explained, “would eviscerate Heller’s holding that some regulation of firearm

       possession is permissible.” Id. Moreover, the court emphasized that the plaintiffs

       had not alleged “the handguns available for purchase in Massachusetts are

       inadequate to exercise their core Second Amendment right,” and so they had failed

       to show that striking down the regulations would in any way “enable or enhance an

       individual’s exercise of their right to possess a handgun” for the purpose of self-

       defense. Id. at 12.

             Having concluded that the regulations “do not impose a substantial burden”

       on the core of plaintiffs’ Second Amendment rights, id. at 12, the District Court

       applied intermediate scrutiny and held that the handgun safety provisions were

       “well supported and reasonable” and “pass intermediate scrutiny.” Id. at 16. The

       District Court accordingly dismissed the complaint. Id. This appeal followed.

                              SUMMARY OF THE ARGUMENT
             The judgment should be affirmed, and the handgun safety regulations should

       be upheld, because the regulations do not violate the Second Amendment.

       Although the District Court resolved the case using intermediate scrutiny as

       directed by this Court’s pre-Bruen precedents, this Court may affirm the judgment

       below under the new framework established by Bruen for analyzing Second

       Amendment claims.



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             There are three reasons, all raised below and all central considerations under

       Bruen, why the handgun safety regulations are constitutional. First, plaintiffs have

       failed to meet their burden of demonstrating that the handgun safety regulations—

       which allow them to purchase, keep, and carry over 1,000 handgun models for

       lawful self-defense, in the home and in public—violate the text of the Second

       Amendment. Plaintiffs have not, in any meaningful way, had their right to “keep

       and bear arms” infringed, where they retain the right to engage in lawful, armed

       self-defense, in the home and in public, which is the “central component” of the

       Second Amendment right. Bruen, 142 S. Ct. at 2133. Second, the handgun safety

       regulations are undeniably “conditions and qualifications on the commercial sale

       of arms” that the Court in Heller said were “presumptively lawful,” 554 U.S. at

       626-27 & n.26—an exclusion the Court did not disturb in Bruen—and nothing in

       plaintiffs’ complaint has, or could, rebut that presumption, where, again, they

       retain the ability to purchase hundreds of handgun models in Massachusetts for use

       in armed self-defense. Third, the handgun safety regulations are fully consistent

       with the Nation’s historical tradition of firearms regulation, as evidenced by

       historical laws throughout the states, from the colonial period through the end of

       the 19th century, that (1) required the inspection or “proving” of firearms and

       ammunition before they could be sold; (2) required the safe storage of firearms and

       ammunition to reduce the risk of fire and explosion; (3) banned the sale of firearms


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       to minors; and (4) prohibited the configuration of otherwise lawful weapons as

       “trap” or “spring” guns, which rendered them unusually dangerous.

                                          ARGUMENT

             On de novo review of the District Court’s dismissal of the case under Fed.

       R. Civ. P. 12(b)(6), see Azurity Pharms., Inc. v. Edge Pharma, LLC, 45 F.4th 479,

       489 (1st Cir. 2022), this Court may affirm the judgment below on any ground

       apparent from the record, regardless of whether it was presented to, or considered

       by, the lower court. E.g., In re Montreal, Maine & Atlantic R’way, Ltd., 888 F.3d

       1, 8 n.4 (1st Cir. 2018); accord Dandridge v. Williams, 397 U.S. 471, 475 n.6

       (1970). Although the District Court upheld the challenged regulations under

       intermediate scrutiny using the pre-Bruen framework applicable to such claims,

       Order 7-9, the arguments briefed here were all presented to the District Court. See

       App. 38-43.

             Further, where the alternative arguments presented by defendants are purely

       legal issues regarding whether the handgun safety regulations comport with the

       text and history of the Second Amendment, this Court may proceed to adjudicate

       the case itself, rather than ordering a remand that would only pointlessly prolong

       the litigation. See Phelps-Roper v. Troutman, 712 F.3d 412, 417 (8th Cir. 2013)

       (where appeal “raises purely legal issues,” the court may “reach the merits of th[e]

       case in the interest of judicial economy” despite an intervening change in the legal



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       standard) (internal citation omitted); Medgraph, Inc. v. Medtronic, Inc., 843 F.3d

       942, 948 (Fed. Cir. 2016) (if remand would merely result in “a pointless

       prolonging of litigation,” the Court may apply intervening legal authority on

       appeal in the first instance).21

             Below, after summarizing the new Second Amendment framework

       established by Bruen, the defendants explain the three independently sufficient

       grounds upon which the handgun safety regulations should be upheld: (1)

       plaintiffs’ failure to meet their burden of demonstrating that the handgun safety

       regulations violate the text of the Second Amendment; (2) the fact that the

       regulations are “presumptively lawful” “conditions and qualifications on the

       commercial sale of arms,” and plaintiffs have not rebutted that presumption; and

       (3) defendants’ demonstration that the regulations are fully consistent with our

       Nation’s historical tradition of firearms regulation.

       I.    The Second Amendment Framework.
             The Second Amendment provides: “A well regulated Militia, being

       necessary to the security of a free State, the right of the people to keep and bear

       Arms, shall not be infringed.” U.S. Const. amend. II. In Heller v. District of

       Columbia, 554 U.S. 570 (2008), the Supreme Court held that a “ban on handgun



       21
         See also Defendants-Appellees’ Opposition to Plaintiffs-Appellants’ Motion for
       Vacatur and Remand (filed with this Court on Sept. 16, 2022). The defendants
       incorporate by reference here all of the arguments they made in that filing.

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       possession in the home violates the Second Amendment, as does [a] prohibition

       against rendering any lawful firearm in the home operable for the purpose of

       immediate self-defense.” Id. at 635. Two years later, the Court ruled that the

       Second Amendment applies to the States, in striking down ordinances that likewise

       banned handgun possession. McDonald v. City of Chicago, 561 U.S 742, 750

       (2010).

             Heller made clear, however, that “[l]ike most rights, the right secured by the

       Second Amendment is not unlimited” and is “not a right to keep and carry any

       weapon whatsoever in any manner whatsoever and for whatever purpose.” 554

       U.S. at 626. “[N]othing in our opinion,” the Court emphasized, “should be taken

       to cast doubt on longstanding prohibitions on the possession of firearms by felons

       and the mentally ill, or laws forbidding the carrying of firearms in sensitive places

       such as schools and government buildings, or laws imposing conditions and

       qualifications on the commercial sale of arms.” Id. at 626-27. And these were

       merely “examples” of “presumptively lawful regulatory measures”; the Court’s list

       did “not purport to be exhaustive.” Id. at 627 n.26. The Court “repeat[ed] those

       assurances” in McDonald. 561 U.S. at 786 (plurality opinion).

             Shortly after the District Court issued its order dismissing plaintiffs’

       complaint in this case, the Supreme Court issued its opinion in New York State

       Rifle & Pistol Ass’n, Inc. v. Bruen, 142 S. Ct. 2111, 2128 (2022), which sets forth


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       the current framework for analyzing Second Amendment claims. In Bruen, the

       Supreme Court addressed the constitutionality of the State of New York’s

       requirement that individuals show “proper cause” as a condition of securing a

       license to carry a concealed firearm in public. Bruen, 142 S. Ct. at 2123. The

       Court struck down the law after concluding that law-abiding citizens have a right

       to carry a firearm in public for self-defense, and that the law in question, which did

       not derive from a comparable historical tradition, made it “virtually impossible”

       for most citizens to exercise this right. Id. at 2156; id. at 2159 (Alito, J.,

       concurring).

             In its decision, the Court announced the proper methodology for analyzing

       Second Amendment claims. The Court declined to adopt the two-step approach

       that included mean-ends scrutiny and that had prevailed throughout the lower

       courts since Heller, including in this Court. Id. at 2126-29. Instead, the Court

       described the test that it derived from Heller as follows: “When the Second

       Amendment’s plain text covers an individual’s conduct, the Constitution

       presumptively protects that conduct. The government must then justify its

       regulation by demonstrating that it is consistent with the Nation’s historical

       tradition of firearm regulation.” Id. at 2129-30.

             The Bruen Court began with the “plain text” analysis by looking at the

       “‘textual elements’ of the Second Amendment’s operative clause,” i.e., that “the


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       right of the people to keep and bear arms shall not be infringed.” Id. at 2134

       (quoting Heller, 554 U.S. at 592; U.S. Const. amend. II). In analyzing the meaning

       of the term “‘bear’ arms” within the text of the Second Amendment, the Court

       reiterated that “self-defense is ‘the central component of the Second Amendment

       right.’” Id. at 2133 (emphasis in original) (quoting McDonald, 561 U.S. at 767,

       and Heller, 554 U.S. at 599). And where the parties did not dispute that the New

       York law applied to all handguns, and that the petitioners had a right to carry

       handguns in public for self-defense, the Court had “little difficulty” concluding

       that the text of the Second Amendment extended to petitioners’ proposed course of

       conduct. Id. at 2134-35.

             Having determined that the plain text of the Second Amendment covered the

       petitioners’ conduct, the Bruen Court moved on to the historical analysis. Id. at

       2134-35. There, the burden shifted to the government to show that the challenged

       law was consistent with “the Nation’s historical tradition of firearm regulation.”

       Id. at 2135. The Court explained that in some cases, this inquiry would be “fairly

       straightforward,” such as when a challenged law addresses a “general societal

       problem that has persisted since the 18th century.” Id. at 2131. In such instances,

       the lack of a “distinctly similar” historical analogue, or if earlier generations

       addressed the problem through “materially different means,” or if analogous laws

       were enacted but then struck down by courts on “constitutional grounds,” that


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       would be evidence that the modern regulation is inconsistent with the historical

       tradition of firearms regulations. Id.

             But in other cases—particularly those where the challenged laws address

       “unprecedented societal concerns or dramatic technological changes”—this

       historical analysis requires a “more nuanced approach.” Id. at 2132. Governments

       can justify regulations of that sort by “reasoning by analogy,” showing that the

       challenged regulation is “‘relevantly similar’” to a “well-established and

       representative historical analogue.” Id. at 2133 (citation and emphasis omitted).

       Because such analogical reasoning under the Second Amendment is not intended

       to be a “regulatory straightjacket,” the modern-day regulation need not be a “dead

       ringer” for or a “historical twin” to its historical precursors to pass constitutional

       muster. Id. (emphasis in original). And even where “the historical record yields

       relatively few” examples of a particular type of restriction, if there were “no

       disputes regarding the lawfulness of such prohibitions,” then a court can “assume it

       settled” that the restriction could be imposed “consistent with the Second

       Amendment.” Id. at 2133. While the Court did not “provide an exhaustive survey

       of the features that render regulations relevantly similar under the Second

       Amendment,” it did identify “two metrics: how and why the regulations burden a

       law-abiding citizen’s right to armed self-defense.” Id. Ultimately, “whether

       modern and historical regulations impose a comparable burden on the right of


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       armed self-defense and whether that burden is comparably justified are central

       considerations when engaging in an analogical inquiry.” Id. (emphasis in original)

       (internal quotation marks omitted).

             Importantly, Bruen did not purport to overturn or call into question any

       aspect of Heller. To the contrary, the Court described the analytical approach

       articulated in Bruen as the same “test … set forth in Heller.” Id. at 2131; see also

       id. at 2134 (“Having made the constitutional standard endorsed in Heller more

       explicit, we now apply that standard to New York’s proper-cause requirement.”)

       The Bruen Court cited approvingly language from Heller that “the right secured by

       the Second Amendment is not unlimited” and is “not a right to keep and carry any

       weapon whatsoever in any manner whatsoever and for whatever purpose.” Id. at

       2128 (quoting Heller, 554 U.S. at 626). Similarly, Justice Kavanaugh’s

       concurrence in Bruen, joined by Chief Justice Roberts, reiterated that, “[p]roperly

       interpreted, the Second Amendment allows a ‘variety’ of gun regulations,”

       including the non-exhaustive litany of “presumptively lawful regulatory measures”

       identified in Heller, such as “laws imposing conditions and qualifications on the

       commercial sale of arms.” Id. at 2162 (quoting Heller, 554 U.S. at 626-27 &

       n.26). And Justice Alito, in his concurrence in Bruen, likewise emphasized the

       limits of the Court’s decision, writing, “Our holding decides nothing … about the

       kinds of weapons that people may possess. Nor have we disturbed anything that


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       we said in Heller or [McDonald], about restrictions that may be imposed on the

       possession or carrying of guns.” 142 S. Ct. at 2157 (emphasis added).

       II.   Plaintiffs Cannot Establish That the Handgun Safety Regulations
             Burden Conduct Protected by the Plain Text of the Second Amendment.

             The handgun safety regulations should be upheld, first, because they do not

       violate the text of the Second Amendment. The regulations do not remotely

       prevent the plaintiffs from keeping and carrying a handgun, in their homes and in

       public, for lawful self-defense. The plaintiffs, who hold licenses to carry, can

       purchase, keep, and carry over 1,000 handgun models that appear on the Approved

       Firearms Roster and meet the requirements of the Attorney General’s Regulations.

       And, even with the respect to the 18 specific models that plaintiffs cannot purchase

       from a retailer, they can acquire those models through a private sale with a party

       who sells fewer than five handguns per year. See note 1, above.

             As the Supreme Court has thrice confirmed, “the right secured by the

       Second Amendment is not unlimited,” and it “does not confer ‘a right to keep and

       carry any weapon whatsoever in any manner whatsoever and for whatever

       purpose.’” Bruen, 142 S. Ct. at 2128; McDonald, 561 U.S. at 786 (plurality

       opinion); Heller, 554 U.S. at 626. Regulations like Massachusetts’s that do not

       ban an “entire class of ‘arms’” like handguns,22 but instead regulate their use to



       22
         See pages 30-33, below (rebutting plaintiffs’ inaccurate claim that the handgun
       safety regulations constitute a “Handgun Ban”).

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       further interests like “fire-safety” and “prevent[ing] accidents,” “do not remotely

       burden the right of self-defense.” Id. at 628, 632; see also Pena v. Lindley, 898

       F.3d 969, 978 (9th Cir. 2018) (similar handgun safety regulations in California

       placed “almost no burden on the physical exercise of Second Amendment rights”).

             A.     Plaintiffs Bear the Initial Burden of Demonstrating That Their
                    Proposed Conduct Falls within the Text of the Second
                    Amendment.

             Under Bruen’s text-and-history standard for adjudicating Second

       Amendment claims, the party challenging a restriction must first demonstrate that

       the law regulates conduct protected by the “plain text” of the Second Amendment.

       Bruen, 142 S. Ct. at 2126; see also id. at 2130, 2135. The Second Amendment

       “presumptively protects that conduct” only if covered by the plain terms of the

       amendment. Id. at 2126; see also id. at 2129-30 (same). To establish that the plain

       text applies, a plaintiff must demonstrate that each of the “textual elements” of the

       Second Amendment’s operative clause covers the proposed course of conduct. Id.

       at 2134 (quoting Heller, 554 U.S. at 592); cf. Ocean State Tactical, LLC v. State of

       Rhode Island, No. 22-CV-246 JJM-PAS, 2022 WL 17721175, at *2 (D.R.I. Dec.

       14, 2022) (“[T]he plaintiffs have failed in their burden to demonstrate that [large-

       capacity magazines] are ‘Arms’ within the meaning of the Second Amendment’s

       text.”) (emphasis added); Gazzola v. Hochul, No. 122CV1134BKSDJS, 2022 WL

       17485810, at *14 (N.D.N.Y. Dec. 7, 2022) (“Plaintiffs fail to demonstrate that the



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       Second Amendment’s plain text covers the conduct regulated by the statutory

       provisions at issue.”); National Ass’n for Gun Rights, Inc. v. City of San Jose,

       No. 22-cv-501-BLF, 2022 WL 3083715, at *8 (N.D. Cal. Aug. 3, 2022) (“If the

       conduct at issue is covered by the text of the Second Amendment, the burden then

       shifts to the government to show why the regulation is consistent with the Nation’s

       historical tradition of firearm regulation.”) (emphasis added).

             That the plaintiff bears the initial burden in the Second Amendment context

       is consistent with how the Supreme Court “protect[s] other constitutional rights.”

       Bruen, 142 S. Ct. at 2130. As explained in Bruen, in free speech cases under the

       First Amendment, “to which Heller repeatedly compared the right to keep and bear

       arms,” the government bears the burden of justifying its actions only “[w]hen the

       Government restricts speech.” Id. at 2130 (quotation marks and citation omitted).

       Plaintiffs who assert free speech claims are “oblig[ed]” to first “demonstrate that

       the First Amendment even applies” to the “assertedly expressive conduct” in which

       they wish to engage. Clark v. Community for Creative Non-Violence, 468 U.S.

       288, 293 n.5 (1984). And when scrutinizing Free Exercise claims, the Court first

       asks whether the plaintiff has shown that the government “has burdened his sincere

       religious practice pursuant to a policy that is not ‘neutral’ or ‘generally

       applicable.’” Kennedy v. Bremerton Sch. Dist., 142 S. Ct. 2407, 2421-22 (2021).

       “Should a plaintiff make a showing like that,” the burden then shifts to the


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       government to justify its action. Id. at 2422. Bruen confirms that this same

       approach applies in the Second Amendment context.

             Under this approach, therefore, plaintiffs have the burden of establishing that

       the handgun safety regulations burden their right to “keep and bear” arms. U.S.

       Const. amend. II. Because they cannot meet this burden, their claim should be

       rejected based on the text of the Second Amendment alone.

             B.     Plaintiffs Cannot Establish that the Handgun Safety Regulations
                    Burden Their Second Amendment Right to “Keep and Bear”
                    Arms.
             Under Bruen, the constitutional inquiry begins with whether the Second

       Amendment’s plain text protects the plaintiffs’ “proposed course of conduct.”

       Bruen, 142 S. Ct. at 2134. Here, the plaintiffs’ proposed course of conduct is to

       purchase particular handgun models that have not been shown to include certain

       basic safety features intended to protect handgun operators and bystanders, even

       while hundreds of other handgun models are authorized for commercial sale by

       retailers in Massachusetts. 23 Plaintiffs’ proposed conduct is not protected by the



       23
         Gunrunner, a business that proposes to sell handgun models that do not comply
       with Massachusetts law, cannot assert Second Amendment rights. See Teixeira v.
       County of Alameda, 873 F.3d 670, 683-87 (9th Cir. 2017) (en banc) (conducting
       exhaustive textual and historical analysis). The Second Amendment guarantees
       only an “an individual right to keep and bear arms for self-defense.” Bruen, 142 S.
       Ct. at 2125 (emphasis added); see also Heller, 554 U.S. at 592 (the Second
       Amendment guarantees an “individual right to possess and carry weapons in case
       of confrontation” (emphasis added)). The Second Amendment “does not confer a
                                                                       (footnote continued)

                                                28
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       Second Amendment’s guarantee of an individual’s right to either “keep” or “bear”

       arms.

               As explained in Bruen, the “central component” of the Second

       Amendment’s guarantee is “self-defense.” Id. at 2135 (quoting Heller, 554 U.S. at

       599). To that end, the term “keep and bear” means that the Second Amendment

       text protects individuals’ rights to “‘keep’ firearms in their home, at the ready for

       self-defense,” id. at 2135, and to carry arms on one’s person in and outside the

       home in case of confrontation, id. at 2136. Nothing in the handgun safety

       regulations prevents the individual plaintiffs from purchasing, keeping, and

       carrying a functional handgun for the purpose of self-defense, in the home and in

       public.

               Plaintiffs label the handgun safety regulations as a “Handgun Ban,” see

       Plaintiffs’-Appellants’ Opening Brief (“Br.”) at 5, 25-26, but this is patently

       wrong. Plaintiffs identify no more than 18 models of handgun that they cannot

       purchase from dealers in Massachusetts because of the challenged handgun safety

       regulations. Compl. ¶¶ 47-50, App. 16-18; Br. at 7-8. But there are over 1,000




       freestanding right, wholly detached from any customer’s ability to acquire
       firearms, upon a proprietor of a commercial establishment to sell firearms.”
       Teixeira, 873 F.3d at 682. To the extent Gunrunner contends it has third-party
       standing to assert the rights of its customers, see Plaintiffs’-Appellants’ Opening
       Brief (“Br.”) at 22-23, that argument is beside the point where the plaintiffs include
       individuals who have asserted their own Second Amendment claims.

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       models of handguns on the Approved Firearms Roster, spanning 29 different

       manufacturers. See June 2021 Roster. If these models also satisfy the Attorney

       General’s additional requirements, they may be sold by any licensed retailer in

       Massachusetts. Furthermore, because the handgun safety regulations do not apply

       at all to private sales, the plaintiffs may be able to purchase any of the 18 models

       of handguns they wish to acquire through a private sale. See Mass. Gen. Laws

       ch. 140, §§ 128A and 128B (authorizing individuals to transfer up to four firearms

       per year without a license). As a result, plaintiffs have their choice of a diverse

       range of hundreds of handguns from retailers and private sellers and, with their

       LTCs, they may lawfully possess and carry those handguns, in the home and in

       public, in Massachusetts. And the plaintiffs make no allegations whatsoever that

       the handgun models they seek to purchase are better suited for self-defense than

       the over 1,000 models of handguns that are available for purchase in

       Massachusetts. See generally Compl., App. 1-23.

             Contrary to plaintiffs’ characterization, the handgun safety regulations do

       not “target” “handguns” as a “category of arms.” Br. at 25. Instead, the handgun

       safety regulations restrict the commercial sale of only the narrow subset of

       handguns that do not comply with the Commonwealth’s basic safety regulations.

       Plaintiffs seek to have it both ways—arguing, on the one hand, that “the function

       of the arm is what matters” in applying Bruen’s protections for arms in “‘common


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       use’ for self-defense,” Br. at 24; while, on the other, arguing that their Second

       Amendment rights are burdened despite the availability under the handgun safety

       regulations of hundreds of models of functional handguns.

             The challenged handgun safety regulations are a far cry from the laws

       invalidated by the Supreme Court in Heller, McDonald, and Bruen. In Heller, the

       Supreme Court struck down a District of Columbia law that “totally ban[ned]

       handgun possession in the home.” Heller, 554 U.S. at 628. Similarly, the Court in

       McDonald struck down municipal laws that “effectively bann[ed] handgun

       possession by almost all private citizens.” McDonald, 561 U.S. at 750. Finally, in

       Bruen, the Court struck down New York’s proper-cause requirement for obtaining

       a license to carry a firearm in public on the understanding that it prohibited the

       plaintiffs in that case (and most other citizens) from carrying any handgun in

       public for self-defense. Bruen, 142 S. Ct. at 2134, 2156; see also id. at 2159

       (Alito, J., concurring) (New York licensing law made it “virtually impossible” for

       most law-abiding citizens to carry a handgun in public). Unlike the laws at issue in

       Heller, McDonald, and Bruen, the handgun safety regulations do not infringe the

       individual plaintiffs’ ability to “keep and bear” “handguns” as a category of arms.24




       24
         The analysis in Justice Alito’s concurrence in Caetano v. Massachusetts, 577
       U.S. 411, 420 (2016), related to a “categorical ban” on stun guns as a category of
       arms, is inapposite for the same reason. See Br. at 26.

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             In essence, plaintiffs seek to define the “protected category of arms” in this

       case as only the subset of handguns that are unavailable for commercial sale due to

       the handgun safety regulations. But this Court has “squarely reject[ed]” the

       “suggestion that whatever group of weapons a regulation prohibits may be deemed

       a class,” because “[b]y this logic, … virtually any regulation could be considered

       an ‘absolute prohibition’ of a class of weapons.” Worman v. Healey, 922 F.3d 26,

       32 n.2 (1st Cir. 2019). The District Court below similarly wrote that the “fact that

       [the plaintiffs] cannot purchase every single handgun that may be in common use

       and available for purchase in other states, does not transform the regulations into a

       total ban on a category of class of firearms (i.e., handguns in this case),” in part

       because “[t]o conclude otherwise would eviscerate Heller’s holding that some

       regulation of firearm possession is permissible.” See Order 11; accord Heller, 554

       U.S. at 626 (Second Amendment right is “not a right to keep and carry any weapon

       whatsoever”). Nothing in Bruen calls into question this sound logic. Indeed, like

       Heller, Bruen made assurances that “the right secured by the Second Amendment

       is not unlimited.” Bruen, 142 S. Ct. at 2128 (quoting Heller, 554 U.S. at 626).25


       25
         Plaintiffs’ reliance on New York State Rifle & Pistol Ass’n v. Cuomo, 804 F.3d
       242 (2d Cir. 2015), for the proposition that a ban on a single model of weapon may
       be unconstitutional, is misplaced. See Br. at 27, 38. At issue there was
       Connecticut’s assault weapons ban, which had been amended after the Sandy Hook
       massacre to ban 183 specific models of weapon, all of which were semi-automatic
       except for one, the Remington Tactical Rifle Model 7615. 804 F.3d at 250 & n.17.
                                                                       (footnote continued)

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               Because plaintiffs cannot establish that the handgun safety regulations

       interfere with their ability to keep or carry an operational handgun for the purpose

       of lawful self-defense, they have not met their burden to show that the text of the

       Second Amendment covers their proposed conduct. See Bruen, 142 S. Ct. at 2135.

       The dismissal of their complaint should be affirmed on this basis alone.

               C.     Likewise, As Presumptively Lawful Qualifications on the
                      Commercial Sale of Firearms, the Handgun Safety Regulations
                      Do Not Burden the Right to “Keep and Bear Arms.”
               Plaintiffs’ Second Amendment claim also fails because the handgun safety

       regulations are presumptively lawful conditions and qualifications on the

       commercial sale of firearms, which do not burden the right to “keep and bear”

       arms.




       Connecticut defended its law by emphasizing the unusual dangers posed by semi-
       automatic weapons; it failed to present “any argument” to support banning a non-
       semi-automatic weapon like the Remington 7615. Id. at 257 n.73. The court
       therefore concluded that the Connecticut statute failed intermediate scrutiny as to
       that weapon alone, while also stating: “We do not foreclose the possibility that
       states could in the future present evidence to support such a prohibition.” Id.; see
       also id. at 262 n.112. Not only was this mode of analysis abrogated by Bruen, but,
       if anything, Cuomo supports the defendants’ position here. The Second Circuit
       upheld the remainder of Connecticut’s (and New York’s) ban on “assault
       weapons,” concluding that it did not ban an “entire class” of arms, but instead
       “only a limited subset of semiautomatic firearms, which contain one or more
       enumerated military-style features,” and thus did not impose a “severe” burden on
       Second Amendment rights. Id. at 260. Here, the burden on Second Amendment
       rights is even smaller, and indeed negligible, where plaintiffs have identified only
       18 handgun models that are not available for commercial sale in Massachusetts,
       but they retain the ability to purchase over 1,000 other models.

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             Heller set forth non-exhaustive categories of “presumptively lawful

       regulatory measures” that are “presumed to be consistent with the historical scope

       of the Second Amendment.” Pena, 898 F.3d at 975; see also Silvester v. Harris,

       843 F.3d 816, 829-30 (9th Cir. 2016) (Thomas, C.J., concurring) (if a law

       constitutes a condition or qualification on the commercial sale of firearms, it

       presumptively does not burden conduct protected by the Second Amendment).

       Heller stressed that it was not “cast[ing] doubt” on “prohibitions on the possession

       of firearms by felons and the mentally ill, or laws forbidding the carrying of

       firearms in sensitive places such as schools and government buildings, or laws

       imposing conditions and qualifications on the commercial sale of arms.” Heller,

       554 U.S. at 626-27 & n.26; see also McDonald, 561 U.S. at 786 (plurality opinion)

       (quoting the same from Heller and “repeat[ing] those assurances here”). Justice

       Kavanaugh, joined by Chief Justice Roberts, reiterated in his concurrence in Bruen

       that both Heller and McDonald were careful not to “cast doubt” on “laws imposing

       conditions and qualifications on the commercial sale of arms,” among other

       “presumptively lawful regulatory measures.” Bruen, 142 S. Ct. at 2162

       (Kavanaugh, J., concurring). Nothing in Bruen purported to overturn this critical

       language in Heller, and, indeed, the majority opinion in Bruen described its

       opinion as “apply[ing]” “[t]he test that we set forth in Heller.” Id. at 2131.




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             The handgun safety regulations fall squarely within the category of “laws

       imposing conditions and qualifications on the commercial sale of arms” that, like

       the other “presumptively lawful” measures that are “similarly rooted in history,

       were left intact by the Second Amendment and by Heller.” United States v.

       Rene E., 583 F.3d 8, 12 (1st Cir. 2009) (quoting Heller, 554 U.S. at 626-27 &

       n.26). Indeed, the handgun safety regulations function solely and exclusively as a

       regulation of the commercial sale of handguns. Section 123 is a series of

       conditions placed on a license issued to a retailer to engage in the commercial sale,

       rental, or leasing of handguns, rifles, and shotguns. See Mass. Gen. Laws ch. 140,

       § 123; see also id. § 122 (license to sell, rent, or lease firearms, rifles, and

       shotguns). It does not impact an individual’s LTC issued under Mass. Gen. Laws

       ch. 140, § 131. Similarly, the Attorney General’s regulations are issued under her

       authority to declare that certain activity—here, the selling of handguns that lack

       minimum safety features—constitutes an unfair and deceptive act or practice in the

       conduct of trade or commerce. See Mass. Gen. Laws ch. 93A, § 2(c). The

       structure and function of these provisions make clear that they are consumer

       product regulations requiring that firearms commercially sold in Massachusetts (1)

       are not defective; (2) contain safety mechanisms; (3) have childproofing features;

       and (4) have tamper-resistant serial numbers. And all of these requirements apply

       only to dealers offering firearms for sale in commerce, not to individual gun


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       owners. 940 Code Mass. Regs. § 16.01; accord Mass. Gen. Laws ch. 140, § 123.

       The regulations do not prohibit the possession or carrying of a firearm in any way.

             The handgun safety regulations are therefore “presumptively lawful” as

       “conditions and qualifications on the commercial sale of arms” under Heller, 554

       U.S. at 626-27 & n.26, an exclusion from the scope of the Second Amendment that

       the Court did not disturb in Bruen. See 142 S. Ct. at 2131, 2134; id. at 2162

       (Kavanaugh, J., concurring); id. at 2157 (Alito, J., concurring). Indeed, in an

       earlier challenge to one aspect of the handgun safety regulations, the District Court

       held that the requirement that handguns sold by retailers contain load indicators or

       magazine safety disconnects “fits comfortably among the categories of regulation

       that Heller suggested would be ‘presumptively lawful’ because it ‘impos[es]

       conditions and qualifications on the commercial sale of arms.’” Draper v. Healey,

       98 F. Supp. 3d 77, 85 (D. Mass. 2015) (alteration in original) (quoting Heller, 554

       U.S. at 626-27), aff’d on other grounds, 827 F.3d 1 (1st Cir. 2016). Where the

       plaintiffs’ complaint fails to make any plausible allegations that could rebut the

       presumption that the handgun safety regulations impose no burden on the right to

       keep and bear arms, the District Court’s dismissal should be affirmed. Cf. Teixeira

       v. Cnty. of Alameda, 873 F.3d 670, 690 (9th Cir. 2017) (en banc) (Owens, J.,

       concurring) (“The ordinance at issue here falls within that category of

       ‘presumptively lawful regulatory measures,’ Heller, 554 U.S. at 627 n.26, and


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       plaintiffs therefore ‘cannot state a viable Second Amendment claim.’ Nordyke v.

       King, 681 F.3d 1041, 1044 (9th Cir. 2012) (en banc).”).

       III.   The Handgun Safety Regulations Are Consistent with the Historical
              Tradition of Regulating Firearms for Public Safety.

              A.     State Laws Dating Back to the Colonial Period Regulated
                     Firearms Safety to Prevent Accidental Injury and Death.

              Although plaintiffs’ challenge to the handgun safety regulations founders on

       the text of the Second Amendment, the regulations are also fully consistent with

       the Nation’s historical tradition of firearms regulation. Massachusetts, like many

       other states, has long had laws in place to reduce the dangers posed by firearms

       and ammunition—including but not limited to firearms and ammunition inspection

       or “proving” laws; laws strictly regulating the safe storage of firearms and

       gunpowder; laws prohibiting the sale of weapons to minors; and laws banning

       configurations of otherwise-lawful weapons that rendered them unusually

       dangerous, such as “trap guns.” See generally Saul Cornell & Nathan DeDino, A

       Well Regulated Right: The Early American Origins of Gun Control, 73 Fordham L.

       Rev. 487, 502-16 (2004) (describing early laws from Massachusetts and other

       states regulating firearms by, for example, requiring militia to muster periodically

       to inspect and register citizens’ weapons; and regulating gunpowder and firearm

       storage); Robert J. Spitzer, Gun Law History in the United States and Second

       Amendment Right, 80 Law & Contemp. Probs. 55, 62-81 (2017) (summarizing, by

       category, various forms of firearms regulations, from the colonial era to the early

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       20th century). Regardless of whether the historical inquiry is deemed to be “fairly

       straightforward” or to require “a more nuanced approach,” Bruen, 142 S. Ct. at

       2131-32; see pages 22-24, above, the result is the same: the handgun safety

       regulations pass constitutional muster because they are “relevantly similar” to

       historical analogues. Bruen, 142 S. Ct. at 2132.

             To be sure, the problems of firearms safety and their fitness for their

       intended purpose have existed for as long as firearms have. So it is noteworthy

       that historical laws and rules, particular regarding inspection and testing of

       firearms and ammunition, are “distinctly similar to,” and not “materially different”

       from, Massachusetts’s current approach—even if these older laws are

       understandably less detailed than the current approach, given the vast technological

       developments in firearms over three centuries. Id. at 2131. And defendants have

       not found any judicial decisions invalidating these historical laws as violating

       citizens’ right to keep and bear arms. See id. (under “straightforward” approach,

       “if some jurisdictions actually attempted to enact analogous regulations during this

       timeframe, but those proposals were rejected on constitutional grounds, that

       rejection surely would provide some probative evidence of unconstitutionality”).

       Below, defendants summarize several categories of historical laws that are

       “relevantly similar” to the handgun safety regulations: firearms and ammunition

       “proving” or inspection laws; laws strictly regulating the storage of firearms and


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       gunpowder; laws barring the sale of firearms to minors; and laws banning

       unusually dangerous configurations of otherwise-lawful firearms, like “trap guns.”

                    1.    Laws Requiring the Inspection or “Proving” of Firearms
                          and Ammunition

             In 1805, Massachusetts enacted a law requiring the “proof,” or satisfactory

       inspection, of all firearms before they could be sold in the Commonwealth.

       “Whereas no provision hath been made by law for the proof of Fire Arms

       manufactured in this Commonwealth by which it is apprehended that many may be

       introduced into use which are unsafe and thereby the lives of the Citizens be

       exposed, to prevent which” the Legislature enacted a firearms inspection law.

       1804 Mass. Acts. 111, ch. 81, Add. 34-36. 26 The law authorized the appointment

       of up to two persons per county to be “provers of firearms,” “whose duty it shall be

       to prove all Musket Barrels and Pistol barrels which being sufficiently ground

       bored and breeched shall be offered to him to be proved.” Id. § 1, Add. 34. The

       law specified in detail the manner in which provers were to test and inspect the

       weapons, id., and if the weapons passed inspection, the prover was to stamp the

       weapon with the inspector’s initials and the year, “so deeply impressed on said

       barrel as that the same cannot be erased or disfiguered.” Id., Add. 34-35.



        All of the historical sources cited in this brief are either included in the
       26

       Addendum (“Add.”) to this brief, and thus will include a parallel cite to that
       Addendum, or are cited with a link to a publicly available database or repository
       where they can be found.

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       Weapons that failed this inspection, such that they were “unfit for use,” were not to

       be stamped, but instead returned to the owner, and they could not be sold in the

       Commonwealth. Id. §§ 1, 3, Add. 35. The manufacture or sale of weapons that

       did not contain these stamps subjected the owner to a fine. Id. §§ 2-3, Add. 35.

       The law also made it unlawful to “forge or alter” the stamp of any prover. Id. § 4,

       Add. 35-36. 27 Maine passed a similar law in 1821. 1821 Me. Laws 546, ch. 162,

       Add. 56.

                It is not surprising that proving laws originated in Massachusetts, which was

       home to significant firearms manufacturing. Massachusetts’s Springfield armory,

       for example, was a major source of firearms fabrication and became one of the two

       official armories for the federal government. See, e.g., National Park Serv.,

       Springfield Armory.28 Though not all States passed firearms proving laws like

       Massachusetts’s and Maine’s, there certainly was concern elsewhere that firearms

       be inspected and approved before they were used by militia units. Cornell &

       DeDino, supra, at 509-10. The New Hampshire House of Representatives, for

       example, passed a resolution in 1775 calling for the creation of a “stock” of




       27
         This law was amended in 1814 to add additional requirements, 1814 Mass. Acts
       464, ch. 192; Add. 41-42; and was updated in 1881, see
       https://tinyurl.com/3w657rjh.
       28
            http://npshistory.com/publications/spar/index.htm.


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       firearms for the militia in that colony, which set the specifications for such

       firearms and required that they be tested in the presence of a state “Receiver-

       General” before they were added to the stock. Add. 65. And George Washington,

       in a letter to Congress in 1783 regarding the organization of a postwar militia,

       recommended that militia members be regularly mustered and trained, and “have

       their Arms and Accoutrements inspected at certain appointed times, not less than

       once or twice in the course of every year.” National Archives, Washington’s

       Sentiments on a Peace Establishment (May 1, 1783). 29, 30

               Even more prevalent were laws requiring the inspection of gunpowder. See

       Spitzer, supra, at 74 (gunpowder regulation was “of great concern because early

       firearms operated with the addition of loose gunpowder to serve as the igniting or

       explosive force to propel a projectile, so [firearms and gunpowder regulations]

       were inextricably linked.”). An 1809 Massachusetts law set requirements for the


       29
            https://founders.archives.gov/documents/Washington/99-01-02-11202.
       30
          In any event, even where “the historical record yields relatively few” examples
       of a particular type of restriction, if there were “no disputes regarding the
       lawfulness of such prohibitions,” then a court can “assume it settled” that the
       restriction could be imposed “consistent with the Second Amendment.” Bruen,
       142 S. Ct. at 2133. Defendants found no indication of any challenge to the
       lawfulness of these firearms proving laws, much less any court ruling deeming
       them to violate the right to keep and bear arms. This Court may therefore “assume
       it settled” that regulations of this kind are consistent with the Second Amendment.
       Id.; cf. Heller, 554 U.S. at 632 (“fire-safety” laws and regulations intended to
       “prevent accidents” with firearms do not “remotely burden the right of self-
       defense”).

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       quality and composition of gunpowder; authorized the appointment of provers to

       inspect gunpowder before it was placed in any public magazine; required provers

       to place gunpowder that passed inspection in casks marked with the inspector’s

       initials; authorized inspectors to mark as “condemned” gunpowder that failed

       inspection; and forbade the sale of gunpowder that was marked condemned or that

       had not yet passed inspection. 1808 Mass. Acts 444, ch. 52, Add. 37-39. A

       number of other states likewise adopted gunpowder inspection regulations during

       this era. See 1776 R.I. Pub. Laws 25 (Oct. Sess.), Add. 97; 1776-77 N.J. Laws 6-7,

       ch. 6, Add. 79-80; 1820 N.H. Laws 274, ch. 25, Add. 62-64; 1794 Pa. Laws 764,

       ch. 337, Add. 90-95.

             These inspection laws are “distinctly similar” to, and certainly “relevantly

       similar” to, the handgun safety regulations in the “central” way that matters under

       Bruen: “whether modern and historical regulations impose a comparable burden on

       the right of armed self-defense and whether that burden is comparably justified.”

       142 S. Ct. at 2133. These historical laws, like the handgun safety regulations, did

       not limit citizens’ ability to keep and carry weapons for self-defense; instead, they

       merely prohibited the sale or availability of particular firearms and ammunition

       that did not pass safety inspections, in the interest of eliminating the safety dangers

       of weapons and gunpowder that were unfit for their intended purpose. Such laws,

       like the handgun safety regulations, do not “remotely” burden the right of law-


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       abiding citizens to engage in armed self-defense. Heller, 554 U.S. at 632; see also

       Pena, 898 F.3d at 978 (California’s similar regulations placed “almost no burden

       on the physical exercise of Second Amendment rights”).

                    2.    Firearms and Gunpowder Safe Storage Laws

             A host of laws from the colonial period through the end of the 19th century

       imposed requirements on the storage of weapons and gunpowder to minimize the

       risk of fire, accidental discharge, and explosion. Cornell & DeDino, supra, at 510-

       12 (surveying gunpowder storage and transportation laws, which were intended to

       “protect communities from fire and explosion.”); Spitzer, supra, at 80-81 (similar).

       These laws are relevantly similar because they did not ban an “entire class of

       arms,” as did the complete handgun bans at issue in Heller and McDonald, nor did

       they prohibit most law-abiding citizens from carrying a firearm in public, as did

       the law at issue in Bruen. Instead, these laws merely limited the storage or

       configuration of certain weapons to minimize the risk of fire, accidental discharge,

       and explosion. As noted, the Court in Heller stated that “fire-safety” gun storage

       laws, and regulations intended to “prevent accidents,” do not “remotely burden the

       right of self-defense,” and thus are valid. 554 U.S. at 632. The same is true of the

       challenged regulations.

             For example, a 1783 Massachusetts law imposed a fine on “any Person” who

       “shall take into any Dwelling-House, Stable, Barn, Out-house, Ware-house, Store,



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       Shop, or other Building, within the Town of Boston, any ... Fire-Arm, loaded with,

       or having Gun-Powder.” 1782 Mass. Acts 119, ch. 46, Add. 32-34. This law was

       discussed in Heller, with Justice Breyer observing in dissent that the law “would,

       as a practical matter, have prohibited the carrying of loaded firearms anywhere in

       the city, unless the carrier had no plans to enter any building or was willing to

       unload or discard his weapons before going inside,” 554 U.S. at 684. The majority

       nonetheless characterized it as a “fire-safety law” that did not “remotely burden the

       right of self-defense as much as an absolute ban on handguns.” Id. at 632. The

       Court added that “laws regulating the storage of firearms to prevent accidents”

       were permissible. Id.

             The challenged handgun safety regulations are much closer to the 1783

       firearms storage law than to the absolute ban on all handguns in the home that was

       at issue in Heller. Indeed, this historical law is relevantly similar to the challenged

       regulations in the two “metrics” that the Supreme Court deemed important in

       Bruen: “whether modern and historical regulations impose a comparable burden on

       the right of armed self-defense and whether that burden is comparably justified.”

       142 S. Ct. at 2133. Both laws restricted certain types of weapons (loaded firearms

       carried inside a building in the historical law vs. handgun models that lack certain

       safety features or have not passed required safety testing in the challenged

       regulations), but did not ban an “entire class of ‘arms’” like the complete handgun


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       ban at issue in Heller. 554 U.S. at 628. And both were intended to reduce what

       might be called the collateral dangers of firearms—i.e., those separate and apart

       from the intended function of the weapons, such as fire, explosion, and accidental

       discharge. It is thus significant that the Court in Heller deemed this historical

       analogue to not “remotely burden the right of self-defense.” Id. at 632. Neither do

       the challenged regulations here.

             Other similar laws abound, particularly with regard to gunpowder, and the

       defendants are not aware of any court decisions invalidating them. E.g., 1882

       Mass. Acts 212, ch. 269, Add. 43-44 (requiring registration of any gunpowder in

       excess of one pound stored in any building); 1771-72 Mass. Province Laws 167,

       ch. 9, Add. 29-31 (requiring all gunpowder imported into Massachusetts to be

       stored in two public magazines, in Boston and Watertown); see also 1832 Conn.

       Acts 391, ch. 25, Add. 48-49; 1825 N.H. Laws 73, ch. 61, Add. 71-72; 1821 Me.

       Laws 98, ch. 25, Add. 53-55; 1772 N.Y. Laws 682, ch. 1549, Add. 83-86. The

       only judicial decision from Massachusetts that comes close to addressing this issue

       concerned the firing of weapons on or near highways. 31 In Cole v. Fisher, 11


       31
         Massachusetts, like some other states, had laws prohibiting the discharge of
       weapons in major cities (like Boston), and on or near public highways. A 1746
       Massachusetts law, for example, prohibited “discharg[ing] any Gun or Pistol
       charged with Shot or Ball in the Town of Boston.” Heller, 554 U.S. at 633
       (quoting Act of May 28, 1746, ch. X, Acts and Laws of Mass. Bay, p. 208); see
       also 1713-14 Mass. Province Laws 720, ch. 6, Add. 28 (prohibiting firing weapons
                                                                      (footnote continued)

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       Mass. 137 (1814), the Supreme Judicial Court held that a defendant could be held

       liable in tort for wanton or negligent discharge of a firearm near a highway that

       caused damage to plaintiff’s property. Id. at 139. In so holding, the court noted

       that “discharges of guns in or near the highways … are to be corrected and

       punished,” not only through tort claims but also, where appropriate, through

       indictment “as an offender against the public peace and security.” Id. The court

       made no mention of the right to keep and bear arms, see id., despite

       Massachusetts’s constitutional provision that Heller recognized as a close analogue

       and predecessor to the Second Amendment. 554 U.S. at 601-02; see Mass. Const.

       Pt. I, Art. XVII (1780). This suggests that the regulation, and punishment, of the

       collateral effects of wanton or careless use or discharge of a firearm was perfectly

       consistent with the right to keep and bear arms for self-defense. See Bruen, 142 S.

       Ct. at 2131, 2133 (courts may look to whether historical analogues were

       invalidated by courts on constitutional grounds, and to whether there was “no

       dispute” regarding the lawfulness of such provisions).

                    3.    Law Banning Sales of Firearms to Minors

             Also significant were laws banning the sales of firearms to minors. Part of

       the impetus for the challenged Massachusetts scheme is a desire to reduce harm to



       on or near highways around Boston); accord 1882 Ga. Laws 131, No. 378,
       Add. 51; 1878 Cal. Stat. 117, ch. 299, Add. 47; 1877 Ohio Laws 278, ch. 8, § 60,
       Add. 89; Spitzer, supra, at 79.

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       children from the accidental discharge of weapons. See pages 5-7, above. Most of

       the historical sources cited in plaintiffs’ brief consist of colonial-era newspaper

       articles reporting that children had been injured or killed by the accidental firing of

       weapons. Br. at 30-31. Plaintiffs seem to cite these sources to suggest that our

       ancestors were aware of the problem of harm to children from the accidental

       discharge of firearms, but chose not to address it through laws.

             While the former is undoubtedly true, the latter is indisputably false. As this

       Court has explained, there exists “a longstanding tradition of prohibiting juveniles

       from both receiving and possessing handguns.” Rene E., 583 F.3d at 12; see id.

       at 12-16 (canvassing Founding-era, 19th-century, and 20th-century laws and

       judicial decisions). In addition to the laws cited above and below, which were

       intended to make firearms safer by reducing the risk of fire, accidental discharge,

       and explosion, many states outright banned the sale of firearms to minors. E.g.,

       1884 Mass. Acts. 57, ch. 76, Add. 45 (banning the sale or furnishing of firearms to

       children under 15 years old, except by instructors furnishing military weapons to

       train for militia service); 1882 N.J. Acts 52, ch. 44, Add. 82; see also State v.

       Callicut, 69 Tenn. 714, 716-17 (1878) (state law making it a misdemeanor to sell,

       give, or loan a pistol to a minor was “not only constitutional as tending to prevent

       crime but wise and salutary in all its provisions”); Coleman v. State, 32 Ala. 581,

       582-53 (1858) (upholding indictment under 1856 state law making it a crime to


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       sell, give, or lend a pistol to a minor); Spitzer, supra, at 76 (“Numerous laws

       restricting gun access by minors—minimum ownership ages ranged from twelve to

       twenty-one … arose in the late 1800s.”). These laws are relevantly similar in their

       recognition that children should not be allowed to possess, or fire, guns, and that

       restrictions should be placed on their ability to do so in order to limit the risk of

       harm posed by firearms to children. And yet these laws do not restrict the ability

       of law-abiding adults to keep and carry a firearm for lawful self-defense. See

       Rene E., 583 F.3d at 15-16 (describing the “evidence that the founding generation

       would have shared the view that public-safety-based limitations of juvenile

       possession of firearms were consistent with the right to keep and bear arms”).

                    4.     Dangerous and Unusual Weapons Bans—Trap Guns
             From the colonial period through the end of the 19th century (and beyond),

       states enacted restrictions on “trap guns” (also known as “spring guns” and

       “infernal machines”), which were firearms that were configured in a way to fire

       remotely (without the user operating the firearm), typically by rigging the firearm

       to be fired by a string or wire when tripped. Trap guns were used to hunt wildlife

       and to protect personal or commercial property against intruders. In 1771, New

       Jersey passed a law banning trap guns, noting that they represented “a most

       dangerous Method of setting Guns [that] has too much prevailed in this Province.”




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       1763-1775 N.J. Laws 346, ch. 540, § 10, Add. 76.32 Other states followed. 1884

       Vt. Acts & Resolves 74, No. 76, § 1, Add. 99-100; 1875 Mich. Pub. Acts 136,

       No. 97, § 1, Add. 58; 1869 Minn. Laws 50, ch. 39, Add. 60-61; see Spitzer, supra,

       at 67 (surveying these laws).

             These laws are relevantly similar because they did not ban a class of

       weapons per se; instead they banned the configuration of otherwise-common

       weapons in a certain way that rendered them unusually dangerous. Citizens

       remained free to keep and carry a rifle or musket, but they were barred from setting

       those weapons so that they could be fired remotely with a string or wire on their

       property, because of the unacceptable risk of harm to others. Similarly under the

       handgun safety regulations, Massachusetts residents with LTCs remain free to keep

       and carry handguns, they are simply barred from purchasing through a commercial

       retailer particular models that pose an undue risk of collateral harm. Both in terms

       of the “how” and “why” of these laws’ impact on Second Amendment rights, they

       are relevantly similar to the challenged regulations.

             Plaintiffs argue that, because the Supreme Court in Heller observed that

       handguns are “the most popular weapon chosen by Americans for self-defense,”




       32
         Even earlier, Plymouth Colony enacted a law in 1671 that restricted the setting
       of trap guns, after finding that “severall p[er]sons have b[een] greatly Indangered
       by [the] seting of Guns.” Records of the Colony of New Plymouth in New
       England: Laws, 1623-1682, at 230, Add. 27.

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       554 U.S. at 629, then by definition they cannot be “dangerous and unusual” 33 and

       thus particular models of handguns “cannot be banned, period.” Br. at 25-29. This

       argument proves far too much, as it would prohibit states from imposing any

       regulations on handguns, including those that are patently unsafe. 34 While the

       complete ban on handguns at issue in Heller and McDonald were struck down, the

       Court emphasized that the Second Amendment does not guarantee a “right to keep

       and carry any weapon whatsoever in any manner whatsoever.” 554 U.S. at 626.

       Just as states could permissibly outlaw the configuration of otherwise common




       33
         Heller used both a disjunctive and a conjunctive formulation of this phrase, see
       Heller, 554 U.S. at 623 (“dangerous or unusual weapons”); id. at 627 (“dangerous
       and unusual weapons”). The phrase was often rendered disjunctively as
       “dangerous or unusual” throughout American history. See Kolbe v. Hogan, 849
       F.3d 114, 131 n.9 (4th Cir. 2017) (en banc) (“Although the Supreme Court invoked
       Blackstone for the proposition that “‘dangerous and unusual’ weapons have
       historically been prohibited, Blackstone referred to the crime of carrying
       ‘dangerous or unusual weapons.’” (emphasis in original) (quoting 4 Blackstone
       148-49 (1769))).
       34
          By plaintiffs’ logic, any regulation that rendered a single handgun model
       unavailable for purchase would constitute a “handgun ban” that violates the
       Second Amendment. But Heller and McDonald were concerned with bans on “an
       entire class of ‘arms.’” Heller, 554 U.S. at 628 (emphasis added); see also id. at
       629 (a “complete prohibition” on handguns is invalid). Plaintiffs’ argument, if
       accepted, could lead to a “class of one” Second Amendment claim anytime a single
       model of handgun preferred by a plaintiff, or indeed even an individual handgun of
       choice, were not available. Surely the Second Amendment does not constrain
       states in this way, especially where the Court in Heller stated that “fire-safety
       laws” and laws intended to “prevent accidents” with firearms “do not remotely
       burden the right of self-defense as much as an absolute ban on handguns.” Id.
       at 632.

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       muskets and rifles as trap guns based on the unusual danger that they posed, so too

       can states like Massachusetts limit the sale of a small subset of handguns that pose

       an unusual danger based on the absence of basic safety features, while otherwise

       leaving hundreds of models of handguns available for purchase and possession by

       law-abiding, responsible citizens.

                                            *       *      *

             The historical record amply demonstrates that the handgun safety regulations

       are consistent with the Nation’s historical tradition of firearms regulation. This is

       true whether the question is viewed as a “straightforward” one involving the

       consideration of the “distinctly similar” firearms and ammunition inspection laws,

       or one requiring a “more nuanced approach” due to “dramatic technological

       changes” that entails analysis of additional “relevantly similar” analogues. Bruen,

       142 S. Ct. at 2131-32. Either way, the result is the same: the handgun safety

       regulations are fully consistent with the historical understanding, no less than the

       text, of the Second Amendment.




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                                        CONCLUSION

             For the reasons set forth above, the judgment of the District Court should be

       affirmed.

                                             Respectfully submitted,

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                                             capacity as Attorney General of the
                                             Commonwealth of Massachusetts;
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             January 30, 2023




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                                               /s/ Timothy J. Casey
                                               Counsel for the Defendants-Appellees
                                               January 30, 2022


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              I hereby certify that this brief, filed through the ECF system, will be sent
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                                               /s/ Timothy J. Casey
                                               Counsel for the Defendants-Appellees




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                                                     ADDENDUM
       Because this Addendum consists exclusively of statutes and regulations, including
       historical statutory material, submitted to the Court in accordance with Fed. R.
       App. P. 28(f), it is not subject to the 25-page limit set forth in First Circuit Local
       Rule 28.0(a)(2).

       Mass. Gen. Laws ch. 140, § 122 ....................................................................... Add. 2
       Mass. Gen. Laws ch. 140, § 123 ....................................................................... Add. 4
       501 C.M.R. §§ 7.01 et seq. ............................................................................. Add. 11
       940 C.M.R. §§ 16.01 et seq. ........................................................................... Add. 19
       Records of the Colony of New Plymouth in New
             England: Laws, 1623-1682 ................................................................... Add. 25
       1713-14 Mass. Province Laws 720, ch. 6 ....................................................... Add. 28
       1771-72 Mass. Province Laws 167, ch. 9 ....................................................... Add. 29
       1782 Mass. Acts. 119, ch. 46 .......................................................................... Add. 32
       1804 Mass. Acts 111, ch. 81 ........................................................................... Add. 34
       1808 Mass. Acts 444 ch. 52 ............................................................................ Add. 37
       1814 Mass. Acts 464, ch. 192 ......................................................................... Add. 40
       1882 Mass. Acts. 212, ch. 269 ........................................................................ Add. 43
       1884 Mass. Acts 57, ch. 76 ............................................................................. Add. 45
       1878 Cal. Stat. 117, ch. 299 ............................................................................ Add. 46
       1832 Conn. Acts 391, ch. 25 ........................................................................... Add. 48
       1882 Ga. Laws 131, No. 378 .......................................................................... Add. 50
       1821 Me. Laws 98, ch. 25 ............................................................................... Add. 52
       1821 Me. Laws 546, ch. 162 ........................................................................... Add. 56
       1875 Mich. Pub. Acts 136, § 1........................................................................ Add. 57
       1869 Minn. Laws 50, ch. 39 ........................................................................... Add. 59
       1775 New Hampshire House of Representatives Resolution – Plan for
             Providing Fire-Arms for the Colony .................................................... Add. 65
       1820 N.H. Laws 274, ch. 25 ...........................................................................Add. 67
       1825 N.H. Laws 73, ch. 61 ............................................................................. Add. 70
       1763-1775 N.J. Laws 346, ch. 539, § 10 ........................................................ Add. 73
       1776-77 N.J. Laws 6-7, ch. 6 .......................................................................... Add. 78
       1882 N.J. Acts 52, ch. 44 ................................................................................ Add. 81
       1772 N.Y. Laws 682, ch. 1549 ....................................................................... Add. 83
       1877 Ohio Laws 278, ch. 8, § 60 .................................................................... Add. 87
       1794 Pa. Laws 764, ch. 337 ............................................................................ Add. 90
       1776 R.I. Laws 25 (Oct. Sess) ........................................................................ Add. 96
       1884 Vt. Acts & Resolves 74, § 1................................................................... Add. 98


                                                           Add. 1
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     Massachusetts General Laws Annotated
      Part I. Administration of the Government (Ch. 1-182)
         Title XX. Public Safety and Good Order (Ch. 133-148a)
           Chapter 140. Licenses (Refs & Annos)

                                M.G.L.A. 140 § 122
      § 122. Licenses; contents; fingerprints of applicants; procedure on refusal of license;
                            fees; punishment for improper issuance

                                       Effective: November 4, 2010
                                                   Currentness


    The chief of police or the board or officer having control of the police in a city or town, or persons
    authorized by them, may, after an investigation into the criminal history of the applicant to
    determine eligibility for a license under this section, grant a license to any person except an alien,
    a minor, a person who has been adjudicated a youthful offender, as defined in section fifty-two of
    chapter one hundred and nineteen, including those who have not received an adult sentence or a
    person who has been convicted of a felony or of the unlawful use, possession or sale of narcotic
    or harmful drugs, to sell, rent or lease firearms, rifles, shotguns or machine guns, or to be in
    business as a gunsmith. Every license shall specify the street and number of the building where
    the business is to be carried on, and the license shall not protect a licensee who carries on his
    business in any other place. The licensing authority to whom such application is made shall cause
    one copy of said applicant's fingerprints to be forwarded to the department of the state police, who
    shall within a reasonable time thereafter advise such authority in writing of any criminal record
    of the applicant. The taking of fingerprints shall not be required in issuing a renewal of a license,
    if the fingerprints of said applicant are on file with the department of the state police. The licensing
    authority to whom such application is made shall cause one copy of such application to be
    forwarded to the commissioner of the department of criminal justice information services. Any
    person refused a license under this section may within ten days thereafter apply to the colonel of
    state police for such license, who may direct that said licensing authorities grant said license, if,
    after a hearing, he is satisfied there were no reasonable grounds for the refusal to grant such license
    and that the applicant was not barred by the provisions of law from holding such a license. The
    fee for an application for a license issued under this section shall be $100, which shall be payable
    to the licensing authority and shall not be prorated or refunded in case of revocation or denial. The
    licensing authority shall retain $25 of the fee; $50 of the fee shall be deposited into the general


                                                    Add. 2
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    fund of the commonwealth; and $25 of the fee shall be deposited in the Firearms Fingerprint
    Identity Verification Trust Fund. A person licensed to sell, rent or lease firearms, rifles, shotguns
    or machine guns shall not be assessed any additional fee for a gunsmith's license. Whoever
    knowingly issues a license in violation of this section shall be punished by imprisonment for not
    less than six months nor more than two years in a jail or house of correction.


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                                                   Add. 3
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     Massachusetts General Laws Annotated
      Part I. Administration of the Government (Ch. 1-182)
         Title XX. Public Safety and Good Order (Ch. 133-148a)
           Chapter 140. Licenses (Refs & Annos)

                                     M.G.L.A. 140 § 123
                                      § 123. Conditions of licenses

                                       Effective: January 1, 2021
                                                 Currentness


    A license granted under section one hundred and twenty-two shall be expressed to be and shall be
    subject to the following conditions:-- First, That the provisions in regard to the nature of the
    license and the building in which the business may be carried on under it shall be strictly adhered
    to. Second, That every licensee shall, before delivery of a firearm, rifle or shotgun, make or cause
    to be made a true, legible entry in a sales record book to be furnished by the commissioner of the
    department of criminal justice information services and to be kept for that purpose, specifying the
    complete description of the firearm, rifle or shotgun, including the make, serial number, if any,
    type of firearm, rifle or shotgun, and designation as a large capacity weapon, if applicable, whether
    sold, rented or leased, the date of each sale, rental or lease, the license to carry firearms number
    or permit to purchase number and the identification card number in the case of a firearm or the
    identification card number or the license to carry firearms number in the case of a rifle or shotgun,
    the sex, residence and occupation of the purchaser, renter or lessee, and shall before delivery, as
    aforesaid, require the purchaser, renter or lessee personally to write in said sales record book his
    full name. Said book shall be open at all times to the inspection of the police. Third, That the
    license or a copy thereof, certified by the official issuing the same, shall be displayed on the
    premises in a position where it can easily be read. Fourth, That no firearm, rifle or shotgun, or
    machine gun shall be displayed in any outer window of said premises or in any other place where
    it can readily be seen from the outside. Fifth, That the licensee shall submit a record of all sales,
    rentals and leases forthwith at the time of such sale, rental or lease via electronic communication
    link to the commissioner of the department of criminal justice information services. Sixth, That
    every firearm, rifle or shotgun shall be unloaded when delivered. Seventh, That no delivery of a
    firearm shall be made to any person not having a license to carry firearms issued under the
    provisions of section one hundred and thirty-one nor shall any delivery of a rifle or shotgun or
    ammunition be made to any minor nor to any person not having a license to carry firearms issued
    under the provisions of section one hundred and thirty-one or a firearm identification card issued


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    under the provisions of section one hundred and twenty-nine B nor shall any large capacity firearm
    or large capacity feeding device therefor be delivered to any person not having a license to carry
    firearms issued under section 131 nor shall any large capacity rifle or shotgun or large capacity
    feeding device therefor be delivered to any person not having a license to carry firearms issued
    under said section 131; provided, however, that delivery of a firearm by a licensee to a person
    possessing a valid permit to purchase said firearm issued under the provisions of section one
    hundred and thirty-one A and a valid firearm identification card issued under section one hundred
    and twenty-nine B may be made by the licensee to the purchaser's residence or place of business,
    subject to the restrictions imposed upon such permits as provided under section 131A. Eighth,
    That no firearm shall be sold, rented or leased to a minor or a person who has not a permit then in
    force to purchase, rent or lease the same issued under section one hundred and thirty-one A, and
    a firearm identification card issued under the provisions of section one hundred and twenty-nine
    B, or unless such person has a license to carry firearms issued under the provisions of section one
    hundred and thirty-one; nor shall any rifle or shotgun be sold, rented or leased to a person who
    has not a valid firearm identification card as provided for in section one hundred and twenty-nine
    B, or has a license to carry firearms as provided in section one hundred and thirty-one; that no
    large capacity firearm nor large capacity feeding device therefor shall be sold, rented, leased or
    transferred to any person not having (i) a license to carry firearms issued under section 131 or (ii)
    a proper permit issued under section 131A and a firearm identification card issued under section
    129B; that no large capacity rifle or shotgun nor large capacity feeding device therefor shall be
    sold to any person not having a license to carry firearms issued under said section 131; and that
    no machine gun shall be sold, rented or leased to any person who has not a license to possess the
    same issued under section one hundred and thirty-one. Ninth, That upon the sale, rental or lease
    of a firearm, subject to a permit to purchase issued under the provisions of section one hundred
    and thirty-one A, the licensee under section one hundred and twenty-two shall take up such permit
    to purchase and shall endorse upon it the date and place of said sale, rental or lease, and shall
    transmit the same to the executive director of the criminal history systems board; and that upon
    the sale, rental or lease of a machine gun shall endorse upon the license to possess the same the
    date and place of said sale, rental or lease, and shall within seven days transmit a notice thereof to
    said executive director. In case of a sale under the provisions of section one hundred and thirty-
    one E the licensee under section one hundred and twenty-two shall write in the sales record book
    the number of the license to carry firearms issued the purchaser under the provisions of section
    one hundred and thirty-one, or the number of the firearm identification card issued the purchaser
    under the provisions of section one hundred and twenty-nine B, whichever is applicable under the
    provisions of condition Eighth of this section. Tenth, That this license shall be subject to forfeiture
    as provided in section one hundred and twenty-five for breach of any of its conditions, and that,
    if the licensee hereunder is convicted of a violation of any such conditions, this license shall
    thereupon become void. Eleventh, That the second, fifth, eighth and ninth conditions shall not


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    apply to a gunsmith with regard to repair or remodeling or servicing of firearms, rifles or shotguns
    unless said gunsmith has manufactured a firearm, rifle or shotgun for the purchaser, but said
    gunsmith shall keep records of the work done by him together with the names and addresses of
    his customers. Such records shall be kept open for inspection by the police at all times. Twelfth,
    That any licensee shall keep records of each sale, rental or lease of a rifle or shotgun, specifying
    the description of said rifle or shotgun, together with the name and address of the purchaser, renter
    or lessee, and the date of such transaction. Thirteenth, That the current validity of any firearm
    identification card, license to carry firearms or permit to purchase, rent or lease firearms presented,
    and that the person presenting said card, license or permit is the lawful holder thereof, shall be
    verified by the licensee prior to any sale, rental or lease of a rifle, shotgun, firearm or large capacity
    feeding device; and, upon being presented with such card or license that is expired, suspended or
    revoked, the licensee shall notify the licensing authority of the presentment of such expired,
    suspended or revoked card, license or permit; and further, the licensee may take possession of
    such card or license provided that, in such case, such licensee shall: (i) issue a receipt, in a form
    provided by the commissioner of the department of criminal justice information services, to the
    holder thereof which shall state that the holder's card or license is expired, suspended or revoked,
    was taken by such licensee and forwarded to the licensing authority by whom it was issued and
    such receipt shall be valid for the date of issuance for the purpose of providing immunity from
    prosecution under section 10 of chapter 269 for unlawfully possessing a firearm, rifle or shotgun
    or large capacity weapon; (ii) notify the cardholder or licensee of his requirement to renew said
    card or license; and (iii) forward such expired card or license to the licensing authority forthwith;
    provided, however, that such licensee shall be immune from civil and criminal liability for good
    faith compliance with the provisions herein. Fourteenth, That the licensee shall conspicuously
    post at each purchase counter the following warning in bold type not less than one inch in height:
    “IT IS UNLAWFUL TO STORE OR KEEP A FIREARM, RIFLE, SHOTGUN OR MACHINE
    GUN IN ANY PLACE UNLESS THAT WEAPON IS EQUIPPED WITH A TAMPER-
    RESISTANT SAFETY DEVICE OR IS STORED OR KEPT IN A SECURELY LOCKED
    CONTAINER.”, and that such licensee shall provide said warning, in writing, to the purchaser or
    transferee of any firearm, rifle, shotgun or machine gun in bold type not less than one-quarter inch
    in height, and further that the licensee shall conspicuously post and distribute at each purchase
    counter a notice providing information on suicide prevention developed and provided by the
    division on violence and injury prevention within the department of public health. The department
    of public health shall develop and make available on its website for download a sign providing
    the information on suicide prevention. Fifteenth, That all licensees shall maintain a permanent
    place of business that is not a residence or dwelling wherein all transactions described in this
    section shall be conducted and wherein all records required to be kept under this section shall be
    so kept. Sixteenth, That no licensee shall sell, lease, rent, transfer or deliver or offer for sale, lease,
    rent, transfer or delivery to any person any assault weapon or large capacity feeding device that


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    was not otherwise lawfully possessed on September 13, 1994. Seventeenth, That any licensee
    from whom a rifle, shotgun, firearm or machine gun is lost or stolen shall report such loss or theft
    to the licensing authority and the executive director of the criminal history systems board
    forthwith. Such report shall include a complete description of the weapon, including the make,
    model, serial number and caliber and whether such weapon is a large capacity weapon. Eighteenth,
    That no licensee shall sell, rent, lease, transfer or deliver or offer for sale, lease, transfer or delivery
    any firearm, to any purchaser in the commonwealth unless such sale is to a business entity that is
    primarily a firearm wholesaler and the sale, by its terms, prohibits the purchaser from reselling
    such firearm to a firearm retailer or consumer in the commonwealth if such firearm has a frame,
    barrel, cylinder, slide or breechblock that is composed of: (i) any metal having a melting point of
    less than 900 degrees Fahrenheit; (ii) any metal having an ultimate tensile strength of less than
    55,000 pounds per square inch; or (iii) any powdered metal having a density of less than 7.5 grams
    per cubic centimeter. This clause shall not apply to any make and model of firearm for which a
    sample of three firearms in new condition all pass the following test: Each of the three samples
    shall fire 600 rounds, stopping every 100 rounds to tighten any loose screws and to clean the gun
    if required by the cleaning schedule in the user manual, and as needed to refill the empty magazine
    or cylinder to capacity before continuing. For any firearm that is loaded in a manner other than
    via a detachable magazine, the tester shall also pause every 50 rounds for ten minutes. The
    ammunition used shall be the type recommended by the firearm manufacturer in its user manual
    or, if none is recommended, any standard ammunition of the correct caliber in new condition. A
    firearm shall pass this test if it fires the first 20 rounds without a malfunction, fires the full 600
    rounds with not more than six malfunctions and completes the test without any crack or breakage
    of an operating part of the firearm. The term “crack” or “breakage” shall not include a crack or
    breakage that does not increase the danger of injury to the user. For purposes of evaluating the
    results of this test, malfunction shall mean any failure to feed, chamber, fire, extract or eject a
    round or any failure to accept or eject a magazine or any other failure which prevents the firearm,
    without manual intervention beyond that needed for routine firing and periodic reloading, from
    firing the chambered round or moving a new round into position so that the firearm is capable of
    firing the new round properly. “Malfunction” shall not include a misfire caused by a faulty
    cartridge the primer of which fails to detonate when properly struck by the firearm's firing
    mechanism. Nineteenth, That no licensee shall sell, rent, lease, transfer or deliver or offer for sale,
    lease, transfer or delivery any firearm to any purchaser in the commonwealth unless such sale is
    to a business entity that is primarily a firearms wholesaler, and the sale, by its terms, prohibits
    such purchaser from reselling such firearm to a firearm retailer or consumer in the commonwealth
    if such firearm is prone to accidental discharge which, for purposes of this clause, shall mean any
    make and model of firearm for which a sample of five firearms in new condition all undergo, and
    none discharge during, the following test: Each of the five sample firearms shall be: (a) test loaded;
    (b) set so that the firearm is in a condition such that pulling the trigger and taking any action that


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    must simultaneously accompany the pulling of the trigger as part of the firing procedure would
    fire the handgun; and (c) dropped onto a solid slab of concrete from a height of one meter from
    each of the following positions: (i) normal firing position; (ii) upside down; (iii) on grip; (iv) on
    the muzzle; (v) on either side; and (vi) on the exposed hammer or striker or, if there is no exposed
    hammer or striker, the rearmost part of the firearm. If the firearm is designed so that its hammer
    or striker may be set in other positions, each sample firearm shall be tested as above with the
    hammer or striker in each such position but otherwise in such condition that pulling the trigger,
    and taking any action that must simultaneously accompany the pulling of the trigger as part of the
    firing procedure, would fire the firearm. Alternatively, the tester may use additional sample
    firearms of the same make and model, in a similar condition, for the test of each of these hammer
    striker settings. Twentieth, That no licensee shall sell, rent, lease, transfer or deliver or offer for
    sale, lease, transfer or delivery, any firearm to any purchaser in the commonwealth unless such
    sale is to a business entity that is primarily a firearm wholesaler, and the sale, by its terms,
    prohibits the purchaser from reselling such firearm to a firearm retailer or consumer in the
    commonwealth if such firearm is prone to: (i) firing more than once per pull of the trigger; or (ii)
    explosion during firing. Twenty-first, That no licensee shall sell, rent, lease, transfer or deliver or
    offer for sale, lease, transfer or delivery any firearm to any purchaser in the commonwealth unless
    such sale is to a business entity that is primarily a firearm wholesaler and the sale, by its terms,
    prohibits the purchaser from reselling such firearm to a firearm retailer or consumer in the
    commonwealth if such firearm has a barrel less than three inches in length, unless the licensee
    discloses in writing, prior to the transaction, to the prospective buyer, lessee, deliveree or
    transferee the limitations of the accuracy of the particular make and model of the subject firearm,
    by disclosing the make and model's average group diameter test result at seven yards, average
    group diameter test result at 14 yards and average group diameter test result at 21 yards. For
    purposes of this clause, “average group diameter test result” shall mean the arithmetic mean of
    three separate trials, each performed as follows on a different sample firearm in new condition of
    the make and model at issue. Each firearm shall fire five rounds at a target from a set distance and
    the largest spread in inches between the centers of any of the holes made in a test target shall be
    measured and recorded. This procedure shall be repeated two more times on the firearm. The
    arithmetic mean of each of the three recorded results shall be deemed the result of the trial for that
    particular sample firearm. The ammunition used shall be the type recommended by the firearm
    manufacturer in its user manual or, if none is recommended, any standard ammunition of the
    correct caliber in new condition. No licensee shall sell any rifle or shotgun, contrary to the
    provisions of section one hundred and thirty or section 131E.

    Clauses Eighteenth to Twenty-first, inclusive, of the first paragraph shall not apply to: (i) a firearm
    lawfully owned or possessed under a license issued under this chapter on or before October 21,
    1998; (ii) a firearm designated by the secretary of public safety, with the advice of the gun control


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    advisory board, established pursuant to section 131 ½ of chapter 140, as a firearm solely designed
    and sold for formal target shooting competition; (iii) a stun gun, as defined in section 121; or (iv)
    a firearm designated by the secretary of public safety, with the advice of the gun control advisory
    board, established pursuant to section 131 ½ of chapter 140, as a firearm or pistol solely designed
    and sold for Olympic shooting competition. The secretary of public safety shall compile lists, on
    a bi-annual basis, of firearms designated as “formal target shooting firearms” and “Olympic
    competition firearms” in accordance with this paragraph. Such lists shall be made available for
    distribution by the executive office of public safety and security.

    No person licensed under the provisions of section 122 or section 122B shall sell, rent, lease,
    transfer or deliver any rifle, shotgun or firearm or ammunition or ammunition feeding device
    contrary to the provisions of section 130 or section 131E; and no such licensee shall sell, rent,
    lease, transfer or deliver any rifle, shotgun or firearm or ammunition or ammunition feeding
    device to any person who does not have in his possession the required firearm identification card
    or proof of exemption therefrom, license to carry firearms or permit to purchase, rent or lease
    firearms and who does not present such card, proof, license or permit to the licensee in person at
    the time of purchase, rental or lease. No person licensed under the provisions of section 122 or
    section 122B shall fill an order for such weapon, ammunition or ammunition feeding device that
    was received by mail, facsimile, telephone or other telecommunication unless such transaction or
    transfer includes the in-person presentation of the required card, proof, license or permit as
    required herein prior to any sale, delivery or any form of transfer of possession of the subject
    weapon, ammunition or ammunition feeding device. Transactions between persons licensed under
    section 122 or between federally licensed dealers shall be exempt from the provisions of this
    paragraph.

    The licensing authority shall enter, one time per calendar year, during regular business hours, the
    commercial premises owned or leased by any licensee, wherein such records required to be
    maintained under this section are stored or maintained, and inspect, in a reasonable manner, such
    records and inventory for the purpose of enforcing the provisions of this section. If such records
    and inventory contain evidence of violations of this section, the inspecting officer shall produce
    and take possession of copies of such records and, in the event that the licensee subject to
    inspection does not possess copying equipment, the inspecting officer shall arrange to have
    copied, in a reasonable time and manner, such records that contain evidence of such violations
    and the costs for such copying shall be assessed against the owner of such records. Licensees
    found to be in violation of this section shall be subject to the suspension or permanent revocation
    of such license issued under section 122 and to the provisions of section 128. Nothing herein shall
    prohibit the licensing authority or the department of state police from conducting such inspections
    pursuant to a valid search warrant issued by a court of competent jurisdiction.


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    Notwithstanding the provisions of this section, a person licensed under the provisions of section
    one hundred and twenty-two, or section one hundred and twenty-two B, may sell or transfer
    firearms, rifles, shotguns, machine guns or ammunition at any regular meeting of an incorporated
    collectors club or at a gun show open to the general public; provided, however, that all other
    provisions of this section are complied with and that such sale or transfer is in conformity with
    federal law or regulations applicable to the transfer or sale of firearms, rifles, shotguns, machine
    guns or ammunition, including the restrictions imposed upon firearm identification cards issued
    under section 129B, licenses to carry firearms issued under section 131 and permits to purchase,
    lease or rent firearms issued under section 131A.


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                         501 CMR: EXECUTIVE OFFICE OF PUBLIC SAFETY


 501 CMR 7.00:       APPROVED WEAPON ROSTERS

 Section

 7.01:   Purpose
 7.02:   Definitions
 7.03:   Development of Approved Firearms Roster
 7.04:   Criteria for Placement on Approved Firearms Roster
 7.05:   Compliance with the Approved Roster by Licensees
 7.06:   Appeals for Inclusion on or Removal from the Approved Firearms Roster
 7.07:   Form and Publication of the Approved Firearms Roster
 7.08:   Development of a Large Capacity Weapons Roster
 7.09:   Criteria for Placement on Large Capacity Weapons Roster
 7.10:   Large Capacity Weapons Not Listed
 7.11:   Form and Publication of the Large Capacity Weapons Roster
 7.12:   Development of the Formal Target Shooting Firearms Roster
 7.13:   Criteria for Placement on the Formal Target Shooting Firearms Roster
 7.14:   Appeals for Inclusion on the Formal Target Shooting Firearms Roster
 7.15:   Form and Publication of the Formal Target Shooting Firearms Roster
 7.16:   Severability

 7.01: Purpose

                  The purpose of 501 CMR 7.00 is to provide rules and regulations governing the inclusion of
              firearms, rifles and shotguns on rosters of weapons referred to in M.G.L. c. 140, §§ 123 and
              131¾.

 7.02: Definitions

                 As used in 501 CMR 7.00:

              Approved Firearm means a firearm make and model that passed the testing requirements of
              M.G.L. c. 140, § 123 and was subsequently approved by the Secretary. Included are those
              firearms listed on the current Approved Firearms Roster and those firearms approved by the
              Secretary of Public Safety that will be included on the next published Approved Firearms Roster.

              Approved Firearms Roster means a list of firearms approved by the Secretary which meet or
              exceed the testing criteria as outlined in M.G.L. c. 140, § 123 clauses Eighteenth, Nineteenth,
              Twentieth and Twenty-first, and which list is established, maintained and published by the
              Secretary pursuant to M.G.L. c. 140, § 131¾.

              Approved Independent Testing Laboratory means a testing laboratory that the Secretary has
              determined is capable of accurately testing firearms in accordance with M.G.L. c. 140, § 123.

              Capable of Accepting a Large Capacity Feeding Device means any firearm, rifle or shotgun in
              which a large capacity feeding device, as defined by M.G.L. c. 140, § 121, is capable of being
              used without alteration of the weapon; provided, however, that said feeding device is fully or
              partially inserted into the weapon or attached thereto, or is under the direct control of a person
              who also has direct control of a weapon capable of accepting said feeding device.

              Certified by Attributes means the process used by an independent testing laboratory to determine
              if a particular model firearm is the functional design equivalent of another model already tested.

              Firearm has the same meaning as “firearm” as defined in M.G.L. c. 140, § 121.

              Formal Target Shooting Competition means those target competitions which are sponsored,
              coordinated or sanctioned by a national organization which regulates the type of firearm or
              modifications that may be used.




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7.02: continued

           Formal Target Shooting Firearm means those firearms that have been approved by the Secretary
           as solely designed and sold for formal target shooting competition, pursuant to M.G.L. c. 140,
           § 123.

           Formal Target Shooting Firearms Roster means a list of firearms approved by the Secretary,
           which are solely designed and sold for formal target shooting competition as provided by
           M.G.L. c. 140, § 123, and which list is established, maintained and published pursuant to
           M.G.L. c. 140, § 123.

           Functional Design Equivalent means a firearm whose dimensions and material, as well as
           linkage and functioning of the magazine well, cylinder, barrel, chamber or any components of
           the firing mechanism do not differ from a firearm which satisfactorily completed the Testing
           Requirements. A firearm may be deemed the Functional Design Equivalent of a firearm which
           differs only in caliber if the larger caliber firearm has satisfactorily completed the Testing
           Requirements.

           GCAB means the Gun Control Advisory Board as provided in M.G.L. c. 140, § 131½, whose
           members are appointed by the Governor to advise the Secretary on matters relating to the
           implementation of M.G.L. c. 140, §§ 121 through 131P.

           Individual Firearm means a specific firearm identifiable by make, model and serial number, and
           does not refer to an entire make or model line.

           Large Capacity Feeding Device has the same meaning as “large capacity feeding” device as
           defined in M.G.L. c. 140, § 121.

           Large Capacity Roster means a list of large capacity firearms, rifles, and shotguns as defined by
           M.G.L. c. 140, § 121, and which list is established, maintained and published by the Secretary
           pursuant to M.G.L. c. 140, § 131¾.

           Large Capacity Weapon has the same meaning as “large capacity weapon” as defined in
           M.G.L. c. 140, § 121.

           Length of Barrel or Barrel Length have the same meaning as “length of barrel” or “barrel length”
           as defined in M.G.L. c. 140, § 121.

           Licensee means a firearms dealer licensed in Massachusetts under M.G.L. c. 140, § 122, and
           does not refer to a gunsmith also licensed under M.G.L. c. 140, § 122.

           Licensed Gunsmith means a person acting as gunsmith as defined in M.G.L. c. 140, § 121, and
           who is licensed to conduct gunsmith activity pursuant to M.G.L. c. 140, § 122.

           Make of Firearm means the company that manufactured said firearm.

           Model of Firearm means the alpha or numeric designation or name given by the manufacturer
           to a particular line of firearms. Within the model line, firearms may be assigned different alpha
           or numeric designations or names and still be considered to be the same model provided they are
           the functional design equivalent.

           Readily Modifiable to Accept a Large Capacity Feeding Device means any firearm, rifle or
           shotgun immediately capable of being altered so as to accept a large capacity feeding device as
           defined in M.G.L. c. 140, § 121; provided, however, that said feeding device is fully or partially
           inserted into the weapon or attached thereto, or is under the direct control of a person who also
           has direct control of a weapon capable of accepting said feeding device.

           Secretary means the Secretary of Public Safety and Security.




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7.02: continued

           Testing Requirements means the testing requirements as defined in M.G.L. c. 140, § 123 clauses
           Eighteenth, Nineteenth, Twentieth and Twenty-first. For clause Eighteen, such requirements
           shall include a certified statement from the manufacturer regarding the melting point, tensile
           strength, or density of the metal used in manufacturing the firearm, or the successful completion
           of the firing tests. Only firearms with a "length of barrel", as defined by M.G.L. c. 140, § 121,
           of less than three inches are required to complete the testing in M.G.L. c. 140, § 123, clause
           Twenty-first. For all other firearms, the term "testing requirements” shall refer only to clauses
           Eighteenth, Nineteenth, and Twentieth.

           Weapon has the same meaning as “weapon” as defined in M.G.L. c. 140, § 121.

7.03: Development of Approved Firearms Roster

           (1) A firearm may be considered for placement on the Approved Firearms Roster only after the
           Secretary has received a final test report from an approved independent testing laboratory
           certifying that the specified firearm make and model has successfully completed all testing
           requirements in compliance with M.G.L. c. 140, § 123 and 501 CMR 7.00, or the Secretary has
           determined that the firearm is the functional equivalent of a previously approved firearm, or has
           been tested by another state which has identical testing requirements of the commonwealth,
           pursuant to 501 CMR 7.04.

           (2) The Secretary shall maintain a list of approved independent testing laboratories in
           accordance with 501 CMR 7.00. The Secretary may add or remove a testing laboratory from this
           list in accordance with 501 CMR 7.00.
                (a) Such approved independent testing laboratory shall not be owned or operated by a
                firearms manufacturer or by an organization that seeks to promote or restrict firearms
                ownership.
                (b) Any testing laboratory that seeks to be an approved independent testing laboratory shall
                provide information to the Secretary regarding its capabilities and objectivity.

           (3) The GCAB shall review the final test report and shall make a recommendation to the
           Secretary based on the documentation provided.

           (4) The Secretary shall then determine whether the firearm shall be placed on the Approved
           Firearms Roster. Addition to the Approved Firearms Roster shall serve as notice of compliance
           with M.G.L. c. 140, § 123.

           (5) The Secretary, upon his own initiative, or upon the advice of the GCAB, or through petition
           from an individual, may determine if a firearm shall be removed from the Approved Firearms
           Roster. The Secretary shall notify, in writing, the manufacturer of a particular make and model
           whenever a decision is made to remove such make and model from the Approved Firearms
           Roster.

           (6) The Executive Office of Public Safety shall maintain a list of all makes and models of
           firearms which have been approved by the Secretary. This list shall include firearms listed on
           the most recently published Approved Firearms Roster, and firearm makes and models which
           have been approved by the Secretary for inclusion on the next published roster. This list of
           approved firearms shall be maintained by the Executive Office of Public Safety on a publicly
           available web site, and a printed copy shall be available upon request.




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7.04: Criteria for Placement on Approved Firearms Roster

           (1) Testing. The testing of any firearm for placement on the Approved Firearms Roster shall
           be done by an approved independent testing laboratory. The approved independent testing
           laboratory shall, at the expense of the entity seeking to have the firearm placed on the Approved
           Firearms Roster, test the firearm in accordance with the testing requirements and submit a copy
           of the final test report directly to the Secretary and to the GCAB. Satisfactory completion of the
           required tests shall mean that a firearm make and model meets or exceeds the testing
           requirements of M.G.L. c. 140, § 123 and 501 CMR 7.00.

           (2) Functional Equivalent. A firearm model shall be deemed to satisfy the testing requirements
           if another firearm model made by the same manufacturer is the functional design equivalent of
           a firearm model that has satisfactorily completed the required tests, provided that the approved
           independent testing laboratory certifies that the firearm model is the functional design equivalent
           of another model already tested, and provides a written explanation for its reasoning appended
           with all supporting documentation used to reach its conclusion to the Secretary and to the
           GCAB.

           (3) Tests Required by Other States.
              (a) If another state requires testing which is identical to the testing required by the
              Commonwealth of Massachusetts, and such testing is performed by an independent testing
              laboratory approved by the Secretary, a final test report from the approved independent
              testing laboratory to the Secretary and the GCAB that the specified firearm make and model
              satisfactorily completed all testing requirements in compliance with M.G.L. c. 140, § 123
              will be sufficient for submission to the GCAB without performing the tests again.
              (b) If another state requires testing which includes some tests identical to the testing
              required by the Commonwealth of Massachusetts, and such testing is performed by an
              independent testing laboratory approved by the Secretary, a final test report from the
              approved independent testing laboratory that the specified firearm make and model
              satisfactorily completed all testing requirements in compliance with M.G.L. c. 140, § 123
              will be sufficient for submission to the GCAB without performing again the portions of the
              testing requirements already performed as part of the other state's requirements; provided,
              however, that any additional tests required by the commonwealth but not required by the
              other state are in fact performed by an approved independent testing laboratory.

7.05: Compliance with the Approved Roster by Licensees

              Any licensee that sells, rents, leases, delivers or offers for sale, rent, lease, transfer or delivery
           any firearm not an approved firearm shall be considered in violation of M.G.L. c. 140, § 123,
           except for:
              (a) The sale, rental, lease, transfer or delivery of an individual firearm as defined in
              501 CMR 7.00 which was lawfully owned or possessed under a license as defined in
              M.G.L. c. 140, §§ 122, 129B, 131 and 131F prior to October 21, 1998;
              (b) The delivery of a firearm to a licensed gunsmith for the purposes of service or repair of
              a firearm or the return of a firearm to its lawful owner after service or repair by a licensed
              gunsmith;
              (c) The return of a firearm by a licensee to its lawful owner where that firearm was initially
              delivered to that licensee for the purpose of consignment; or
              (d) The sale, rental, lease, transfer or delivery of a firearm listed on the Formal Target
              Shooting Firearms Roster.

7.06: Appeals for Inclusion on or Removal from the Approved Firearms Roster

           (1) A person may petition the Secretary to place a firearm on or remove a firearm from the
           Approved Firearms Roster within 90 days of the Secretary's original denial or approval for
           inclusion on the Approved Firearms Roster. The Secretary's original denial or approval shall be
           considered to take place upon the date of publication of the next edition of the Approved
           Firearms Roster following the GCAB's recommendation to the Secretary regarding denial or
           approval of the firearm at issue.

           (2) Said petition shall include a written explanation citing the rationale for the inclusion or
           removal of a firearm with all documentation used to justify the request appended thereto.



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7.06: continued

           (3) The Secretary shall not consider the inclusion of a firearm on the roster unless the petition
           includes clear and convincing evidence from an approved independent testing laboratory.

           (4) The Secretary shall, within 45 days of receipt of a petition, notify the petitioner by certified
           mail whether the petition is approved or denied. If the petition is approved, the Secretary shall
           include the make and model of the firearm on its list of all approved firearms and on the next
           publication of the Approved Firearms Roster.

7.07: Form and Publication of the Approved Firearms Roster

               The form of the Approved Firearms Roster shall contain the following information:

           (1) Title. Approved Firearms Roster.

           (2) Effective month and year of the publication.

           (3) Notice that the roster replaces all prior published rosters as follows: “This Roster
           Supersedes All Previous Rosters.”

           (4) Notice of criteria for placement on the roster as follows: “This roster has been compiled in
           accordance with M.G.L. c. 140, § 131¾ and 501 CMR 7.00. It contains weapons determined by
           Massachusetts approved independent testing laboratories to have satisfactorily completed the
           testing requirements of M.G.L. c. 140, § 123, clauses Eighteenth, Nineteenth, Twentieth and
           Twenty-first. The reports resulting from said tests were reviewed by the Gun Control Advisory
           Board and those makes and models listed herein were subsequently approved by the Secretary
           of the Executive Office of Public Safety and Security as having complied with the statutory
           handgun testing provisions of M.G.L. c. 140, § 123.”

           (5) Notice of publication method as follows: “Modifications to this roster are likely to occur
           periodically, and licensees and law enforcement personnel should always utilize the most recent
           roster for the purpose of determining statutory compliance. The Approved Firearms Roster
           posted on the website of the Executive Office of Public Safety and Security
           (www.mass.gov/EOPSS) will contain the most recently approved models”.

           (6) Notice of the Regulations of the Office of the Attorney General as follows: “Massachusetts
           licensed firearms dealers should note that the transfers of handguns are also subject to the
           Attorney General’s regulations at 940 CMR 16.00: Handgun Sales. Firearms on this Approved
           Firearms Roster do not necessarily comply with the requirements of 940 CMR 16.00.
           Information about 940 CMR 16.00, as well as the Enforcement Notice may be obtained from the
           Office of the Attorney General and may be accessed on the website of the Attorney General
           (www.ago.state.ma.us).”

7.08: Development of a Large Capacity Weapons Roster

              The Secretary shall develop and maintain, with the advice of the GCAB, a list of large
           capacity weapons, as defined by M.G.L. c. 140, § 121.

7.09: Criteria for Placement on Large Capacity Weapons Roster

               The large capacity weapons roster shall contain a list of weapons approved by the Secretary,
           upon the advice of the GCAB, or other sources who have petitioned the Secretary, to have been
           originally manufactured as a large capacity weapon as defined by M.G.L. c. 140, § 121.




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7.10: Large Capacity Weapons Not Listed

               Weapons not listed on the Large Capacity Roster may also be large capacity weapons if they
           are semi-automatic, and are capable of accepting or readily modifiable to accept a large capacity
           feeding device. Weapons not listed on the Large Capacity Roster shall be considered large
           capacity weapons in accordance with M.G.L. c. 140, § 121, if they are capable of accepting a
           large capacity feeding device, or readily modifiable to accept a large capacity feeding device as
           defined by 501 CMR 7.02.

7.11: Form and Publication of the Large Capacity Weapons Roster

               The form of the Large Capacity Weapons Roster shall contain the following information:

           (1) Title. Large Capacity Weapons Roster.

           (2) Effective month and year of the publication.

           (3) Notice that the roster replaces all prior published rosters as follows: “This Roster
           Supersedes All Previous Rosters.”

           (4) Notice of criteria for placement on the roster as follows: “This roster has been compiled in
           accordance with M.G.L. c. 140, § 131¾. It contains weapons determined to have been originally
           manufactured for the civilian retail consumer market as large capacity weapons as defined by
           M.G.L. c. 140, § 121. Weapons not listed on this roster may also be large capacity weapons if
           they are semi-automatic and are capable of accepting or readily modifiable to accept a large
           capacity feeding device. Definitions of ‘capable of accepting’ and ‘readily modifiable to accept’
           are defined in 501 CMR 7.02.”

           (5) Notice of large capacity weapons and exemption as follows: “NOTE: Unless otherwise
           exempted by M.G.L. c. 140, § 121, the term ‘large capacity weapon’ shall apply to all
           semiautomatic weapons equipped with a large capacity feeding device, including any such
           weapons not listed on this roster.”

           (6) Part I of the roster shall have the heading “Firearms – Class A LTC Required” followed by
           a list in order by manufacturers of large capacity firearms meeting the criteria for inclusion on
           the roster.

           (7) Part II of the roster shall have the heading “Rifles and Shotguns – Class A or B LTC
           Required” followed by a list in order by manufacturers of large capacity rifles and shotguns
           meeting the criteria for inclusion on the roster.

7.12: Development of the Formal Target Shooting Firearms Roster

              The Secretary shall develop and maintain, with the advice of the GCAB, a list of those
           weapons designated as formal target shooting firearms as provided by M.G.L. c. 140, § 123.

7.13: Criteria for Placement on the Formal Target Shooting Firearms Roster

               The Formal Target Shooting Firearms Roster shall contain firearms designated by the
           Secretary, with the advice of the GCAB, as solely designed and sold for formal target shooting
           competition. The GCAB shall make a recommendation as to whether a firearm should be placed
           on the Formal Target Shooting Firearms Roster using the following criteria:

           (1) In order for a firearm to be considered for placement on the Formal Target Shooting Roster:
               (a) the firearm manufacturer shall submit a report to the GCAB that certifies by affidavit
               that the firearm is solely designed and sold for formal target shooting competition; and
               (b) the report shall identify specifications and features of the firearm which make it a formal
               target shooting competition firearm, including but not limited to the component requirements
               listed in 501 CMR 7.13(5) that are a standard part of that model firearm.




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           (2) The firearm manufacturer shall submit to the GCAB either a list of the specific types of
           formal target shooting competition for which the firearm was designed and sold, or
           documentation indicating that the firearm is recognized by a national organization as a firearm
           used in formal target shooting competition.

           (3) Such manufacturer shall include any advertising or marketing materials sufficient to
           demonstrate that the firearm is solely sold for formal target shooting competition.

           (4) The firearm, if it is a pistol, must have a barrel length of at least four inches, and if it is a
           revolver, must have a barrel length of at least five inches.

           (5) The firearm must have match grade adjustable rear sights, or a match grade optical target
           sighting system.

           (6) The Firearm.
              (a) if a pistol, must have four or more of the following components, all produced at match
              grade:
                  1. A target trigger
                  2. A custom or bull barrel
                  3. A ported barrel or compensator
                  4. A custom barrel bushing
                  5. An adjusted, beveled or improved magazine well
                  6. An extended or custom slide release button
                  7. A target hammer
                  8. A custom feed ramp
                  9. A custom ejection port
                  10. A custom extractor
                  11. Target grips
                  12. A trigger pull weight of less than four pounds; or
              (b) if a revolver, must have three or more of the following components, all produced at
              match grade:
                  1. A target trigger
                  2. A custom or bull barrel
                  3. A ported barrel or compensator
                  4. A target hammer
                  5. Target grips.

           (7) After receiving a recommendation from the GCAB, the Secretary shall determine whether
           the firearm shall be placed on the Formal Target Shooting Firearms Roster. Addition to the
           Formal Target Shooting Firearms Roster shall serve as notice that a make and model is in
           compliance with M.G.L. c. 140, § 123.

7.14: Appeals for Inclusion on the Formal Target Shooting Firearms Roster

           (1) Any person may petition the Secretary to place a firearm on or remove a firearm from the
           Formal Target Shooting Firearms Roster within ninety days of the Secretary's original denial or
           approval for inclusion on the Formal Target Shooting Firearms Roster. The Secretary's original
           denial or approval shall be considered to take place upon the date of publication of the next
           edition of the Formal Target Shooting Firearms Roster following the GCAB's recommendation
           to the Secretary regarding denial or approval of the firearm at issue.

           (2) Said petition shall include a written explanation citing the rationale for the inclusion or
           removal of a firearm with all documentation used to justify the request appended thereto.

           (3) The Secretary shall not consider the inclusion of a firearm on the roster unless the petition
           includes clear and convincing evidence that the firearm meets all of the criteria required in
           501 CMR 7.13.




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           (4) The Secretary shall, within 45 days of receipt of a petition, notify the petitioner by certified
           mail whether the petition is approved or denied. If the petition is approved, the Secretary shall
           include the make and model of the firearm on its list of Formal Target Shooting Firearms Roster.

7.15: Form and Publication of the Formal Target Shooting Firearms Roster

               The Formal Target Shooting Firearms Roster shall be published bi-annually and shall be
           available on the public website of the Criminal History Systems Board. It shall contain the
           following information:

           (1) Title. Formal Target Shooting Firearms Roster.

           (2) Effective month and year of the publication.

           (3) Notice that the roster replaces all prior published rosters as follows: “This Roster
           Supersedes All Previous Rosters.”

           (4) Notice of criteria for placement on the roster as follows: “This roster has been compiled in
           accordance with M.G.L. c. 140, § 123 and 501 CMR 7.00. It contains firearms which are exempt
           from the testing requirements described in M.G.L. c. 140, § 123, clauses Eighteenth, Nineteenth,
           Twentieth and Twenty-first, and which may be sold by Massachusetts licensees pursuant to
           M.G.L. c. 140, § 123 and 940 CMR 16.00: Handgun Sales. The makes and models listed herein
           were reviewed by the GCAB and subsequently designated by the Secretary of the Executive
           Office of Public Safety and Security as being solely designed and sold for formal target shooting
           competitions.”

           (5) Notice of publication method as follows: “Modifications to this roster are likely to occur
           periodically, and Massachusetts licensees and law enforcement personnel should always utilize
           the most recent roster for the purpose of determining statutory compliance. The Formal Target
           Shooting Firearms Roster posted on the website of the Executive Office of Public Safety and
           Security (www.mass.gov/EOPSS) will contain the most recently approved models.”

7.16: Severability

               If any article, section, subsection, sentence, clause or phrase of 501 CMR 7.00 is for any
           reason determined to be unconstitutional, contrary to statute, in excess of authority, or otherwise
           inoperative, such determination shall not affect the validity of any other article, section,
           subsection, sentence, clause or phrase of 501 CMR 7.00.


REGULATORY AUTHORITY

           501 CMR 7.00: M.G.L. c. 140, §§ 123 and 131¾.




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            940 CMR 16.00:             HA.t"l"DGUN SALES

            Section

            16.01:     Definitions
            16.02:     Unfair or Deceptive Practices: General
            16.03:     Tamper-Resistant Serial Numbers
            16.04:     Sale of Handguns Made From Inferior Materials
            16.05:     Sale of Handguns Without Childproofing or Safety Devices
            16.06:     Safety Warning/Disclosures
            16.07:     Transfers of Used Handguns
            16.08:     Severability
            16.09:     Enforcement Dates

                                The Attorney General of the Commonwealth of Massachusetts promulgates 940 CMR 16.00
                            pursuant to authority granted to him under M.G.L. c. 93A, § 2(c). 940 CMR 16.00 defines
                            certain unfair acts or practices but is not intended to describe all types of practices prohibited by
                            M.G.L. c. 93A, § 2. 940 CMR 16.00 does not legitimize acts that are not specifically prohibited
                            by 940 CMR 16.00, and does not alter or amend common law rights and remedies available to
                            consumers. 940 CMR 16.00 is designed to supplement existing statutes and regulations.
                            References to statutes and other regulations shall include amendments thereto from time to time.

                16.0 l: Definitions

                                For purposes of 940 CMR 16.00, the following terms shall have the following meanings:

                            Average group diameter test result: shall mean the arithmetic mean of three separate group
                            diameter test results taken from a set distance.

                            Combination handle lock: shall mean a device which precludes the use of the handgun unless
                            the combination tumblers are properly aligned. This device may, for example, have the numbers
                            for the combination tumblers protrude from the handle of the handgun.

                            Educational collector: shall mean an individual who is properly licensed as a bonafide collector
                            pursuant to 520 CMR 7.00, and whose collection is maintained for purposes of display, research,
                            lecturing, demonstration, or historical significance, as opposed to being maintained for personal
                            enjoyment and/or possible future profit.

                            Group diameter test result: shall mean the largest spread in inches between the centers of any
                            of the holes made in a test target after firing five rounds from .the handgun in question at the
                            target from a set distance. The ammunition used shall be the type recommended by the handgun
                            manufacturer in its user manual, or if none is recommended, any standard ammunition of the
                            correct caliber in new condition.

                            Hammer deactivation device: shall mean a built-in device (or an extension of the hammer)
                            which allows a user manually to lower the handgun's hammer into a deactivated position, and
                            which must be manually re-toggled in order to re-cock the hammer before the handgun cun be
                            fired.

                            Handgun: shall mean a weapon, designed to be fired by the use of a single hand, from which
                            may be fired or ejected one or more solid projectiles propelled via a chemical ignition, and which
                            has:
                                (a) a smooth bore with a barrel less than 18 inches long;
                                (b) a smooth bore and an overall weapon length of less than 26 inches; or
                                (c) a rifled bore with a barrel less than 16 inches.




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                           Handgun Drop Test: shall mean a test in which the handgun in question shall be:
                              (a) test loaded;
                              (b) set such that the handgun is ready to fire; and
                              (c) dropped onto a solid slab of concrete from a height of one meter from each of the
                              following positions:
                                  I. normal firing position,
                                  2. upside down,
                                  3. on grip,
                                  4. on the muzzle,
                                  5. on either side, and
                                  6. on the exposed hammer or striker (or if there is no exposed hammer or striker, then
                                  the rearmost part of the firearm).
                              In addition, if the handgun is designed so that its hammer or striker may be set in other
                              positions, the handgun in question shall be tested with the hammer or striker in each such
                              position (but otherwise ready to fire). Alternatively, the tester may use different handguns
                              of the same make and model, in similar condition, for the test of each of these
                              hammer/striker settings.

                           Handgun Performance Test: shall mean a test in which the handgun in question shall fire 600
                           rounds, stopping every 100 rounds to tighten any loose screws and to clean the gun (if required
                           by the cleaning schedule in the user manual), and as needed to refill the empty magazine or
                           cylinder to capacity before continuing. For any handgun that loads other than via a detachable
                           magazine, the tester shall also pause every 50 rounds for ten minutes. The ammunition used
                           shall be the type recommended by the handgun manufacturer in its user manual, or if none is
                           recommended, any standard ammunition of the correct caliber in new condition. A handgun
                           shall pass this test if it:
                               (a) fires the first 20 rounds without a malfunction, and
                               (b) fires the full 600 rounds \Vith no more than six malfunctions and without any crack or
                               breakage o.f an operating part of the handgun which increases the d~ger of injury to the
                               user.

                           Handgun-purvevor: shall mean any person or entity that transfers handguns to a customer
                           located within the Commonwealth of Massachusetts. However, handgun-purveyor shall not
                           include any of the aforementioned if:
                               (a) the person or entity transfers less than five handguns per year,
                               (b) the transfer in question is for the purpose of, and does, directly or indirectly, supply law
                               enforcement officials or United States military personnel with handguns for their official
                               duties,
                               (c) the transfer in question is for the purpose of, and does, directly or indirectly, supply
                               museums or educational collectors Vl'ith the handguns in question,
                               (d) the transfer in question is undertaken to, and does, result in the surrender ofha.'ldguns
                               to military or law enforcement personnel,
                               (e) the transfer in question is of handguns that qualify as antique firearms as defined in 18
                               U.S.C. § 921, or
                               (f) the transfer in question is of handguns that are solely designed and sold specifically for
                               formal target shooting competition.

                           Key activated trigger lock: shall mean a device that w})en locked in place by means of a key,
                           prevents a potential user from pulling the trigger of the handgun without first removing the
                           trigger lock by use of the trigger lock's key.

                           Load indicator: shall mean a device which plainly indicates that a cartridge is in the firing
                           chamber within the handgun.

                           Magazine safetv disconnect: shall mean a device that prevents the firing of the handgun when
                           the magazine is detached from the handgun.

                           Make and model: shall mean any group of handguns, all of which are made by a manufacturer
                           by the same method and according to the same design pattern and specifications.


                11/14/97 (Effective 10/31/97) - corrected        Add. 20                           940 CMR- 120
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                        Make and Model Performance Requirements: shall mean a test in which three handguns in new
                        condition of the make and model being tested shall each pass the Handgun Performance Test.

                        Make and Model's Average Group Diameter Test Result: shall mean the arithmetic mean of the
                        results of three Average Group Diameter Tests, each performed on a different handgun in new
                        condition of the make and model being tested.

                        Malfunction: shall mean any failure to feed, chamber, fire, extract, or eject a round, or any
                        failure to accept or eject a magazine, or any other failure which prevents the handgun, without
                        manual intervention beyond that needed for routine firing and periodic reloading, from firing the
                        chambered round or moving a new round into position so that the handgun is capable of firing
                        the new round properly. Malfunction shall not include a misfire caused by a faulty cartridge
                        whose primer fails t<> detonate when properly hit by the handgun's firing mechanism.

                        Passive use-limitation device: shall mean a device that automatically resets itself so that an
                        unauthorized user cannot fire the handgun. As an example, a key activated trigger lock is not
                        a passive use-limitation device because it needs to be re-locked manually after its key is used
                        to unlock it; thus the next user can fire the handgun without having to unlock the handgun.

                        Prone to accidental discharge: shall mean unable to pass the following test: five handguns in
                        new condition of the make and model in question shall each be subjected to, and none shall
                        discharge.during, the Handgun Drop Test.

                        Readv to fir~: shall mean loaded, and in a condition such that pulling the trigger (and taking any
                        action that must simultaneously accompany the pulling of the trigger as part of the firing
                        procedure) will fire the handgun.

                        Serial number: shall mean the number stamped, inscribed; or placed upon a handgun by a
                        handgun-purveyor pursuant to M.G.L. c. 269, § 11 E.

                        Solenoid use-limitation device: shall mean a device which precludes, by use of a magnetically
                        activated relay, the firing of the handgun unless a magnet of the appropriate strength is placed
                        in proximity to the handle of the handgun. Such magnet may be imbedded in a ring which can
                        be worn on the user's gun hand.

                        Test loaded: shall mean loading each chamber of the handgun in question with an empty case
                        with a primer installed.

                        Transfer: shall mean sell, rent, or lease. Transfer shall not include a sale to a business entity that
                        is primarily a firearm wholesaler, so long as the sale, by its terms, prohibits the purchaser from
                        reselling the handgun to a handgun retailer or consumer in the Commonwealth.

            16.02: Unfair or Deceptive Practices: General

                         ( 1) It shall be an unfair or deceptive practice for any handgun-purveyor, in conjunction with
                         the transfer (or offer to transfer) of a handgun to a consumer in the Commonwealth, to fail to
                         comply 'iVith M.G.L. c. 93A, 940 CMR 16.00 el seq., or any other existing local, state, or federal
                         statute, rule or regulation whose implementation serves to protect consumers from unfair and
                         deceptive practices by means including, but not ·limited to, regulating conditions of sale,
                         precluding the sale of products when such sale will place purchasers in violation of the law,
                         demanding the disclosure of information, and ensuring the satisfactory condition and
                         non-contraband status of goods proffered for sale. Examples of the above include laws,
                         regulations, and rules that:
                              (a) forbid the sale of handguns to juveniles, addicts, or mentally incompetent individuals,
                             (b) forbid the sale of silencers. armor penetrating bullets, or machine-gun pistols (when
                             possession by purchasers will be unlawful),                                                    ·
                              (c) forbid participation in any way in the obliteration of serial numbers from handguns prior
                              to sale,
                              (d) forbid the sale of handguns whose serial numbers have been defaced.


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                                 (e) require sellers to keep records of handgun sales,
                                 (f) forbid sellers from delivering or transporting handguns loaded, or
                                 (g) forbid the delivery of handguns to the custody of a minor.

                           (2) It shall be an unfair or deceptive practice for a handgun-purveyor to make material
                           misrepresentations or make false certifications regarding any handgun offered for transfer.

                16.03: Tamper-Resistant Serial Numbers

                               It shall be an unfair or deceptive practice for a handgun-purveyor to transfer or offer to
                           transfer to any customer located within the Commonwealth any handgun on which the serial .
                           number has been placed solely in a location on the handgun that results in the number's
                           susceptibility to eradication. A serial number shall be deemed not susceptible to eradication for
                           purposes of 940 CMR 16.00 if:

                           ( 1) it is placed on the interior of the handgun, and the handgun-purveyor provides information
                           regarding the location of the interior serial number to the Office of the Attorney General and
                           other law enforcement officials upon request; or

                           (2) it is placed on the exterior of the handgun in a way that is not visible to the unaided eye, but
                           is visible with the aid of an infrared detector or other device, and the handgun-purveyor provides
                           information regarding the location of the non visible serial number or any method by which this
                           number can be made viewable to the Office of the Attorney General and other law enforcement
                           officials upon request.

            16.04: Sale of Handguns Made From Inferior Materials

                               It shall be an unfair or deceptive practice for a handgun-purveyor to transfer or offer to
                           transfer to any customer located within the Commonwealth any make and model of handgun
                           that:

                           ( 1) has a frame, barrel, cylinder, slide or breechblock:
                                 (a) composed of any meta!having a melting point of less than 900°F,
                                 (b) composed of any material having an ultimate tensile strength of!ess than 55,000 pounds
                                 per square inch, or
                                 (c) composed of any powdered metal having a density of less than 7.5 grams per cubic
                                 centimeter; or

                           (2) is prone to repeated firing based on a single pull of the trigger, prone to the explosion of the
                           handgun during firing with standard ammunition, or prone to accidental discharge.

                           (3) 940 CMR 16.04(1) shall not apply to any make and model of handgun which satisfies the
                           Make and Model Performance Requirements. The Attorney General may require that the
                           handgun-purveyor, or the entity testing the make and model in question on behalf of the
                           handgun-purveyor, provide a sworn certification verifying that the make and model met the
                           performance requirements. At the Attorney General's discretion, he may, upon 60 days notice,
                           require that any such test be performed again by an independent testing entity chosen by the
                           Attorney General, upon three test guns of the make and model purchased at retail. In such a case,
                           the prior certification shall be prospectively invalid at the conclusion of the notice period and the
                           make and model in question may henceforth only meet the Make and Model Performance
                           Requirements by obtaining a certification from the independent tester. A handgun-purveyor may
                           resubmit a make and model to the independent tester for testing an unlimited number of times.

                16.05: Sale of Handguns Without Childproofing or Safety Devices

                           (1) It shall be an unfair or deceptive practice to sell a handgun without a safety device in
                           violation ofM.G.L. c. 140, § 131K.

                           (2)  It shall be an unfair or deceptive practice for a handgun-purveyor to transfer or offer to
                           transfer to any customer located within the Commonwealth any handgun which does not contain

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                       a mechanism which effectively precludes an average five year old child from operating the
                       handgun when it is ready to fire; such mechanisms shall include, but are not limited to: raising
                       trigger resistance to at least a ten pound pull, altering the firing mechanism so that an average
                       five year old child's hands are too small to operate the handgun, or requiring a series of multiple
                       motions in order to fire the handgun.

                       (3) It shall be an unfair or deceptive practice for a handgun-purveyor to transfer or offer to
                       transfer to any customer located within the Commonwealth any handgun which does not contain
                       a load indicator or magazine safety disconnect.

                       (4) 940 CMR 16.05(2) shall not apply to handguns which have a hammer deactivation device.
                       940 CMR 16.05(3) applies only to handguns that have a mechanism to load cartridges via a
                       magazine.

            16.06: Safetv Warning/Disclosures

                       (1) It shall be an unfair or deceptive practice for a handgun-purveyor to transfer or offer to
                       transfer to any customer located within the Commonwealth any handgun unless that handgun is
                       accompanied by the following warning, provided on a separate sheet of paper included within
                       the packaging enclosing the gun, which, in at least 12 point type, states the following:
                               "WARNING FROM THE MASSACHUSETTS ATTOR.t~"EY
                               GENERAL: This handgun is not equipped with a device that fully
                               blocks use by unauthorized users. More than 200,000 firearms like
                               this one are stolen from their owners every year in the United States.
                               In addition, there are more than a thousand suicides each year by
                               younger children and. teenagers who get access to firearms.
                               Hundreds more die from accidental discharge. It is likely that many
                               more children sustain serious wounds, or inflict such wounds
                               accidentally on others. In order to limit the chance of such misuse,
                               it is imperative that you keep this weapon locked in a secure place
                               and take other steps necessary to limit the possibility of theft or
                               accident. Failure to take reasonable preventive steps may result in
                               innocent lives being lost, and in some circumstances may result in
                               your liability for these deaths."
                           Failure to include this warning in the packaging enclosing the gun shall not be a violation of
                       940 CMR 16.00 if the handgun in question complies with 940 CMR 16.05(1) by means of a·
                       built-in passive use-limitation device, including but not limited to a nondetachable solenoid
                       use-limitation device.

                       (2) It shall be an unfair or deceptive practice for a handgun-purveyor to transfer a handgun
                       directly to a retail customer located within the Commonwealth without demonstrating how to
                       load. unload, and safely store the handgun, and how to engage and disengage all safety devices
                       on the handgun. This shall include an explanation of the circumstances for which the safety
                       devices are designed to prevent the firing of the handgun. The handgun-purveyor shall also note
                       for the retail customer the absence, if any, of the following: a load indicator, a magazine safety
                       disconnect or an internal safety.

                       (3) It shall be an unfair or deceptive practice for a handgun purveyor to transfer to a customer
                       located within the Commonwealth a handgun that has a barrel shorter than three inches, unless
                       the handgun purveyor discloses the limits of the accuracy of the make and model of handgun for
                       sale by providing in writing to the customer (prior to sale) the make and model's average group
                       diameter test result at seven yards. average group diameter test result at 14 yards, and average
                       group diameter test result at 21 yards.

            16.07: Transfers of Used Handguns

                       ( 1) 940 CMR 16.03 and 16.05(2) and (3) shall not apply to the transfer of (or offer to transfer)
                       any handgun that previously has been sold at retail to a consumer and that was manufactured
                       prior to the enforcement date for those provisions.


            2119199                                          Add. 23                          940 CMR - 123
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                                    940 CMR: OFFICE OF THE ATTOR.t"\J"EY GENERAL


            16.07: continued

                       (2) 940 CMR 16.06(3) shall not apply to the transfer of (or offer to transfer) any handgun that
                       previously has been sold at retail to a consmner, was manufactured prior to the enforcement date
                       for 940 CMR 16.06(3), and for which the handgun-purveyor discloses the limits of the accuracy
                       of the specific handgun for sale by providing in writing to the customer(prior to sale) the
                       handgun's average group diameter test result at seven yards, average group diameter test result
                       at 14 yards, and average group diameter test result at 21 yards.

                       (3) 940 CMR 16.04(2), as it pertains to any make and model prone to accidental discharge,
                       shall not apply to the transfer of (or offer to transfer) any handgun that previously has been sold
                       at retail to a consumer, was manufactured prior to the enforcement date for 940 CMR 16.04(2),
                       and for which the handgun-purveyor provides to the buyer a sworn certification tjlat the
                       handgun-purveyor has performed the Handgun Drop Test on the handgun in question in fully
                       cocked position, and on the same handgun (or on other handguns of the same make and model
                       in similar condition) in all other hammer/striker positions, and that there were no discharges
                       during the test.

                       (4) 940 CMR 16.04(1) shall not apply to the transfer of(or offer to transfer) any handgun that
                       previously has been sold at retail to a consmner, was manufactured prior to the enforcement date
                       for 940 CMR 16.04( l ), and for which the handgun-purveyor provides a sworn certification to
                       the buyer that the specific handgun purchased passed the Handgun Performance Test.

            16.08: Severabilitv.

                           If any section or subsection of 940 CMR 16.00 shall be held invalid, the validity of the
                       remainder of 940 CMR 16.00 shall not be affected thereby. If the application of any section or
                       subsection of 940 CMR 16.00 to any person or circumstance shall be held invalid, the
                       applicability of such section or subsection to any other person or circumstance shall not be
                       affected thereby.                                         ·

            16.09: Enforcement Dates

                           940 CMR 16.00 shall apply as follows:

                       (1) 940 CMR 16.01, 16.02, and 16.08, and 940 CMR 16.06(1) and (2) shall apply to acts
                       committed or practices in force as of January 15, 1998;

                       (2) 940 CMR 16.04 and 940 CMR 16.06(3), 16.07(2), (3) and (4) shall apply to acts committed
                       or practices in force as of June 30, 1998; and   '

                       (3) . 940 CMR 16.03 and 16.05, and 940 CMR 16.07(1) shall apply to acts committed or
                       practices in force as of September 30, 1998.


            REGULATORY AUTHORITY

                       940 CMR 16.00: M.G.L. c. 93A, § 2(c).




            (PAGES 125 THROUGH 130 ARE RESERVED FOR FUTURE USE.)




            10/31197                                         Add. 24                         940 CMR- 124
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                            RECORDS

                PLYMOUTH COLONY.
                                    LAWS.
                               1623—1682,




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                                                   RECORDS
                                                                   OF THE




               COLONY                                                  or




            NEW PLYMOUTH                                               IN


                                              NEW ENGLAND,
                   PRINTED BY ORDER OF THE LEGISLATURE OF THE
                         COMMONWEALTH OF MASSACHUSETTS.

                                                                EDITED BY

                                                   DAVID PULSIFER,
                             CLERK IN THE OFriCE OF THE SECRETARY OF THE COMMONWEALTH,
                BIEMBER OF THE   NEW   ENOLANI) HISTORIC-GENE A LOGICAL BOOIETT, FELLOW OP THE AMERICAN STATISTICAL ASSOCIATION,
                          CORRESPONDING MEMBER OP THE ESSEX INBTITUTE, AND OP THE RHODE ISLAND, NEW YORK,
                                             CONNECTICDT, WISCONSIN AND IOWA HISTORICAL SOCIETIES.




                                                               LAWS.
                                                        1623-1682.




                                                             BOSTON:
                        FROM THE PRESS OF WILLIAM WHITE,
                                                 PRINTER TO THE COMMONWEALTH.

                                                                 186        1.




                                                                Add. 26
                                                                                               ;                                  ;                                   ;;;




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            230                                                      PLYMOUTH COLONY RECORDS.

             [Part       III.]            It    was        att    this   Court voated and generally agreed on by the Court
                                 that our Confeaderation with two Collonies: viz: Massachusetts and Conecticott
                    ^'




                                 shall stand          and remaine              as It did formerly                    with three

                                          It is      enacted by the Court and the authoritie therof that a Comittee
                                 be chosen to puse                   all       our lawes             ;   and   to gather      vp from them         or   any other
                                 healpes they can gett and compose therfrom a body of                                                 Lawes   ;   and   p''sent   the
                                 same     to the      next election Court for a further settlement therof and the charge
                                 therof to be bourne and defrayed by the Treasurer

                                          The Comitttee appointed by the                  The M^or       court were
                                                                                                         I f "!?J' ^5"'? ^'^'P
                                                         '^^       '                                             'eqiestea
                                                                                        and M' Hinckley _) '" °^
                                                                                _
                                 and     if    any    of the deputies or others shall propose any thinge to this Com-

                                 ittee for theire consideration                           when they meet               together   it   shalbe well accepted

                                         Wheras             seuerall psons haue bine greatly                                Indangered by seting of Guns
                                 It is enacted              by the Court and the                         authoritie therof that          none     shall sett      any
                                 Guns except               in Inclosures                 and       that the    gun be        sufficiently enclosed soe as it

                                 be Cecure from hurting                             man        or beast and that hee that seteth the                     gun doe
                                 giue warning or notice therof to                                  all   the Naighbours on the penaltie of paying

                                 a fine of fine pounds                   to"   the vse of the CoUonie for euery default;


                                         It is enacted              by the Court                   that if there be any psons that will                   buy       all

            Repealed June the            Tarr that shalbe made                           within this CoUonie and will pay eight shillings a
            9"" i67i.
                                 barrell for         itt   in    mony ; and               for euery halfe             hogshed twelue       shillings for       it   in

                                 mony      ;   they shall haue                 it    soe   ;       for the     tearme of two yeares from the date
                                 heerof ; and to receiue                   it       att    a place appointed in euery Township and                             it is

                                 further enacted                 by the Court              that if        any others except those that soe engage
                                 to   buy      all    the Tarr shall carry or cause any to be carryed out of the Col-

                                 lonie within the aforsaid tearme of                                     two yeares they          shall forfeite either           the

                                 Tarr or the valine therof; the one halfe to the Cbllonie and the other halfe
                                 to those that are               engaged            to   buy       all   the said Tarr.


                *120                     *iforasmuch as                  seuerall              Townes          in    this    CoUonie are alreddy much
                                 Straightened for building timber and through Gods prouidence some other

                                 townes are well accomodated to afford them a supply that townes soe straight-
                                 ened be not nessessitated to fech theire supplyes from another Jurisdiction
                                 whilst        wee haue of our owne
                                                                                                   June 1672.
                                         Be     it   Inacted by this Court and the Authoritie therof That noe timber

                                 of any sort          may         or shall within the tearme of seauen yeares next after the

                                 first   of    Nouember next ensueing                                ;   be    att    any time transported or carryed
                                 away by land              or water out of any Township in this Jurisdiction into any other




                                                                                         Add. 27
                                                                                             ——
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         720                                Province Laws.      — 1713-14.         [Chaps. 6,7.]




                                                   ACTS
                       Passed at the Session begun and held at Boston,

                          ON THE Fourteenth day of October, A.D.                        17 13.




                                               CHAPTER                6.

                       AN ACT TO PROHIBIT SHOOTING OR FIRING OFF GUNS NEAR THE ROAD
                                         OR HIGHWAY ON BOSTON NECK.

                         Whereas the limbs and lives of several persons have been greatly
                       endangered, in riding over Boston Neck, by their horses throwing of
                       them, being affrighted, and starting at the firing of guns by gunners
                       that frequent there after game for preventing whereof for the future,
                                                       ;


                         Be it enacted hy His Excellency the Governour, Council and Repre-
                       sentatives in General Court assembled., and hy the authority of the same,
        Penalty.          [Sect. 1.] That no person or persons, from and after the publication
                       of this act, may presume to discharge or fire off any gun upon Boston
                       Neck, within ten rods of the road or highway leading over the same,
                       on pain of forfeiting and paying the sum of twenty shillings for each
                       gun so fired or discharged, one moiety thereof to be to and for the use
                       of the poor in the said town of Boston, and the other moiety to him or
                       them that shall inform, complain and sue for the same to be recovered
                                                                               ;


                       before the court of general sessions of the peace within the county, or
                       before any one or more of her majesty's justices of the peace out of court.
        Guns   to be     [Sect. 2.]     And, for the better conviction of persons offending
        seized.
                       against this act, it shall be lawful, to and for any freeholder, to arrest
                       and take into custody any gun so fired off, and render the same to one
                       of the next justices in Boston, in order to its being produced at the
                       time of tryal. \_Passed October 23 published November 2.
                                                            ;




                                                CHAPTER               7.

                            AN ACT AGAINST HAWKERS, PEDLARS, AND PETTY CHAPMEN.

                          Whereas complaint is made of great hurt to and the decay of trade,
                       occasioned by hawkers, pedlars and petty chapmen passing to and fro
                       through the country to vend goods, wares and merchandizes, much of
                       which was probably obtained by robbery and stealing in the time of the
                       late great desolation by fire in the town of Boston (to the grievous
                       loss and oppression of her majesty's good subjects, suffei-ers in the said
                       calamity), and by frequent robberies and thefts since committed so    ;


                       that divers men of trades, handycraft men and others, none of the best
                       fame, having left off the exercise of their trades and business, turn
                       hawkers, pedlars and petty chapmen ; for remedy of which mischief,



                                              Add. 28
                                                                                                                '




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       itants, iu order to
                         chuse such officers a,s, by law, towns are [e][i] pow-
       ered to chuse in the month of March, annually at which said first        ;


       meeting all the then present inhabitants shall be admitted to vote.
       [^Passed July 4* published July 5.
                              ;




                                       CHAPTEK                        8.

       AN ACT FOR REVIVING AND CONTINUING AN ACT MADE TO PREVENT
        DAMAGE BEING DONE ON THE LANDS CALLED NOBSCUSSET, IN THE
        TOWNSHIP OF YARMOUTH.

         "Whereas the act made and passed in the thirtieth year of his                          Preamble,
       late majesty, King George the Second, intitled "An Act to prevent                        1757-58, chap.      8.

       damage being done on the lands lying in the township of Yarmouth,
       called Nobscusset," which act has been found useful and beneficial,
       is   expired,   —
            Be   it        enacted by the Governor, Council and House of
                      therefore
       Representatives,
          [Sect. 1.]   That the aforesaid act, and every clause, matter and                     Actof    soth
                                                                                                          ^^" '""
       thing therein contained, be and the same is, hereby, revived and shall                   ^^edf^
       continue in force until the first day in July, which will be in the year
       of our Lord one thousand seven hundred and eighty-one, and to the
       end of the then next session of the general court, and no longer.
          And be it further enacted,
          [Sect. 2.]   That such person or persons as may have been chosen                      Persons chosen

       at the anniversary meeting of the inhabitants of the town of Yar-                        empowered.
       mouth, in March last, to see to the observance of said act and to
       prosecute the breakers thereof, or that may, at any time during the
       continuance of the said hereby-revived act, be chosen or appointed
       by said town for that purpose, are hereby as fully impowered (being
       first sworn to the faithful discharge of such trust) to take effectual
       care that said act be duly observed, and the transgressors thereof
       duly prosecuted, as if said act had not expired and upon his or their
                                                                           ;



       refusing to accept of and be sworn to such office or trust, shall be
       subject to the same forfeiture, to be applied to the same use, as is
       therein mentioned     and upon such refusal the inhabitants of said
                                  ;



       town may, and they are hereby, authorized to appoint another person
       or persons to that trust, and so, toties quoties, during the continuance
       of said act.        \^PajSsed   July 4*    ;
                                                       published July      5.




                                       CHATTER                       9.

        AN ACT FOR ERECTING TWO PUBLTCK MAGAZINES FOR THE SAFE
         KEEPING OF POWDER; THE ONE IN THE TOWN OF BOSTON, AND THE
         OTHER IN THE TOWN OF WATERTOWN.

          Whereas it is with good reason apprehended that the present situation Preamble,
        of the magazine or powder-house on the common or training-field in
        Boston is unsafe for lodging and keeping the great quantities of gun-
                                  * Signed July   5,   according to the record.




                                                        Add. 29
                 ;                                                                                      ;




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      168                                        Province Laws.     — 1771-72.          [Ciiap. 9.]


                            powder which ai'e commonly placed therein, and that it is also expe-
                            dient to have another public magazine out of the town of Boston, in
                            addition to that in Charlestown,  —
                               Be it therefore enacted by the Governor, Council and House of
                            Representatives,
     Two     powder-           [Sect. 1.]   That two public[k] magazines, or powder-houses, be
     houses to be
     built; one in          built of stone or brick, and suitably finished, as soon as may be, at
     HniMti. one in
     Watcrtown.
                            the publick expence, fit for stor[e]ing and safe keeping of gunpowder       ;


                           the one in the town of Boston, behind, or at the north-western end of,
                           the hills on the northern side of the common, or training-field, there
                           and the other, within the town of "Watertown, in the county of Middle-
                           sex, in such place in said town as may be agreed upon by a committee
                           that may be appointed by the general assembly to build said maga-
                           zine  ; and that from and after the finishing such new magazines, all
                           the gunpowder in the present magazine[s] shall, without delay, at the
     Powder to be          expence of the respective owners thereof, be removed from thence into
     removed as the
     commander-in-         one of the new magazines, or into both of them, or into the magazine
     chief shall           at Charlestown, in such proportions as the commander-in-chief shall
     direct.
                           order    and that all the gunpowder which shall be imported and
                                     ;


                           landed, in the port of Boston aforesaid, after finishing such new
                           magazines, or either of them, shall be carried into and placed in one
     Forfeiture, in        or both of them, or in the magazine at Charlestown, according to such
     case.
                           order as aforesaid, and not el[e]s[e]where, on pain of forfeiting all
                           such gunpowder as shall be lodged or kept in any other place one     ;


                           moiety thereof to and for the use of this province, and the rest, to the
                           informer to be recovered by bill, plaint or information in any court
                                             ;


                           of record in this province.      And the owner or owners of such gun-
                           powder shall also forfeit the sum of ten pounds for every half-barrel
                           of such gunpowder, and after that rate for every greater quantity,
                           lodged in any other place to be recovered by action of debt, in any
                                                       ;


                           court proper for the trial thereof, by him that shall sue for the same   :


     Town      stocks to   saving, nevertheless, that the ordinary town stocks of gunpowder, of
     be under the
     direction of the      each and every town or district within this province, may be placed
     selectmen.
                           and kept in any other suitable place or places, as the selectmen there-
                           of, respectively, shall appoint; and that a quantity of gunpowder, not
                           exceeding five-and-twenty pounds, may be kept in any shop for sale
     Quantity that         (provided it be kept in brass or tin tunnels) saving, likewise, all needful
                                                                       :

     may be kept in
     private shops.        stocks and gunpowder for any fort, fortress or garrison within this
                           province    which may, nevertheless, be lodged and kept in such
                                             ;


                           fortress   saving^ also, all such public[k], or provincial, stocks of gun-
                                         :



                           powder as by the commander-in-chief, for the time being, shall be
                           ordered to be lodged in any other place or places.
                              And be it further enacted,
     Keeper  to be            [Sect. 2.]   That a keeper shall, from time to time, be appointed by
     appointed by
     the comraander-       the commander-in-chief, [by] for each of the said magazines, who
     in-cliief
                           shall duly attend, each one, his respective magazine, at such hours
                           and times as shall be directed and ordered by the commander-in-chief,
                           for taking in and delivering out, all such gunpowder as shall, from time
                           to time, be wanted by the respective owners thereof    ;  and whose duty
                           it shall be, in all respects, to take due care of all the gunpowder
                           therein, for the preservation thereof, and not to neglect turning the
     — his duty            same, once [in] every month, at least, as long as it shall remain there-
                           in:  and that no powder be taken in or delivered out, but between the
                           hours of sun-rising and sun-s[i][e]tting.
                              And be it further enacted,
     — his allow-             [Sect. 3.] That for all gunpowder which shall be put into the
     ouce.
                           said magazines, or either of them, saving such as belong to the public




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     stock, there shall be paid into the hands of the respective keepers
     thereof, for the use of the province, one shilling for each barrel, upon
     receipt thereof and sixpence for each barrel, by the month, for three
                    ;


     months after the first month from the receipt thereof and fourpence
                                                             ;


     for each barrel, for every month afterwards as long as it shall remain
                                                  ;


     therein which monies, to be received by the several keepers of the
            :



     said magazines, respectively, they shall each of them account for,
     upon oath, to the commander-in-chief and the council and the same
                                                                 ;



     shall be applied towards defr[c]aying the charges of keeping and
     attending the said magazines, managing and taking due care of the
     gunpowder therein and if there shall, at any time, be a deficiency
                         ;


     for those purposes, it shal* Uo made up and paid out of the province
     treasury ; and if, at any time, there should be a surplusage, it shall be
     paid into the province treasury.    [^Passed and published July 5.




                                            Add. 31
               1782. — Chapter
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                                                        119                              E

     Be     enacted hy the Senate and House of Representa-
           it

  tives   inGeneral Court assembled, and hy the Authority

   T^Ti'ii                   T                             1T-^
  of the same, That a Sum not exceedino- Tu-o Thousand raised
  I^ounds be raised by a Lottery or Lotteries, lor and to tery.
                                                                ^'^^^'i\°^^
                                                                        by Lot-      ,




  the Purpose of re-building the said Mills; and that John Names of the
                                                                  ''"''s*"'^-
  Pitts and John White, Esquires, and Mr. William Paine,
  or any two of them, shall be Managers of the said Lot-
  tery or Lotteries, who shall be sworn to the faithful Per-
  formance of their Trust which said Managers shall make
                                      ;


  and publish in such News Papers as they shall judge
  proper, a Scheme for the said Lottery or Lotteries, as
  soon as may be       and they shall also publish therewith
                          ;


  all necessary Rules and Regulations for the Management
  thereof.    And all Prizes which may be drawn in the
  said Lottery or Lotteries, shall be paid without any
  Deduction, provided they are demanded within Six
  Months after the Drawing of the said Lottery or Lot-
  teries, otherwise the Money arisino- from such Prizes,
  shall be appropriated to the Purpose aforesaid.
     And be it farther enacted. That if any Person shall forge,
                                                        •
                                                             ~
                                                                Persons'guiity
                                                                of Forgery.
                                                                  .          ,

  counterfeit, or alter any Lottery Ticket issued by Virtue
  of this Act, or shall pass or utter any such forged, coun-
  terfeited or altered Ticket, knowing the same to be false,
  forged, counterfeited or altered, or shall advise or assist
  in forging, altering, or counterfeiting the same, every
  Person so oflending, and being thereof convicted before
  the Supreme Judicial Court of this Commonwealth, shall
  be punished by being set on the Gallows for the Space of Penalty.
  one Hour, with a Rope round his Neck, or shall pay a
  Fine not exceeding One Hundred Pounds, to the Use of
  this Commonwealth, or suffer not more than Twelve
  Months Imprisonment, nor less than Two, or be pub-
  licly whipped, not exceeding Thirty-nine Stripes, at the
  Discretion of the said Supreme Judicial Court, according
  to the Nature and Circumstances of the Offence.
                                          February 26, 1783.

                          1782.      — Chapter              46.
                                [January Session, ch.   13.]

  AN ACT  IN ADDITION TO THE SEVERAL ACTS ALREADY MADE QhaV 46
     FOR THE PRUDENT STORAGE OF GUN POWDER WITHIN THE              ^'
     TOWN OF BOSTOX.
     Whereas the depositing of loaded Arms in the Houses o/" Preamble.
  tlie   Town   o/"   Boston,   is   dangerous     to the      Lives of those ivho




                                                Add. 32
Document:
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                                 1782.
                                       98 Chapter
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                    are disposed to exert themselves token a Fire happens to
                    break out in the said Toivn :
                       Be it enacted by the Senate and House of Representa-
                    tives in General Court assembled, and by the Authority
    Persons pro-    of the same. That if any Person shall take into any
    hibited taking
    into their Dwel Dwelling House, Stable, Barn, Out House, Ware House,
   lings, &c. any
    piece of Ord-   Store, Shop, or other Building within the Town of
    nance loaded
    with Gun
                    Boston, any Cannon, Swivel, Mortar, Howitzer, Co-
   Powder.          horn, or Fire Arm, loaded with, or having Gun Powder
                    in the same, or shall receive into any Dwelling House,
                    Stable, Barn, Out House, Store, Ware House, Shop, or
                    other Building, within the said Town, any Bomb, Gren-
                    ade, or other Iron Shell, charged with, or having Gun
                    Powder in the same, such Person shall forfeit and pay
   Penalty.         the Sum of Ten Pounds, to be recovered at the Suit of
                    the Firewards of the said Town, in an Action of Debt,
                    before any Court proper to try the same       one Moiety
                                                                   ;


                    thereof to the Use of the said Firewards, and the other
                    Moiety to the Support of the Poor of the Town oi Boston.
                       And be it further enacted by the Authority aforesaid,
                    That all Cannon, Swivels, Mortars, Howitzers, Cohorns,
   Pieces of Ord-
   nance charged    Fire Arms, Bombs, Granades, and Iron Shells of any
   with Gun Pow-
   der found in any Kind,  that shall be found in any Dwelling House, Out
   Dwelling-
   House.&c. liable
                    House,  Stable, Barn, Store, Ware House, Shop, or other
   to be seized.    Building, charged with, or having in them any Gun
                    Powder, shall be liable to be seized by either of the
                    Firewards of the said Town And upon Complaint made
                                                   :



                    by the said Firewards to the Court of Common Pleas, of
                    such Cannon, Swivels, Mortars, or Howitzer, being so
                    found, the Court shall proceed to try the Merits of such
                    Complaint by a Jury;     and if the Jury shall find such
   How disposed of Complaint supported, such Cannon, Swivel, Mortar, or
   in Cases of
   Forfeiture.      Howitzer, shall be adjudged forfeit, and be sold at public
                    Auction and one Half of the Proceeds thereof shall be
                        ;



                    disposed of to the Firewards, and the other Half to the
                    Use of the Poor of the Town of Boston. And when any
                    Fire Arms, or any Bomb, Granade, or other Shell, shall
                    be found in any House, Out House, Barn, Stable, Store,
                    Warehouse, Shop, or other Building, so charged, or having
                    Gun Powder in the same, the same shall be liable to be
               seized in Manner aforesaid      ;       and on Complaint thereof,
               made and supported before-      a Justice of the Peace, shall
               be sold and disposed of as is above provided for Cannon.
   Appeals
   allowed.
                 Be it further enacted. That Appeals shall be allowed in
               Prosecutions upon this Act as is usual in other Cases.
                                                         March 1, 1783.

                                  Add. 33
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                   Acts, 1804.        — Chapter               81.                     Ill

   other   Towns   within this   Commonwealth are required by
   law to choose    in the   Months of March or April annually
   And the Officers so         chosen shall be qualified as other
   Town Officers are.                   Approved March S, 1805.


                       1804.     — Chapter              81.
                             [January Session, ch,   35.]

   AN ACT TO PROVIDE FOR THE PROOF OF FIRE ARMS MANU-
           FACTURED WITHIN THIS COMMONWEALTH.
     W7iereas no provision hath been   made hy law for the                  Preamble.

  proof of Fire Arms manufactured in this Commonivealth
  hy which it is apprehended that many may be introduced
  into use which are unsafe and thereby the lives of the Cit-
  izens be exposed^ to prevent which
     Sect. 1st. Be it enacted by the Senate and House of
  Representatives in General Court assembled, and by the
  authority of the same That the Governor by and with                       Provers of    fire-
                                                                                          ''^'
  the advice and consent of the Council be and he hereby                    pokned.*"^
  is empowered to appoint in any part of this Common-
  wealth where the Manufacture of fire Arms is carried on,
  suitable persons to be provers of fire arms not exceeding
  two in any County who shall be sworn to the faithful dis-
  charge of their trast, whose duty it shall be to prove all
  Musket Barrels and Pistol barrels which being sufficiently
  ground bored and breeched shall be ofiered to him to be
  proved   — who shall prove the Musket barrels twice in
  manner following vizt. first with a charge consisting of                  Method   of

  one eighteenth part of a pound of Powder, one ounce of
  which in a five & an half inch Howitz at an elevation
  of forty five degrees will carry a twenty four pound shot,
   eighty Yards    —with a ball suited to the bore of the bar-
   rel—  the second proof to be with a charge consisting of
   one twenty second part of the same powder with a ball
   suited to the bore of the barrel, and shall prove the pistol
   barrels once with a charge consisting of one twenty sec-
   ond part of a pound of Powder, one ounc of which in a
   five and half inch Howitz at an elevation of forty five
   degrees, will carry a twenty four pound shot seventy
   Yards, with a ball suited to the bore of the barrel                  —
   which said powder and ball it shall be the duty of the
   prover to provide     — And if the said musket and pistol                Proof marks

   barrels shall stand the proof aforesaid and shall in no re-
   spect fail, then it shall be the duty of the said prover to




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   112                             Acts, 1804.   — Chapter       81.

                     stamp the same on the upper side and within one and an
                     half inches of the breech of said barrels with a stamp
                     consisting of the initial letters of the provers name &
                     over those letters the letter P. also in the line of the said
                     initial letters and further up said barrel the figures desig-
                     nating the Year of our Lord in which the proof is made
                     and over the said figures the letter M. which said letters
                     and figures shall be so deeply impressed on said barrel
                     as that the same cannot be erased or disfiguered and shall
                                                  P    M
                     be in the form following    AB   1805 and when any barrels
                     shall bur.st or shall in any manner fail in the proving as
                     aforesaid so that in the opinion of the prover they are
                     unfit for use they shall not be stamped but the said prover
   Fees.             shall suflfer the owner to take them away   — & any prover
                     so proving musket or pistol barrels as aforesaid shall be
                     entitled to recieve from the owner for each musket barrel
                     thirty three Cents, and for each pistol barrel twenty five
                     Cents, whether the same stand proof and are Stamped or
                     not.
   Penalty for
   not having
                       Sec. 2d. And be it further enacted, that if any per-
   arms proved.      son after the first day of June next shall manufacture
                     within this Commonwealth any musket or pistol without
                     having the barrels proved and stamped as aforesaid, ex-
                     cept such as are or may be Manufactured in the Armory
                     of the United States, or in fulfilment of some contract
                     made and entered into or that may hereafter be made and
                     entered into for the Manufacturing of fire arms for the
                     United States, shall forfiet and pay for every such Musket
                     or pistol the sum of ten dollars to be recovered in an ac-
                     tion of Debt before any Court proper to try the same by
                     any person who shall sue for and recover the same to his
                     own    use.
   Penalty for
   Belling or buy-
                        Sec. 3d.    And    be it farther enacted that if any person
   ing arras not
   proved.
                     after the said first day of June next, shall sell and deliver
                     or shall knowingly purchase any Musket or Pistol which
                     shall have been manufactured within this Commonwealth
                     after the said first day of June next, which shall not have
                     the marks of proof above required the person so selling
                     and the person so purchasing, shall each forfiet the sum of
                     Ten Dollars, to be recovered by action of debt before any
                     Court proper to try the same to the use of any person
                     who shall sue for and recover the same.
   Penalty for
   forging stamp.
                        Sec. 4th. And be it further enacted, that if any per-
                     son, shall falsely forge or alter the stamp of any prover




                                            Add. 35
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                   Acts, 1804.          — Chapter                   82.                         113

  of Fire arms, so appointed as aforesaid impressed on any
  musket or Pistol Barrel pursuant to this Act, and be
  convicted thereof before the Supreme Judicial Court he
  shall be punished by fine not exceeding Fifty Dollars nor
  less than twenty dollars, according to the nature and ag-
  ravation of the offence.        Ajoproved March 8, 1805.


                        1804.       — Chapter                 83.
                               [January Session, ch.   36.]

  AN ACT TO INCOEPORATE A NUMBER OF THE INHABITANTS
    IN THE TOWN OF LIMINGTON, IN THE COUNTY OF YORK,
    INTO A SEPERATE RELIGIOUS SOCIETY, BY THE NAME OF
    THE FIRST BAPTIST SOCIETY IN LIMINGTON.
    Sec.   1   .   Be   it                 and House of Rep-
                             enacted by the Senate
  resentatives in General Court assembled,    and by the au-
  thority of the    same. That Ebenezer Clarke, James Marrs,                        Persons incor-
                                                                                    p"*^*'®^*
  Solomon Stone, William Chick, Barzillai Small, Nathan-
  iel Clark, Paul Gray, James Sawyer, John Gray, Eben-
  ezer Sawyer, Jeremiah Small, Lemuel Sawj^er, Peter
  Chick, James Small, Daniel Rounds, Amos Chase, Rob-
  ert Hooper, David Nason, Jonathan Nason, Daniel Small,
  Frethe Spencer, John Lord, John Sutton, Stephen Web-
  ber, George Stone, James Lord, John Andrews, John
  Finnix, Enoch Nason, Nathaniel Adams, Benjamin Nor-
  ton, Edward Norton, John Greenlaw, Amos Thompson,
  Joseph Sawyer, William Sawyer, Ebenezer Walker, Wil-
  liam Wentworth, Hurd Hubbard, James Heard, Joshua
  Durgon, Levi Cole, William Manning, George Finnix,
  Isaac Small, Ezekiel Small, Jacob Small, Josiah Chase,
  Thomas Spencer, Abraham Parker, Amos Chase Junior,
  Nathan Chick, and Jonathan Nason Junior, members of
  said Religious Society, with their polls and estates, be,
  and they are hereby incorporated by the name of the corporate
  First Baptist Society in Limington, with all the privi- °'*'"®'
  ledges and immunities which parishes or Religious So-
  cieties in this Commonwealth are by Law intitled to,
  provided however, that all such persons, .shall be holden
  to pay their proportion of all Monies assessed in said
  town of Limington for Parochial purposes, previous to
  the passing of this Act.
     Sec. 2d. And be it further enacted, that any person Method of join.
  in said town of Limington who may at any time within '°g t^e society.
  one year from the passing of this Act, actually become a
  Member of, and unite in religious worship with the said



                                                 Add. 36
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 444           CAUSEWAY.— GUN-POWDER.                          March     I,   An. 1S09.

                 toi's, then the said proprietors, for the purpose of pa3ang
                 such- delinquent's assessment, are hereby authorized tmd
  Land of dciin-f :!(y empowered, to direct their Collector, Clerk, or
  t(^^b sold lor
                  x're.xsurcr irom time to time, at publick vendue to sell and
                 convey so much of such delinquent's land as near as may
                 be to said ciiuseway, as will be sufficient to defray the sum
                 assehsed on him, and all reasonable charges attending such
                 sale    notice of such sale, and of the time and place being
                          ;


                 given, by publishing an advertisement thereof, in two of
                 the newspapers printed in Boston, five weeks successively
                 before the time of sale.    And the proprietors may, by their
                 Cierk, execute a deed of conveyance of the land thus sold,
                 Unu. the purchaser ; wherein shall be conveyed all the
                 right and title which said delinquent proprietor formerly
 ,,  .           h^id in said land thus sold and conveyed.     Provided never-
                 t/ieless, that the person whose land shall be sold, shall have

                 liberty to redeem the same, at any time within one year
                 after such sale, by paying the sum his land was sold for,
                 aiid charges, together with twelve per centum on the sum
                 produced by such sale.
                    Sect, 4. Be it further enacted, that the proprietors of
                 said Cddsevvay, and ol the land thereto adjacent, are hereby
                 empowered to order and manage all affairs relative to the
                 jniaking and maintaining the said causeway, in such way
                 and manner, as shall be concluded and agreed on, by the
                 major part of those who are therein interested, present at
                 any legal meeting the votes to be collected and accounted
                                            ;


                 according to the number of acres owned by the proprietors
                 of said causeway.
                                    [This act passed Feb. 27, 1809.]



                                                  CHAP, LIL
                 An            >roviding for the appointment of Inspectors,
                          act pro\                                                  and
                              re giiLiting the   manufactory of Gun-Powder.

                    Sect. 1. 13         E
                               IJE it enacted byhii the Senate and House of

                 Representatives, in General Court assembled, and by the
                 authority of the same. That his Excellency the Governour,
                 by and with the advice of Council, be, and he is hereby
                 authorized to appoint an Inspector of gun-powder for
  Oovernour to
                        publick powder magazine, and at every manufactory
  ap"p()iininspec-<'-very
  tors.          of gun-powder in this Commonwealth, and at such other
                 places, as ma^' by him be thought necessary   and his Ex-
                                                                     ;


                 cellency the Governour, by and witli the advice oi Council,

                                                Add. 37
                                                                                      is
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 GUN-POWDER.                             March      1,   An. 1809.    445

 is hereby further authorized and empowered to remove said
 Inspectors, or    any of them at pleasure, and may by new
 appointments from time to time fill any vacancy, or va-
 cancies which may happen.
    Sect. 2. Be it further enacted^ That from and after the
 first day of July next, all gun powder which shall be manu- Materials.
 factured within this Commonwealth shall be composed of
 the following proportions, and quality of materials, that is,
 every one hundred parts of gun powder, shall be composed
 of fourteen parts of fresh burnt coal, made from wood
 which forms the least ashes, and which has been carefully
 and well prepared, and made into coal, after being stripped
 of its biirk, ten p;uts of pure sulphur, and seventy six parts
 of purified nitre.
    Sect. 3. Be it further enacted^ That it shall be the duty
 of each of said Inspectors, to inspect, examine and prove Duty of inspec
                                                                ^"^^•
 all gun-powder, which after the first day of July next, shall

 be deposited at any publick powder magazine, or manufac-
 tured in this Commonwealth, before the same shall be
 removed from the manufactor\-, or received into such pub-
 lick powder magazine, and if upon such inspection and ex-
 amination it shall appear to the Inspector, that such gun-
 powder is well manufactured, and composed of pure ma-
 terials, and of the proper proportions of materals, and such
 gun-powder shall be of the proof herein after mentioned
 the Inspector shall mark each cask, containing gun-powder
 by him inspected, examined and proved as aforesaid, with
 the words Massachusetts Inspected Proof and with his
                                               ;


 christian and sur-name, and shall also mark in figures upon
 each cask the cjuantity of })owder contained therein, and
 the year in which the inspection is made.
     Sect. 4. Be it further enacted^ That no gun-powder
 within this Commonwealth, shall be considered to be of
 proof unless one ounce thereof placed in the chamber of a Powder io ba
                                                                P'^^'^''^-
 four and an half inch howitzer, with the howitzer elevated
 30 as to form an angle of forty five degrees with the horizon,
 will, upon being fired, throw a twelve pound shot, seventy
 five yards at the least.
     Sect. 5. Be it further enacted. That whenever any of
 said Inspectors, shall discover any gun-powder, deposited
 at any publick powder magazine, or any other place ^vithin
 this Commonwealth, which is not well manufactured, or
 which is composed of impure materials, or of an improper
 proportion of materials, and which shall not be of the proof
 herein before mentioned, the inspector in such case shall po^.ae,!\y X^
 jTiiU'k each cask containing such impure ill manufactured or markca.
                                                          deficieut
                                  Add. 38
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 446             GUN-POWDER.                                 March       1,   An. 1809.

                 deficient      gun-powder, with the word " Condemned" on
                    both heads of the cask, and with the same words on the
                     side thereof, with the christian and sur-name of the in-
                     spector on one head of the cask.
                        Sect. 6. Be it further enacted, That if any person
                     shall knowingly sell any condemned gun powder as, and
                    for, good gun-powder, or shall fraudulently alter, or deface
                     any mark, or marks, placed by any Inspector upon any
                     cask or casks containing gun-powder, or shall fraudulently
                     put any gun-powder, which shall not have been inspected,
                     or wliich has been condemned, into any cask or casks, which
                     shall have been marked by any Inspector, agreeably to the
                    provisions contained in the third section of this act, every
                     such person so offending shall forfeit and pay not less than
     p.              two hundred, nor more than five hundred dollars, for each
                    and every offence, to be recovered in an action of debt in
                     any Court of competent jurisdiction ; one half to the use of
                     the Commonwealth, the other half to the use of him or
                     them, who shall sue, and prosecute for the same.
                        Sect. 7. Be it further enacted. That each Inspector
                    who may be appointed by virtue of this act, shall before he
     Inspector to be acts as Inspector, be sworn to the faithful and impartial dis-
     swovn.
                     chcirge of the duties of his office, and each inspector shall
                     be allowed one cent for each pound of gun-powder by him
                     examined, irjspected, and proved, whether the same be by
                    him approved or condemned, to be paid by the owner or own-
                     ers of the gun-powder.
                        Sect. 8. Be it further enacted. That if any manufac-
                     turer of gun-powder shall sell or dispose of, or shall cause
                    or permit to be sold or disposed of, or shall export, or cause
                    to be''exported without the limits of this Commonwealth,
                    any powder of his manufacture, before the same has been
                    inspected, and marked agreeably to the provisions of this
                     act, he shall forfeit and pay the sum of fifty cents for every
      *              pound of powder so sold, disposed of, or exported, to be re-
                    covered in the manner provided in the sixth section of this
                 act.
                    Sect.    ^.   Be   it   further enacted. That   if    any person
     Fines.      within this CommonAvealdi, after tlie first day of July next
                 shall knowingly sell, expose, or offer for sale within this
                 Commonwealth any gun-poA^der which is not well manu-
 ^
                 fi.ctur d, or wiiich is composed of impure materials, and
                 which shall not be of the proof herein before required, shall
                 fori'eit and pay not less than fi\'e dollai's, nor more than fifty

                 dollars ;   for each and every offence, to be recovered in the
                 manner provided in the sixth section of this act.
                                         Add.
                                 [Tills act    39 March 1, 1809.]
                                            passed                        CHAP.
e: 22-1478   Document: 00117970404              Page: 105            Date Filed: 01/31/2023   Entry ID: 654




                                              LAWS
                                                       OF THE




                   Conmnon3eald) of Ma0000tt
                         PASSED BY THE GENERAL COURT,

                    Al' 'IIIH   SESSION, WIIICI COMMENCEI) ON AV'TEDNESDAY 'IIE 12th

                           DAY OF JANU'IVY, ANI) WHiCh             ENI)EI) ON SMONDAY

                                       'IIE 28th DAY OF FII]RUAIIy, 1814.




                                PIublished agrecably to a Resolve of l6th January, 1812.




                                                    BOSTION):

                                   PIhNTE) lV RUSSEIL,, CUTlIt.ll,        AND Co.

                                                        1814.




                                                    Add. 40
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               464             COMMONWEALTH FIRE ARMS.                        Feb. 28, 1814.

               Town incor.     county of Essex, by the name of Lynnfield," be, and the
               porated.        same hereby is incorporated into a town, by the name of
                               Lynnfield, with all the powers& privileges, and immunities,
                               and liable to all the duties and requisitions of other towns
                               in this Commonwealth.
                                  [Approved by the Governor, February 28, 1814.]


                                                     CHAP. CXCII.
                               An Act in addition to an act, entitled "An act to provide
                                 for the proof of Fire Arms, nbtnufactured within this
                                 Commonwealth."

                            SEC. 1. BE it enacted by the Senate and Iouse of
                         Representatives, in General Court assembled, and by the
                         authority of the same, That from and after the passing of
                         this act, all musket barrels and pistol barrels, manufactured
                         within this Commonwealth, shall, before the same shall be
                         sold, and before the same shall be stocked, be proved by
                         the person appointed according to the provisions of an act,
                         entitled "An act to provide for the proof of Fire Arms,
                         manufactured within this Commonwealth," to which this
               Manner of is an addition, in manner following, viz : with a charge of
               proving.        powder equal in weight to the ball which fits the bore of
                               the barrel to be proved; and the powder used in such proof
                               one ounce thereof in a howitzer of four and a half inch
                               caliber, at an elevation of forty-five degrees, shall be of
                               sufficient power to carry a twelve pound shot one hundred
                               and thirty yards; or one ounce thereof in a howitzer of
                               five and a half inch caliber, at an elevation of forty-five de-
                               grees, shall be sufficient to carry a twenty-four pound shot
                               eighty yards, and the ball used in such proof shall be suit.
                               ed to the bore of the barrel to be proved as aforesaid.
                                  SEC. 2. Be it further enacted, That if any person or
                               persons, from and after the passing of this act, shall man-
                               ufacture, within this Commonwealth, any musket or pis-
               Restrictions.   tol, or shall sell and deliver, or shall knowingly purchase
                               any musket or pistol, without having the barrels first prov-
                               eci according to the provisions of the first section of this
                               act, marked and stamped according the provisions of the
                               first section of the act to which this is an addition; or if




                                                     Add. 41
e: 22-1478   Document: 00117970404          Page: 107        Date Filed: 01/31/2023         Entry ID: 654




                LYNN MECHANICKS BANK.                         -Peb. 28, 1814..       465

                any person or persons shall sell, stock or finish, or shall
                knowingly purchase any musket barrel or pistol barrel
                manufactured within this Commonwealth, which shall not
                have been first proved, marked and stamped according to
                the provisions aforesaid, the person or persons who shall
                so manufacture, sell and deliver, or knowingly purchase
                any musket or pistol without causing the same to be first
                proved, marked and stamped as aforesaid, and the person
                or persons who shall sell, stock or finish, or shall know.
                ingly purchase any.musket barrel or pistol barrel, which
                shall not have been pi-oved, marked and stamped as afore. Fdrfeitures.
                said, shall severally forfeit the sum of ten dollars, to be
                recovered by an action of debt before an:y court proper to
                try the same, by any person who shall sue for and recover
                the same, to his own use : Provided however, That the Proviso.
                foregoing provisions and penalties shall not extend to any
                muskets or pistols, or musket or pistol barrels, manufac-
                tured in any armoury of the United States, for their use,
                or in execution of any contract made or to be made with
                the United States, for the manufacture of fire arms.
                   SEc. 3. Be it further enacted, That the second and
                third sections of the act to which this is in addition, and Sections  re-
                also  so much  of the  first section thereof as prescribes the peted.
                mode oi proving musket barrels and pistol barrels, and the
                power of the powdei to be used in such proof, be, and
                the same are hereby repealed.
                    [Approved by the Governor, February 28, 1814.]


                                      CHAP. CXCIII.
                 An Act to incorporate The President, Directors and Com.
                           pany of the Lynn Mechanicks Batk.

                   SEC. 1. BE it enacted by the Senate and Ifouse of
                 Representatives, in General Court assembled, and by the
                 authority of' the same, That Daniel Silsbe, Joseph Fuller
                 the third, John D. Atwell, Thomas Rich, Samuel Brimble. Persons in.
                 cum, Micajah Burrill, Parker Mudge, Oliver Fuller, Jol. orporated.
                 athan Conner, John Alley, jr. Stephen Oliver, John
                 Mudge, and Jonathan Bachellor, their associates, succes-
                 sors, and assigns shall be, and hereby are created a Cor-




                                               Add. 42
                                                                                                    ;




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  212                                        1882.      — Chapters        268, 269.

  Chap. 268 An Act to provide fok thk courection of omissions                                      in
                        THE REGISTRATION OF VOTERS.
                        Be   it   enacted^ etc., as follows:
  Name on      voting                             any city or town whose name was
                             If a qualified voter of
  list   the preced-
  ing year, if          on the voting       of such city or town for the preceding
                                               list
  omitted by mis-
  talse the current
                        year, who has been assessed for a poll tax for the current
  year, may be          year, and who has paid a state or county tax assessed
  placed on list
  by order of           upon him for the preceding or current year, finds after the
  asseBsors.
                        close of registration that his name is not placed on the
                        voting list of the current year by reason of the same being
                        omitted by clerical error or mistake from the list of polls
                        as assessed and transmitted by the board of assessors to
                        the board charged with the preparation of the voting list,
                        the board of assessors shall, upon the personal application
                        of such voter, correct such omission or mistake, and give
                        to him a certificate of such correction, to be presented by
                        him in person to the board charged with the preparation
                        of the voting list, who shall, on the receipt thereof, place
                        the name of such voter on the voting list of the precinct,
                        ward or town in Which he was entitled to be registered
  Certificate to be     or if application is made on the day of election the said
  issued if appli-
  cation   is   made    board last mentioned shall give to such voter a certificate,
  on the day of
  election.
                        on presentation of which to the election officers of his
                        precinct, ward or town he shall be allowed to vote therein                  ;


                        and such certificate shall be returned and preserved in
                        like manner as the ballots cast in such precinct, ward or
                        town.                                         Approved   May   26, 1SS2.

  Chap. 269 An Act to provide for notice of the place of storage
                OF GUNPOWDER AND OTHER EXPLOSIVE COMPOUNDS.
                        Be   it   enacted,   etc.,    as follows:

  Notice to be               Section      1.     Any      person    who   shall hereafter store    or
  given to chief
  engineer of lire      keep for sale gunpowder or any other explosive compound
  department, of
  place of storage
                        above the quantity of one pound in any building in any
  of explosive          city or town of this Commonwealth shall, immediately on
  compounds.
                        the receipt of such gunpowder or other explosive com-
                        pound, deliver to the chief engineer of the fire department
  Special provis-       of such city or town, except in Boston, and in Boston to
  ion applicable
  to Boston.            the board of fire commissioners, a statement in writing of
                        the amount of such gvinpowder or other explosive com-
                        pound kept, or proposed to be kept, together with a de-
                        scription of the building and part of the building in which
                        the same is k('])t, or proposed to be ke[)t, siitliciently accu-
                        rate for identification   and no person shall liitore or keep
                                                          ;


                        fov sale gunpowder or any other explosive compound in




                                                        Add. 43
                                              :




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                                 1882.   — Chapter      270.                                 213

   any other place provided^ that in any town where there
                            :


   isno fire department such statement shall be delivered to
   one of the fire wards in such town.
     Section 2. Any person violating any of the provisions                       Penalty.

   of this act shall be punished by a fine not exceeding one
   hundred dollars.
     Section 8. This act shall take effect upon its passage.
                                                   Approved    May   26, 1882.

              An Act     for the better protection of children.                  Chap.210
    Be   it   enacted,   etc.,   as follows
     Section 1. Whoever, being the parent of a child less                        Penalty on par-
                                                                                 ent for aban-
   than two years old, abandons it within or without any                         donment of
                                                                                 child less than
   building in this Commonwealth, or, having made a con-                         two years   old.
    tract or provision for the board or maintenance of such
    child, absconds or fails to perform any such contract or
    provision, and for a period of four weeks after such ab-
    sconding or failure neither visits nor removes such child,
    nor during said period notifies the overseers of the poor of
    the city or town where such parent resides of his or her
    inability to support such child, shall be punished by im-
    prisonment, if a man, in the house of correction, and if a
    woman   in the reformatory prison for women not exceeding
    two years, or, in case death shall result from such abandon-
    ment, not exceeding five years but this act shall not
                                                    ;



    apply to cases in which the omission to visit, remove or
    support such child, or to give such notice, arises from
    physical or mental disability.
      Section 2. Every person who knowingly and with                             Penalty for
                                                                                 aiding or abet-
    wrongful intent aids or abets the abandonment of any                         ting.

    such child, as set forth in the preceding section, shall be
    punished by a fine not exceeding one hundred dollars or
    by imprisonment not exceeding two years in the house of
    correction.
      Section 3. Every person who receives for board a                           Person receiv-
                                                                                 ing for board an
    child under the age of one year, knowing or having reason                    Illegitimate
                                                                                 child under age
    to believe it to be illegitimate, shall forthwith notify the                 of one year to
    overseers of the poor of the city or town in which he                        notify overseers
                                                                                 of the poor.
    resides of the fact of such reception, and, if requested by
    such overseers, shall alho so notify the state board of
    health, lunacy and charity.     The parent or parents of
    such child shall, when called upon by said board, or such
    overseers, give to said board or such overseers satisfactory
    security for the maintenance of such child.    The parents
    of such children shall, when called upon, give true answers




                                                  Add. 44
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                    1884.         — CiiAPTEES                76, 77, 78.                                                      57

  striictiues thereon              and otherwise improve the same as                                  may
  be deemed expedient.
        Section
              5.  The power conferred by this act shall i^^t ^°J/[^X^her.
  l>eexercised except in furtherance of the objects and pur- anceof pur-
  poses for which said corporation is organized.             orgainzud.

    Section 6. This act shall take efiect upon its passage.
                                 Approved March 12, 1884.

  An Act to        pkohibit the sale of firearms and other danger- (JJiap.                                                    76
                          ous weapons to minors.
  Be    it   enacted,   etc.,    as follows:

    Section 1. No person shall sell or furnish to a minor
                                    1                                                        .        -
                                                                                                                  Dangerous
                                                                                                                  weapons not   to
             ~ of tifteen years, any firearms or other dan-
  under the ace                                                                                                   be furnished to
                                                                                                                  minors under
                         T    .\        .        ,  ^    '                                            I

  gerous weapon provided, that instructors and teacners
                                            -t                J.               J.                t-

                             :                                                                                    fifteen.

  may furnish military weapons   to pupils for instruction and
  drill.
                                                                                                                  Penalty.
        Section         2.       Whoever
                              violates the provisions of this
  act shall ior each offence be punished by fine not less than
  ten nor more than fifty dollars.
                                                                                                                  i^^peai.
        Section      All acts and parts of acts inconsistent
                        3.
  herewith are hereby repealed ; but such repeal shall not
  affect any prosecutions or suits now begun, nor prevent
  the institution of any suit, prosecution or proceedings to
  enforce penalties and liabilities already incurred under ex-
  isting laws.                      Approved March 12, 1884.

  An Act to authorize the boston young women's     christian (JJiap.                                                          77
   ASSOCIATION TO HOLD ADDITIONAL REAL AND PERSONAL ESTATE.
  Be    it   enacted,    etc.,   as follows:

        Section         1.                         Christian May hold
                                 The Boston Young Women's    ailf'it'onalreal
                                            1        T        r^       1   1        1    1                    I

  Association is hereby authorized to hold real and personal and personal
                                                             '"' ''^^'
  estate, for the purposes set forth in its charter, to an
  amount not exceeding four hundred thousand dollars
  in value.
     Section 2. This act shall take effect upon its passage.
                                                 xipproved March 12, 1884.

  An Act to provide for the appointment of trustees by QJiap, 78
             CHURCHES OR RELIGIOUS SOCIETIES                      IN       CERTAIN CASES.
  Be    it   enacted,    etc.,   as follows:

        Section    Churches or religious
                        1.          o     societies may ap-                                                       Trustees may
                                                            11.                                  1        1
                                                                                                                  be appointed by
  pomt trustees, not exceeding five in number, wtio snail                                                         chunhesaud
  with their successors be a body corporate, for the purposes                                                     boJiIum.


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                      ACTS AMENDATORY

                                             01 THE




          CODES OF CALIFORNIA,
                                         PASSED AT TIlE




                     TWENTY-SECOND SESSION OF THE LEGISLATURE,



                                         i877 -8.


          BEGAN ON MONDAY, DECE:MBER THIRD, EIGHTEEN              HUNDRED AND SEVENTY-
                 SEVEN, AND ENI)ED ON MONDAY, APRIL               FIRST, EIGHTFEN
                             HUNDRED       AND    SEVENTY-EIGHT.




                                      SAN FRANCISCO:
                   A. L. BANCROFT & COMPANY,
                         LAW BOOK PUBLIhlhERS, BOOKSELLERS AND STATIONERS,

                                               1878.




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                             TWENTY-SECOND SESSION.

          or substances, or who sells or keeps for sale any candy or
          candies adulterated with terra alba or any other deleterious
          substance or substances, is guilty of a misdemeanor.
            Sic. 2. This Act shall take efbect from and after its pas-
          sage.



          CHAP.  CCXCIX.-An Act amendibg section four hundred and
           fifteen  of the Penal Code, in relation to crimes agaivst the
           putblic pcace.     [Approved  Much 20, 1878.]

          The People oJ the State of California,represented in Senate and
                          Assembly, do enact as follows:
            SECTION 1. Section four hundred and fifteen of the Penal
          Code of this State is hereby amended so as to read as follows:
            415. Every person who maliciously and willfully dis- Iturilig
          turbs the peace or quiet of any neighborhood or person, by e la.
          loud or unusual noise, or by tumultuous or offensive con-
          duct, or threatening, traducing, ( uarreling, challenging to
          fight, or fighting, or who, on the public streets of any unincor-
          porated town, or upon the public highways in such unincor-
          porated town, run any horse race, either for a wager or for
          anusement, or fire any gun or1pistol in such unincorporated
          town, or use any vulgar, profane, or indecent language.
          within the presence or hearing of women or children, in a
          loud and boisterous manner, is guilty of a misdemeanor,
          and upon conviction by any Court of competent jurisdiction
          shall be punished by fine not exceeding two hundred dollars,
          or by inI)risonlnent in the County Jail for not more than
          ninety days, or by both line and iml)risonment, or either, at
          the discretion of the Court.
            Si~c. 2. This Act shall be in force from and after its pas-
          sage.



                  ChAP.   XVIII.-An Act to amend the Penal Code.
                               [Approved January 19, 1878.]
          The People qf the State of California,?eprescntcd in Senate and
                          Assembly, do enact as jollows:
            SEc'rIox 1. The following is added as a new section to
          the Penal Code, and must be inserted in said Code after sec-
          tion four lundred and nineteen, and designated as section
          four hundred and twenty, as follows:
            420. Any person who, in the presence or hearing of .ii,g
          twenty-five or more persons, slall utter any language with ,iotA.
          intent either to incite a riot at the present or in the future,
          or any act or acts of criminal violence against person or
          property, or who shall suggest, or advise, or encourage any


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                                   May Session, 1832,                                  S91

               shall not be construed to apply or extend to any vessel ar. Limitation o
               riving or coming from any fbreign port, or place, or from former act.
               any port or place in the United States, south ofthe Capes of
               the Delaware, which shall have entered any port or place in
               the Unifl-lStates, north ofthe said Capes of the Delaware,
               where to re are quarantine regulations, and have been vis.
               ited by a health ofticer, received a clean bill of health, and
               shall have been permitted to go to the wharves and unload
               thereat.
                  Provided, such clean bill of health, or a certified copy Proviso,
               thereof, shall be left with the collector of the port within
               twenty.four hours after the arrival of such vessel.
                                             MARTIN WELLES,
                               Speaker of the Ilouse of Representatives.
                                             TIADDIEUS        EYPTS,
                                                  President of the Senate.
                  May 31st, 1832-Approved.
                                                     ,JOIN S. PETERS



                                    CHAP. XXV.

               An Act r'egulating the mode of keeping o1
                               Gun Powder.
                          IJE    it enacted by the Senate and House o1 Rep. Order for re.
                          .1. resentatives, in General Assembly convened, moval of gun-
               'Tihat hereafter it shall be lawful for the solect.men of each powder.
               and every town within this State, or a majority of them, bv
               their order, in wriling, directed to the owners or persons ha-
               ving charge of the same, to cause to be removed to stnic
               safe and convenient place within said town, and within such
               time, as in said order may be prescribed, tny quantity of gun
               powder so deposited or kept, within the limits of said town,
               as in the opinion ofsaid select.men,or a majority of themn,mnay
               endanger the persons or dwellings of any individuals what.
               soever. Whereupon it shall becor'ae the duty of the persons Duty of pen.
               thus notified, to remove the said gun powder within the time, sons notified.
                and to the place specilied in said order.
                   Snuc. 2. That in case the said gun powder shall not be re. Authority of
                moved pursuant to said order, as is hereinbefore prescribed, occtoin to
                the said select-men, or a majority of them, may remove or remove.
                cause the same to be removed to such place within said town,
                as in their opinion shall be dIcemed safe and convenient.
                And they shall have and retain a lien upon the said powtled    Lien.
                for all necessary expenses in removing and keeping the
                Salne.
                   Src. ,3.That those persons who may hereafler wish to




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         j 92                                May Session, 1832.

         Placen of'depo.   deposit, or iccep, within the limits of any town in this State,
         ite for gun.      gunpowder in quantlity exceeding fifty pounds, may require
         powdor, how       thi seect.mcn of such town, or at majority of them to do.
         designated.       signate snomc salo and convenient place for that purpose ;
                           and it shall thereupon become the duty of such sflectmen,
                           or a majority of them, in writing, to designate and appoint
                           a suitable place within their respective towns, for such pur.
                           pose ; at which place, thus designated, it shall be lawful
                           thenceforth to deposit and keep gunpowder according to lhe
                           true intent and meaning of this Act, until the select.men of
                           said town, or a majority of thcm, for the time bding, shall or.
                           tier the same to be removed pursuant to the foregoing pro.
                           visions of this Act.
         Penalty.             S.c. 4. That it' any person shall violate the provisions
                           of this act as hereinbefore specified, lie shall forfeit the
                           sum of fifty dollars, one half thereof to the treasury of the
                           town within which the ofFence is committed, and the other
                           half to the person who may sue for and redover the same,
                           in an action of debt.
         Vroviso.             Provided, if any person shall consider hinisdilf aggrieved
                           by the doings of tlhe select.men, he may petition the next
                           county court, which may grant thie proper relief.
                                                        MARTIN W INVLLES,
                                              Speaker of the 1l[ouse of llepresentativbsi
                                                        'lIADDEUS BEI1rl'S,
                                                              President of the Senhte.
                               May 30th, 1832--Approved.
                                                                 JOHN S. PIETERS.


                                                CIIAP. XXVI.

                           An Act in addition to an Act entitled " An Act
                              to regulate the Inspection of Provisions."
         Hundred of        ]BE it enacted by 17ib Senate and House of Representatives
         staves and        -IIin     General Assembly convened, That in all sales of
         hoops.            staves or hoops which shall be made subsequently to the
                           first day of July next, one hundred staves, and not the num.
                           her of one hundred and twenty, and one hundred hoops, and
                           not the number of one hundred and twenty, shall constitute
                           the hundred of each of said articles ; and the aliquot parts
                           of a hundred shall be reckoned accordingly ; any law, usage
                           or custom to the contrary notwithstanding.
                                                       MARTIN WELLES,
                                            Speaker of the House of Representatives.
                                                        THADDEUS BETTS,
                                                              President of the Senate.
                               May 31st, 1832-Approved.
                                                               JOHN S. PETERS.




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                 ACTS AND RESOLUTIONS

                                   OF     THE




                     GENERAL ASSEMBLY


                                    OF THE




          STATE OF GEORGIA.
                               1882 -88.




             COMPILED AND PUBLISHED BY AUTHORITY.




                               ATLANTA, GA.:
                       JAS. R. HARRISON   &     CO., PRINTERS
                                     1883*




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                               PART       .- TITLE X.- MISCELLANEOUS.                                      13,
            Giving to Owners or Keepers of Stallions, Jacks and Bulls a Lien on the get of the same-Etc.


        CIVING TO THE OWNERS OR KEEPERS OF STALLIONS, JACKS AND
                 BULLS A LIEN ON THE GET OF THE SAME.

                                                No. 352.

        An Act giving to owners or keepers of stallions, jacks and bulls a
         lien upon the get of such stallion, jack or bull, and providing for
         the enforcement thereof.

           SEcTIoN 1. Be it enacted by the General Assembly of the State of Georgia, Lien of
        That from and after the passage of this Act, the owner or keeper ofkee or
        any stallion, jack or blooded or imported bull in this State shall good            for
                                                                                     twelve
        have a lien upon the get thereof for the service of such stallion, jack or months sn
        blooded or imported bull for the period of one year from the birth si " 't
        of such get, which lien shall be superior to all other liens, except of same
        liens for taxes; provided, the fee for such service is not paid within
        said time; provided, the lien herein provided for shall not become
        operative unless the same be recorded in the office of the clerk of
        the superior court of the county wherein the owner of the mother
        resides within thirty days after the performance of the service, and
        said clerks shall keep a book in which all such liens are to be re-
        corded, and said clerks shall receive twenty-five cents each for
        recording such liens.
           SEC. II. Be it further enacted, That the liens providcd for in the        Liens, how
                                                                                 in enforced.
        preceding section shall be enforced in the manner prescribed
        section 1991 of the Code of 1882 of this State, providing for the
        enforcement of liens on personal property.
           SEC. III. Be it further. enacted, That all laws and parts of laws in
        conflict with this Act be, and the same are hereby repealed.
           Approved September 26, 1883.


        TO PREVENT DISCHARGE OF FIRE-ARMS ON AND NEAR PUBLIC
                             HIGHWAYS.

                                               No. 378.

        An Act to prevent the discharge of fire-arms on the public high-
         ways of this State and within fifty yards of the same; to make
         such an act a misdemeanor, and prescribe a punishment therefor.

          SECTION I. Be ft enacted by the General Assembly of the St de of Geor- Discharge
        gia, and it is hereby enacted by authority of the same, That from and after ohen a
        the passage of this Act, it shall be unlawful for any person between whr un-
        dark and daylight willfully and wantonly to fire off or discharge
        any loaded gun or pistol on any of the public highways in this
        State, and within fifty yards of any such public highway, except in
        defense of person or property or on his own premises.


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                                    OF THE




                STATE OF MAINE;

                           TO WHICH ARE PREFIXED




                                      THE




                   CONSTITUTION OF THE U. STATES



                           AND OF SAID STATE,




                      WITH AN APPENDIX.




                               HALLOWELL:
                      PUBLISHED BY CALVIN SPAULDING.

                                     1822.

                        GOOIDALE,GLAZIER   &   CO.-PRINTERS.




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           9S8                                       FIRE ....
                                                            GUN POWDER.

                             cial Court, to parties and witnesses, as are allowed in the
                             regular Courts of law; and that the said two Justices, quo-
                             rui unus, shall have the same fees, and be allowed the same
                             sums for the trial aforesaid, as are allowed to Justices in the
                             process of forcible entry and detainer.
                                               [Approved March 8, 1821.1
                                                     --- :oo:-
                                                      CHAPTER XXV.
                             An Act for the prevention of damage by Fire, and the safe keeping of Gun
                                                             Powder.
           Selectmen to         SEC.       BE      it enacted by the Senate and House of Repre-
            nomas  to e      sentativ            glure     assembled, That the Selectmen of each
           keeping of gun               einLgs
           p.wder in cnytown within       this State, containing not less than fifteen hundred
             "ai"n
               towns    inhabitants,      be, and they hereby are, authorized and empow-
                             ered to make rules and regulations, from time to time, in con-
                             formity with which, all gun powder which is or may be with-
                             in such town, shall be kept, had or possessed therein; and no
                             person or persons shall have, keep or possess within such
                             town, any gun powder, in any quantity, manner, form or
                             mode, other than may be prescribed by the rules and regu-
                             lations aforesaid.
           Pnahlty for ,.      SEC. 2.   Be it further enacted, That any person or per-
           oulatig oaen.     sons who shall keep, have or possess any gun powder, within
                             any town, contrary to the rules and regulations which shall
                             be established by the Selectmen of such town, according to
                             the provisions of this Act, shall forfeit and pay a fine of not
                             less than twenty dollars, and not exceeding one hundred dol-
           Mode of re-       lars, for each and every offence, to be recovered by action of
           covery.           debt in any Court proper to try the same.
           Powder hept .       SEC. 3. Be it further enacted, That all gun powder which
           uos.Irasy tore;   shall be had, kept or possessed, within any town, contrary to
           seized and li.    the rules and regulations which shall be established by the
           belled.           Selectmen of such town, according to the provisions of this
                             Act, may be seized by any one or more of the Selectmen of
                  on such town, and shall within twenty days next after the seizure
           Prcoceedings
           oucl libel.thereof,          be libelled, by filing with any Justice of the Peace
                             in such town, a libel, stating the time, place and cause of seiz-
                             ure, and the time and place when and where trial shall be had
                             before said Justice, and a copy of said libel shall be served
                             by the Sheriff, or his deputy, on the person or persons, in
                             whose possession the said gun powder shall have been seized,
                             by delivering a copy thereof to each such person, or leaving
                    -        such copy at his or her usual place of abode, seven days at
                             least, before the time which shall be specified in said libel,
                             for the trial thereof, that such person may appear, and show
                             cause why the gun powder, so seized or taken, should not be
                             adjudged forfeit; and if any person shall appear to show
                             cause why the same should not be adjudged forfeit, such ap.



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                                FIRE....GUN POWDER.                           -0
          pearance shall be entered on record, by said Justice; and
          if the gun powder, seized as aforesaid, shall be adjudged for-
          feit, the person or persons, whose appearance shall have been
          recorded as aforesaid, shall pay all costs of prosecution, and
          execution shall issue therefor: Provided hozuever, That the
          person or persons, whose appearance shall have been record,
          ed, may appeal from the judgment rendered by said Justice .pea rrm
          of the Peace, to the next Court of Common Pleas to be holden "sIce'n    jud
          for the County where such town is situated; and the party
          so appealing, before such appeal shall be allowed, shall re-
          cognize, with sufficient surety or sureties to the libellant, to
          prosecute his said appeal and to pay all such costs as may
          arise after said appeal; and no further proceedings shall be
          had upon the judgment appealed from; and in case the
          party appealing shall neglect to enter his appeal, the Court after proced.
          appealed to, may, upon complaint, proceed to affirm the
          judgment of the Justice, with additional costs.
             SEc. 4. Be it further enacted, That any person who shall Persons    dam.
                                                                           agd y exp)10
          suffer injury by the explosion of any gun powder, had or oa powe
          possessed, or being within any town, contrary to the rules and       ,, k
          regulations which shall be established in such town, accord- dress.
          ing to the provisions of this Act, may have an action of the
          case in any Court proper to try the same, against the owner
          or owners of such gun powder, or against any other person
          or persons, who may have had the possession or custody of
          such gun powder, at the time of the explosion thereof, to re-
          cover reasonable damages for the injury sustained.
             Src. 5.     Be it further enacted, That it shall, and may be Selectmen   may
           lawful for any one or more of the Selectmen of any town to enter     bninns
                                                                          to search for
           enter any building, or other place, in such town, to search powier.
           for gun powder, which they may have reason to suppose to
           be concealed or kept, contrary to the rules and regulations
           which shall be established in such town, according to the
           provisions of this Act, first having obtained a search warrant
           therefor according to law.
               SEc. 6. Be it further enacted, That when any stove, chim- Penalty for sus.
           ney or stove pipe, within any town containing not less than ,"'',1vs
           fifteen hundred inhabitants, shall be defective, or out of re-sgei o
           pair, or so constructed or placed, that any building, or other &e.
           property shall be in danger of fire therefrom, the Selectmen
           of said town shall give notice, in writing, to the possessor or
           possessors of such stove, chimney or stove pipe, to remove
           or repair the same; and if such possessor shall for the term
           of six days after the giving of such notice, unnecessarily neg-
           lect to remove, or effectually repair such stove, chimney or
           stove pipe, such possessor shall, for each and every oach
           neglect, forfeit and pay a fine of not less than ten dollars,
           nor more than fifty dollars, to be recovered by action of the Action of    oasr.
           case, in any Court proper to try the same.
             SEC     t   Be it further enacted, That the fines, forfeitureu




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           .100                            CRACKERSp &c.-FIRE ENCINES.

            ^fgg~islon and penalties, which shall arise under this Act, shall accrue,
                          one moiety thereof to the use of the town within which the
                          offence shall be committed, and the other moiety to the use
                          of the person who shall prosecute or sue for the same.
           Above regula.     SEc. 8. Be it further enacted, That the rules and regula-
           tions,not to be        hihsalt
           In norce till  tions, wlicl shall be established in any town, according to
             eublhedt by the provisions of this Act, shall be of no force or effect, until
                           such rules and regulations, together with this Act, shall have
                           been published by the Selectmen of such town, three weeks
                           successively, by printing in some newspaper printed within
                           the County, or by posting up attested copies in three sev-
                           eral public places in said town.
                                            [Approved March 19, 1821.]
                                                        -:oo:-
                                                   CHAPTER XXVI.
                            An Act to prevent damage from firing Crackers, Squibs, Serpents and
                                                  Rockets, within this State.

                                       BE it enacted by the Senate and House of Represent-
           Caers'.ao       atives, in Legislature assembled, That if any person shall offer
           o befired ivith. for sale, set fire to, or throw any lighted cracker, squib,
           outlicense.      rocket or serpent within this  State, without the'license of the
                           Selectmen of the several towns, respectively, first obtained
                           therefor, he shall forfeit, for every such offence, the sum of
           Punishment.     five dollars; one moiety to the use of the poor of that town,
                           in which the offence shall be committed, and the other moie,
                              to the       of the prosecutor;
                                      useinformation          to be recovered by action of
                           t ebt, or by               before any Justice of the Peace of
                           the County, in which the offence shall be committed, with
                           the costs of suit.
                                              [Approved Feb. 20, 1821.]


                                                  CHAPTER XXVII,
                              An Act more effectually to secure Fire Engines from being injured.

                                       BE      it enacted by the Senate and House of Repre-
          1er.ons   won.   sentatives, in Legislature assembled, That if any person shall
             "liJ,'
           ireengines,   9gder
                           wantonly
                                useless,or any  engine, spoil, break, injure, damage or ren-
                                           maliciously,
                                                   or any of the apparatus thereto be-
                           longing, prepared by any town, society, person or persons,
                           for the extinguishment of fire, and shall be convicted thereof,
           punishedon      before the Supreme Judicial Court, he shall be punished by a
           . J.Court.'     fine not exceeding five hundred dollars, or by imprisonment,
                           not exceeding two years, at the discretion of the Court; and
                           be further ordered to recognize, with sufficient surety or
                           sureties, for his good behaviour for such term as the Court
                           shall order.
                                             [Approved March 2, 181.]



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           5-16                                  FIRE ARMS.-PAPER.

                                                  CHAPTER CLXII.
                                         An Act to provide for the proof of Fire Arms.

                              SEc. 1.        E it enacted by the Senate and House of Repr-
            overnortoap.   sentatives, in Legislatureassembled, That the Governor, by and
          ou      b     . with the consent of the Council, be, and he hereby is empow-
                           ered to appoint suitable persons, to he provers of the barrels
                          of all new, or unused fire arms; and it shall be the duty of
                           each person so appointed, to prove and try the strength of
                          the barrels of all fire arms which shall be offered him for that
                          purpose, in such manner as to satisfy himself of the strength
                          of the same; and shall in a permanent manner, mark and num-
            ired aideer.ber every barrel hy him so proved, and make, and deliver to
          tileateiven. the person applying to have the same proved, a certificate
                                                                                           for
                          each barrel proved, and found good in the form following:
                              I certify that on this     day of         A. D. 18      1proved
                          for       , a musket, pistol, or rifle barrel, (as the case may be,)
                          and which is numbered and marked as in the margin, and
                          that the same is good and strong.                    I
                                                               A. B. Prover of fire arms.
          Prover's es.       SEc. 2. Be it further enacted, That each prover shall be
                          entitled to receive from the person applying to have such
                          barrel proved, twenty-five cents, in addition to the expense of
                          the powder necessary for that purpose for each barrel so
                          proved; whether the same shall stand the proof and be
                          marked or not.
          Penalty for        SEC. 3. Be it further enacted, That if any person shall
           u"ling gun% or sell or offer for sale within this State, any new, or unused
          pistol'. Inet
          Iirvd nd        musket, rifle or pistol barrel, without having the same first
          larke.O         proved, marked and certified according to the provisions of
                          this Act, he shall forfeit for each barrel so sold, the sum of
                          ten dollars, to be recovered by an action of debt before any
          How recovered. Court proper to try the same ; to the use of any person
                                                                                          who
                          shall sue for and recover the same, or by indictment to the
                          use of the State.
          Pemaliv for        SEC. 4. Be it further enacted, That if any person shall
              rI           falsely alter the stamp or mark or the certificate.of any prov-
                           er of fire arms, appointed as aforesaid, and be convicted
                           thereof before any Court proper to try the same, he shall
                           forfeit and pay a line of not more than one hundred dollars,
                           nor less than twenty dollars, according to the nature and ag-
                           gravation of the offence, for the use of the State.
                                           [Approved March 10, 1821.]


                                                  CHAPTER CLXIII.
                            An Act regulating the packing and selling of Paper within this State.

                             SEc. 1.   BE    it enacted by the Senate and House of Repre-
             or    u"ue sentatives,    in Legislature assembled, That all paper, excepting



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                       PUBLIC ACTS
                                     AND




               JOINT AND CONCURRENT RESOLUTIONS
                                      OF'




       THE LEGISLATURE
                                    OF   THE




                 STATE        OF MICHIGAN,
                                 PASSED AT THE




             REGULAR            SESSION            OF 1875,

                              WITH AN APPENDIX.




                              BY AUTHORITY.




                               LANSING.
             W. S. GEORGE & CO., STATE PRINTERS AND BINDERS.
                                    1875.

                                   Add. 57
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         136                          LAWS OF MICHIGAN.                                  [1870.
                        erection or construction of said State house of correction or the
                        furnishing of labor or materials for the same.
          Commissioners    SEC. 12. Said board of commissioners are hereby authorized at
           enera fn fany     time to draw from the general fund of the State Treasury
         immediateuse, such amounts of money within the appropriation made by this
                        act, as they shall deem necessary for the immediate commencement
                        and carrying on of the erection of said State house of correction.
                        The amounts so drawn shall be considered as an advance to the
                        said State house of correction upon the appropriation made by
         Reimbursement. this act, and such amounts shall be deducted from said State
                        house of correction fund and returned to the general fund when
                        such appropriation shall have been collected and paid into the
                        State Treasury.
                           SEc. 13. This act shall take immediate effect.
                           Approved April 22, 1875.


                                                        [No. 97.]
                          AN ACT to prevent the setting of guns and other dangerous
                                                          devices.
         seting or a         SECTION 1. The People of the State of Michigan enact, That
         deenndwe ais' if any person shall set any spring or other gun, or any trap or de-
         demeanor.        vice operating by the firing or explosion of gunpowder or any
                          other explosive, and shall leave or permit the same to be left, except
                          in the immediate presence of some competent person, he shall be
         Killing otperson deemed to have committed a misdemeanor; and the killing of any
         by      so sun
                    set
         deemoaman-       person by the firing of a gun or device so set shall be deemed to
         asanghter.       be manslaughter.
                             SEc. 2. This act shall take immediate effect.
                             Approved April 22, 1875.


                                                     [ No. 98.]
                      AN ACT to amend section twelve of article two, and sections one,
                        two, four, seven, thirteen, and fifteen of article four of act num-
                        ber one hundred and ninety-eight, of the session laws of eight-
                        een hundred and seventy-three, entitled "An act to revise the
                        laws providing for the incorporation of railroad companies, and
                        to regulate the running and management, and to fix the duties
                        and liabilities of all railroad and other corporations owning or
                        operating any railroad in this State,"approved May one, eighteen
                        hundred and. seventy-three.
          seenions       SECTION 1. The People of the State of Michigan enact, That
          amended.    section twelve of article two, and sections one, two, four, seven,
                      thirteen, and fifteen, of article four of act number one hundred
                      and ninety-eight of the session laws of eighteen hundred and
                      seventy-three, entitled "An act to revise the laws providing for the
                      incorporation of railroad companies, and to regulate the running



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                GENERAL LAWS
                                      0A   TIE




           STATE OF MINNESOTA,
                              PASSED DURING THE




            ELEVENTH SESSION OF THE STATE LEGISLATURE,


            COMMENCING JANUARY FIFTH, ONE THOUSAND EIGHT HUNDRED-
                 AND SIXTY-NINE, AND TERMINATING MARCH FIFTH,
                         ONE TIIOUSANDIEIGIIT HUNDRED
                                 AND SIXTY-NINE.




                     5.000 COPIES ORDERED PRINTED.




                                  SAINT PAUL:
                         PRtV85   PRINTING       COMPANT.
                                      1869.


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                          50                         GENERAL LAWS

                          of the general statutes, is hereby amended, so as to read
                          as follows:
        Dispomitlon of       Sec. 12. The county treasurer shall, after deducting
        surplus estray    two per cent. for his fees, pay such surplus money, if
        moneys,           claimed within one year after such sale, to the owner
                                                                                   of
                          such estray, if not claimed within that time, to the school
                          fund of the county in which the estray was kept.
        When act to          SEC. 2. This act shall be in force from and after its
        take effect.      passage.

                               Approved March 3, 1869.




                                                    CHAPTER XXXIX.
          eb'y 2,1s.      An Act to prohibit the setting qf traps or spring guns, rifles,
                                         or other deadly weapons.
                          SEcrIoN   1. The setting of a spring gun, pistol, or other deadly weapon declared un-
                                         lawful,
                                    2. Punishment for violation of foregoing Eoction.
                                    3. When act to take effect.

                          Be it enacted by the Legislature of the State of Minnesota:
                             SECTION 1. The        setting of a so-called trap or spring
                     UnlawZ3                   to5e
        Upring ufltonotgun,     pistol, rifle or other deadly weapon in this state, is
                          hereby prohibited and declared to be unlawful.
                             SEC. 2. Any person offending against the foregoing
        Punishment for    section shall be punished as follows : If no injury results
        violating the'v                                                          ii
                          therefrom to any person, the peison so offending shall be
                                                                                            *
        for goIng 'cl.
        tion              punished by imprisonment in the county jail of the proper
                          county, for a period not less than six (6) months, or by
                          fine not exceeding five hundred dollars, or by both fino
                          and imprisonment at the discretion of the court. If death
                           results to any human being from the discharge of a wea-
                           pon so unsawfuVy set, the person so offending shall, upon
                           coinviction thereof, be punished by imprisonment in the



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                                OF MINNESOTA FOR 1869.                                      51
             state prison for a term not exceeding fifteen, nor less than
             ten years. If any person is injured, but not fatally, by
             the discharge of any weapon so unlawfully sot, the person
             so offending, upon conviction thereof, shall be punished
             by imprisonment in the state prison for a term not ex-
             ceediug five years, in the discretion of the court.
                SEC. 3. This act shall take effect and be in force from
                                                                                                 When act to
             and after its passage.                                                              take cffet.


                Approved Feb. 27, 1869.




                                            CHAPTER XL.
             An Act to repeal Chap.ar thirty-nine of the General Laws
               ef one thousand eiyht hundred and 8imty-8even, relating
               to an act to prevent the killing of muskrat, mink or otter.
             SECTION   1. Repeal of Chapter thirty-nino (80) of the General Laws of 1807.
                       2. When act to take effe.

             Be it enacted by the Legulaturc of the State of Mlinnesota:
               SECTION 1.     That chLadter thirty-nine of the general                           Repeal of chap.
             laws of the year one thot; sand eight hundred and sixty-                            ter thirty-nine
             seven, be and the same is hereby repealed.                                          of Laws of n67.
               SEc. 2. This act shall take effect and be in force from                           When act to
             and after its passage.                                                              take efrect.

                Approved Feb. 24, 1869.




                                                   Add. 61
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        :27+                       In1spectors of Gunpowder.
        A. D. 1820.                            CHAP. XXV.
        Pussd June      AN ACT to provide for the appointment of Inspectors and
                              regulating the manufactory of Gunpowder.

        Inspectors of   SEC. 1.    BE it enacted   by the senate and house of representa-
        gunpowder to    .       n          cor
         C'appinte.       ives i2 general court convened, That his excellency the gov-
                         ernor by and with the advice of council, be, and he is hereby
                         authorized to appoint an inspector of gunpowder for every
                        public powder magazine, and at every manufactory of gun-
                        powder in this state, and at such other places as may by him
                        be thought necessary; and his excellency the governor by
                        and with the advice of council is hereby further authorized
                        and empowered to remove said inspectors or any of them at
                        pleasure, and may by new appointments from time to time
                        fill any vacancy or vacancies which may happen.
        Prhortion U         SEc. 2. And be it further enacted, That from and after the
        qualty of ma-t
        terials for the first day of July next, all gunpowder which shall be manufac-
        Tanuflactire
        ofgunpowder. tured within this state, shall be composed of the following

                        proportions and quality of materials, that is, every one hun.
                        dred parts of-gunpowder shall be composed of fourteen parts
                        of fresh burnt coal, made from wood which forms the least
                        ashes, and which has been carefully and well prepared and
                        made into coal, after being stripped of its bark; ten parts of
                        pure sulphur, and seventy-six parts of purified nitre.
        I)uty of in-        Sft. 3. And be itfarther enacted, That it shall be the duty
                        of each of said inspectors to inspect, examine and prove all
                        gun powder which after the first day of July next shall be
                        deposited at any publick powder magazine, or manufactory
                        in this state, before the same shall be removed from the
                        manufactory or received into such public powder magazine,
                        and if upon inspection and examination it sh.ill appear to the
                       .inspector that such gunpowder is well manufactured and com-
                        posed of pure materials, and such gunpowder shall be of the
                        proof hereinafter mentioned, the inspector shall mark each
                        cask containing gunpowder by him inspected, examined, and
                        proved as aforesaid, with the words " New-Hampshire inspec-
                        ted proof,"-and with his christian and surname, and shall also
                         in figures mark upon each cask the quantity of powder con-
                        tained therein, and the year in which the inspection is made.
                             SEc. 4. And be itfurther enacted, That no gunpowder within




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                          Inspection of Gunpowder.                              275
           this state shall be considered to be of proof unless one ounce A.D.1820.
           thereof, placed in the chamber of a four and an half inch Pro-of qual-
                                                                          ity of gun-
           howitzer, with the howitzer elevated so as to form an angle powder.
           offorty-five degrees with the horizon, will, uponbeing fired,
           throw a twelve puund shot seventy-five yards at the'least.
              SEC. 5. And be it further enacted, That whenever any of insptor to
           said inspectors shall discover any gunpowder, deposited at powder.
           any public powder magazine, or any other place within this
           state, which is not well manufactured, or which is composed
           of impure materials, or of any improper proportion of mate-
           rials, and which shall not be of the proof herein before men-
           tioned, the inspector in such case, shall mark each cask con-
           taining such impure, ill manufactured, or deficient gunpow
           der, with the word " Condemned," on both heads of the cask,
           and with the same words on the side thereof, with the chris-
           tian and surname of the inspector on one head of the cask.
              SEC.   6. And be itfurther exacted, That if any person shall renalr   r
           knowingly sell any condemned gunpowder, or shall fraudu-          =mfIeDL""w.
           lently alter or deface any mark or marks, placed by any in- dr.
           spector upon any cask or casks containing gunpowder, or
           shall fraudulently put any gunpowder, which shall not have
           been inspected, or which has been condemnied, into any cask
           or casks, which shall have been marked by any inspector
           agreeably to the provisions contained in the third section of
           this act, every such person, so offending, shall forfeit aind
           pay not less than two hundred nor more than five hundred
           dollars, for each and every offence, to be recovered in an
           action of debt, in any court of competent jurisdiction, one
           half thereof to the use of the state, the other to the use of
           him or them who shall sue and prosecute for the same.
               SEC. 7. And be it further enacted, That each inspector who Imspcotom'
            may be appointed by virtue of this act, shall, before he acts feesnnd oats
            as inspector, be sworn to the faithful and impartial discharge
            of the duties of his office, and each inspector shall be allowed
            one cent for each pound of gunpowder, by him examined,
            inspected and proved, whether the same be by him approved
            or condemned, to be paid by the owner or owners of the
            gunpowder.
               SEc. 8. find be it further enacted, That if any manufacturer runa'm -
            of gunpowder shall sell or dispose of, or shall cause or per. 'deor.acd



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        2ys                                  Ar-tillery.
        A. D.   1820. mit to be sold or disposed of, or shall export or cause to be
                       exported without the limits of this state, any powder of his
                       manufacture, before the same has been inspected and mark-
                       ed agreeably to the provisions of this act, he shall forfeit and
                       pay the sum of fifty cents for every pound of powder so sold,
                       disposed of, or exported, to be recovered in the manner pro-
                       vided in the sixth section of this act.
        Pennty for        SEc. 9. And be itfurther enacted, That if any person within
        ielling powder
                       this state, after the first day of January next, shall knowingly
                       sell, expose, or offer for sale, within this state, any gunpow-
                       der which is not well manufactured, or which is composed
                       of impure materials, and which shall not be of the proof
                       herein before required, shall forfeit and pay not less than
                       five dollars nor more than fifty dollars for each and every of-
                       fence, to be recovered in the manner provided in the sixth
                       section of this act.
                                                            Approved June 11, 1820.



                                              CHAP. XXVI.

         rssM    3r1ne
                   J ESOLVED, 'That the sum of four hundred dollars be and
                     the same hereby is appropriated for the purpose of furnish-
                     ing each artillery company in this state, organized according
                     to law, with powder and port-fire, and for the ordinary re-
                     pairs of field pieces, agreeably to the sixth section of a law
                     of this state passed July 1, 1820.* And his excellency the
                     governor is hereby authorized to draw on the treasury in fa-
                     vour of the adjutant general for the above sum, and the ad-
                     jutant general is hereby directed to pay to the captain or
                     commanding officer of the different companies of artillery or
                      their orders, the sum of twelve dollars each.
                                                        Approved June 22, 1020.



                                             CHAP. XXVII.

        ramed hune   RESOLVED,
                     at the
                               That the Selectmen, or a major part of them
           !, 1o0.         charge of the town, parish or place, to which they be-
                     long, shall transmit and return an Inventory of the polls and
                                          This act pas50d July 1, 1019.




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   Plan for Providing Fire-Arms for the Colony
   v5:7
   The Committee to draw a plan for providing Fire-Arms for a Colony stock, report as follows, viz:

   v5:8
   That for every good Fire-Arm manufactured in this Colony, made after the following manner, viz: A barrel three feet nine
   inches long, to carry an ounce ball, a good bayonet with blade eighteen inches long, iron ramrod, with a spring to retain the
   same, the maker' s name engraved on the lock, which shall be delivered at Exeter, to Nicholas Gilman, Esq˙, Receiver-
   General, on or before the 1st of May next, the owner of such fire-arms receive three pounds for each, of said Receiver-
   General, after having tried said gun in the presence of the said Receiver-General with four inches and a half of powder, well
   wadded, at the owner' s own risk. And that there be appointed one good man, well approved, in each County, to receive any
   fire-arms so made in said County, on the same condition, (as before-mentioned for the Receiver-General to receive them,)
   and the persons so appointed to receive the money for the number of guns so delivered.
   Which Report being read and considered,
   Voted, That the same be received and established as a resolve of this House.
   And, Voted, That Colonel Evans, for the County of Strafford; Samuel Emerson, for the County of Grafton; Major John
   Bellows, for the County of Cheshire; and Deacon Nahum Baldwin, for the County of Hillsborough, be Receivers of Fire-Arms,
   according to the aforesaid Resolve.


    Details

    Title                                                      Plan for providing Fire-Arms for the Colony, considered
                                                               and adopted

    Creator                                                    New-Hampshire, House of Representatives

    Editor                                                     New-Hampshire, House of Representatives

    Resource Type                                              text

    Genre/Form                                                 documents (object genre)

    Date Created                                               1776-01-10

    Recipient                                                  New-Hampshire, House of Representatives

    Presentation Location                                      Exeter, New-Hampshire, North America

    Before Whom                                                New-Hampshire, House of Representatives

    Subject                                                    Key people, events, and institutions: meetings,
                                                               provincial conventions and assemblies
                                                               Military action: military organization and discipline
                                                               Military action: militias and irregular forces

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    Series                                                     S4

    Volume                                                     S4-V5

    Part                                                       S4-V5-P01

    Sub-Part                                                   S4-V5-P01-sp01

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        :27+                       In1spectors of Gunpowder.
        A. D. 1820.                            CHAP. XXV.
        Pussd June      AN ACT to provide for the appointment of Inspectors and
                              regulating the manufactory of Gunpowder.

        Inspectors of   SEC. 1.    BE it enacted   by the senate and house of representa-
        gunpowder to    .       n          cor
         C'appinte.       ives i2 general court convened, That his excellency the gov-
                         ernor by and with the advice of council, be, and he is hereby
                         authorized to appoint an inspector of gunpowder for every
                        public powder magazine, and at every manufactory of gun-
                        powder in this state, and at such other places as may by him
                        be thought necessary; and his excellency the governor by
                        and with the advice of council is hereby further authorized
                        and empowered to remove said inspectors or any of them at
                        pleasure, and may by new appointments from time to time
                        fill any vacancy or vacancies which may happen.
        Prhortion U         SEc. 2. And be it further enacted, That from and after the
        qualty of ma-t
        terials for the first day of July next, all gunpowder which shall be manufac-
        Tanuflactire
        ofgunpowder. tured within this state, shall be composed of the following

                        proportions and quality of materials, that is, every one hun.
                        dred parts of-gunpowder shall be composed of fourteen parts
                        of fresh burnt coal, made from wood which forms the least
                        ashes, and which has been carefully and well prepared and
                        made into coal, after being stripped of its bark; ten parts of
                        pure sulphur, and seventy-six parts of purified nitre.
        I)uty of in-        Sft. 3. And be itfarther enacted, That it shall be the duty
                        of each of said inspectors to inspect, examine and prove all
                        gun powder which after the first day of July next shall be
                        deposited at any publick powder magazine, or manufactory
                        in this state, before the same shall be removed from the
                        manufactory or received into such public powder magazine,
                        and if upon inspection and examination it sh.ill appear to the
                       .inspector that such gunpowder is well manufactured and com-
                        posed of pure materials, and such gunpowder shall be of the
                        proof hereinafter mentioned, the inspector shall mark each
                        cask containing gunpowder by him inspected, examined, and
                        proved as aforesaid, with the words " New-Hampshire inspec-
                        ted proof,"-and with his christian and surname, and shall also
                         in figures mark upon each cask the quantity of powder con-
                        tained therein, and the year in which the inspection is made.
                             SEc. 4. And be itfurther enacted, That no gunpowder within




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                          Inspection of Gunpowder.                              275
           this state shall be considered to be of proof unless one ounce A.D.1820.
           thereof, placed in the chamber of a four and an half inch Pro-of qual-
                                                                          ity of gun-
           howitzer, with the howitzer elevated so as to form an angle powder.
           offorty-five degrees with the horizon, will, uponbeing fired,
           throw a twelve puund shot seventy-five yards at the'least.
              SEC. 5. And be it further enacted, That whenever any of insptor to
           said inspectors shall discover any gunpowder, deposited at powder.
           any public powder magazine, or any other place within this
           state, which is not well manufactured, or which is composed
           of impure materials, or of any improper proportion of mate-
           rials, and which shall not be of the proof herein before men-
           tioned, the inspector in such case, shall mark each cask con-
           taining such impure, ill manufactured, or deficient gunpow
           der, with the word " Condemned," on both heads of the cask,
           and with the same words on the side thereof, with the chris-
           tian and surname of the inspector on one head of the cask.
              SEC.   6. And be itfurther exacted, That if any person shall renalr   r
           knowingly sell any condemned gunpowder, or shall fraudu-          =mfIeDL""w.
           lently alter or deface any mark or marks, placed by any in- dr.
           spector upon any cask or casks containing gunpowder, or
           shall fraudulently put any gunpowder, which shall not have
           been inspected, or which has been condemnied, into any cask
           or casks, which shall have been marked by any inspector
           agreeably to the provisions contained in the third section of
           this act, every such person, so offending, shall forfeit aind
           pay not less than two hundred nor more than five hundred
           dollars, for each and every offence, to be recovered in an
           action of debt, in any court of competent jurisdiction, one
           half thereof to the use of the state, the other to the use of
           him or them who shall sue and prosecute for the same.
               SEC. 7. And be it further enacted, That each inspector who Imspcotom'
            may be appointed by virtue of this act, shall, before he acts feesnnd oats
            as inspector, be sworn to the faithful and impartial discharge
            of the duties of his office, and each inspector shall be allowed
            one cent for each pound of gunpowder, by him examined,
            inspected and proved, whether the same be by him approved
            or condemned, to be paid by the owner or owners of the
            gunpowder.
               SEc. 8. find be it further enacted, That if any manufacturer runa'm -
            of gunpowder shall sell or dispose of, or shall cause or per. 'deor.acd



                                             Add. 68
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        2ys                                  Ar-tillery.
        A. D.   1820. mit to be sold or disposed of, or shall export or cause to be
                       exported without the limits of this state, any powder of his
                       manufacture, before the same has been inspected and mark-
                       ed agreeably to the provisions of this act, he shall forfeit and
                       pay the sum of fifty cents for every pound of powder so sold,
                       disposed of, or exported, to be recovered in the manner pro-
                       vided in the sixth section of this act.
        Pennty for        SEc. 9. And be itfurther enacted, That if any person within
        ielling powder
                       this state, after the first day of January next, shall knowingly
                       sell, expose, or offer for sale, within this state, any gunpow-
                       der which is not well manufactured, or which is composed
                       of impure materials, and which shall not be of the proof
                       herein before required, shall forfeit and pay not less than
                       five dollars nor more than fifty dollars for each and every of-
                       fence, to be recovered in the manner provided in the sixth
                       section of this act.
                                                            Approved June 11, 1820.



                                              CHAP. XXVI.

         rssM    3r1ne
                   J ESOLVED, 'That the sum of four hundred dollars be and
                     the same hereby is appropriated for the purpose of furnish-
                     ing each artillery company in this state, organized according
                     to law, with powder and port-fire, and for the ordinary re-
                     pairs of field pieces, agreeably to the sixth section of a law
                     of this state passed July 1, 1820.* And his excellency the
                     governor is hereby authorized to draw on the treasury in fa-
                     vour of the adjutant general for the above sum, and the ad-
                     jutant general is hereby directed to pay to the captain or
                     commanding officer of the different companies of artillery or
                      their orders, the sum of twelve dollars each.
                                                        Approved June 22, 1020.



                                             CHAP. XXVII.

        ramed hune   RESOLVED,
                     at the
                               That the Selectmen, or a major part of them
           !, 1o0.         charge of the town, parish or place, to which they be-
                     long, shall transmit and return an Inventory of the polls and
                                          This act pas50d July 1, 1019.




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                                        THE1




                              LAWS

                                      OF THE




                STATE OF NEW-HAMPSHIRE,


                                      PASSED




                              PUBLISHED BY AUTHORITY.




                                   CONCORD:
                               PRINTED BY ISAAC HILL,

                                       1825.
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                                       Gunpowder.                                  73

           election," passed December 16, 1824, be and the same
           is hereby repealed.               Approved July 2, 1825.      Repeal.

                                 CHAPTER LXI.
           AN CT to regulate the keeping and selling, and the trans- Passed July
             porting of gun-powder.                                  2,1825.
              SECT. 1. BE it enacted by the Senate and House of Rep-
           resentatives in General Court convened, That there shall What quantity
           not at any time be kept in any ware-house, store, shop, maybe kept.
           or other building in the compact part of any town or vil-
           lage in this State, a greater quantity of gun-powder than Pcnalty for
           three quarter cask or seventy-five pounds; and any per- keeping more.
           son or persons so keeping a greater quantity, shall for-
           feit and pay for every day during which such greater
           quantity of gun-powder shall be kept as aforesaid, a sum
           not exceeding five dollars, nor less than one dollar, to be How recover-
           recovered by any person sueing for the same in an ac- able.
           tion of debt before any justice of the peace, or court
           proper to try the same, with costs of suit, one half for To whose use.
           the use of the prosecutor and the other half for the use
           of the town in which such gunpowder is kept; or, if sued
           for by the firewards or selectmen of any town, then the
           whole of said forfeiture shall be kept for the use of said How expend-
           town, to be expended by said firewards or selectmen in ed.
           purchasing materials necessary and proper for extin-
           guishing fires. And the said firewards or selectmen are Firewards, &c.
            hereby authorized and empowered to seize any gunpow- meayseizepow-
            der kept as aforesaid in a greater quantity than one quar-
            ter cask, and cause the same to be condemned in any
            court proper to hear and try the same, the avails of which
            shall be expended for the purposes aforesaid.
              SECT. 2. And be it further enacted, That every person
            keeping gunpowder to sell by retail in less quantity than
            seventy-five pounds, and who shall not at all times keep How pwder
            the same in a tin canister or canisters or other incombus- for retail.
            tible vessel or vessels, covered and secured from fire, or
            in casks which shall be enveloped in substantial and close Penalty for not
            leathern bags or sacks, shall forfeit and pay for each and so keeping.
            every day, he, she or they shall so keep it, a sum not ex-
            ceeding five dollars nor less than one dollar, to be sued How recovera-
            for and recovered with costs of suit in the manner and ble.
            for the uses and purposes aforesaid.
              SECT. 3. tAnd be it further enacted, That gunpowder           Manner of
            shall not be transported or carried through the compact transporting.
            part of any town or village, in any cart, waggon or other
            open carriage, in a greater quantity than one hundred
            pounds at any one time, nor unless the casks containing
            the gunpowder so transported, if more than twenty-five
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         74                          Alteration of Names.
                        pounds be enveloped in substantial and close leathern
                        bags or sacks; and any person or persons transporting
                        gunpowder as aforesaid, in a greater quantity and with-
                        out being enveloped as aforesaid, except the same be con-
                         a sum in
          enalty for not veyed
                                  a closely covered carriage, shall forfeit and nay
                               not more than fifty dollars nor less than -ten lIol-
        so transporting.lars, to be sued for and recovered with costs of suit,
                                                                               in
                        the manner and for the uses and purposes aforesaid.
                          SEcT. 4. And be. it further enacted, That no person
        Shall not be shall at 2ny time transport or carry fiom town to
                                                                       town
        peddled.     or from place to place any gunpowder for the purpose of
                     peddling, or selling it by retail, on penalty that the own-
                     er or owners, or person or persons selling it, or offering
          Penalty a- it for sale, shall forfeit and pay a sum not exceeding five
         ain    ped- dollars nor less than one dollar for each cask of gunpow-
                     der so transported or carried and sold or offered for sale,
                     to be recovered with costs of suit and applied to the same
                     uses and purposes as herein before directed.
                        SECT. 5. And be it further enacted, That if any person
                     or persons shall sell or offer for sale by retail any gun-
        Shall not be powder in any highway. or in any street, lane, or alley,
         ian anyret, or on any wharf, or on any parade or common, such per-
                     son so offending shall forfeit and pay for each and every
                     offence a sum not more than five dollars nor less than
                     one dollar, to be recovered and applied as aforesaid.
                          SECT. 6. And be it further enacted, That if any person
                     or persons shall within this State, in the night time be-
                     tween sunsetting and sunrising, sell or offer to sell by re-
       norinthenight tail, or deal out any gunpowder, such person so offending
       time,         shall forfeit and pay for each and every such offence a
                     sum not more than five dollars nor less than one dollar,
                     to be recovered and applied as aforesaid.
                        SECT. 7. And be it further enacted, That all prosecu-
       Limitation of tions for offences against this act shall be commenced
        prosecutions.   within three months after the offence shall have been
                        committed, and not afterwards.
                                                         Approved July 2, 1825.

                                           CHAPTER LXII.
        Passed July     AX ACT to alter the names of sundry persons therein
        2, 1825.
                                            mentioned.

                        W1rHEREAS   certain persons have petitioned the legislature
                          to alter their names, and their request appearing rea-
                          sonable; Therefore,
                           13E it enacted by the Senate and House of Representa-
                        tives in Geneifal Court convened, That Elis Leathers of
                        Barnstead, shall hereafter be called and known by the
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                 WILLIAM             FRANKLIN,                    Efquire,    GOVERNOR.               343


            At a GENERAL ASSEMBLY held at
                 Burlington from the Twentieth Day of November to the
                 Twenty-firft Day of December 177 1, in the Twelfth Year
                 of the Reign of King George the Third, the following
                 Laws were paffed.
                            SESSION             THE        FOURTH.

                                   C H      A    P,        DXXXIX.

            An A C T to continue and amend an A7, entitled, An AdL
             for better fttling and regulating the Militia of this Colo4
              ny of New-Jerfey ; for the repelling Invafions, and fuppref
             fing Infurremions and Rebellions.*
                                                                    Paffed Dec.   21,   1771.


                                                                    Year of the Reign
            W       HofEour  A SSovereign
                         R Elate            Lord in
                                  the A61 paffed  King  Nineteenth
                                                    the George   the Second, entitled,
            An A& for better fettling and regulating the Militia of this Colony of
                                                                                                 Preamble.



            New-Jerfey :for the repelling Invaions, and /iippreftyig Iitirredionsand
            Rebellions, will expire at the End of this Seffion of Affembly;

                 Sec7. 1. EIT
                          3   ENA CT ED by the Governor, Council and General Afen- Liiuitation
            bly, an, it is he "eby Ena27cd by the Authority of the-jame, That the faid
            A6t, entitled, An At for better fettling and regulating the Militia of
            this Colony of New-Jerfey; for the repelling Iafons, and fupprefjn In-
            furrellions and R.bellions, fhall be, and hereby is continued, and every
             Article and Clau(e therein contained fhall be and remain in full Force,
             from the Publication hereof, to the firft Day of May which will be in
             the Year of our Lord One Thoufand Seven Hundred and Seventy-feven,
             and from thence to the End of the next Seflion of the General AfLembly
             of this Colony, and no longer.

                2. AND WHEREAS it has been a Cufltom of late, in fome of
            the Counties of this Colony, to choofe the Militia Officers Conflables ;
            for preventing the fame for the Future, BE IT ENACTED by the Autho- commiion;
            I ity aforefaid, That, during the Continuance of this A6t, it fhall not be ed O    .ers1
            lawful for any Court of General Quarter-Sefflions of the Peace, or for fen Confna,
            any of the Inhabitants of this Colony, at their annual Town-meetings, bles.
            to appoint or choofe any commillioned Officer, while in Commillion,
            to be a Conflable; any Law, Ufage or Cuffom to the contrary not-
            withftanding.
                                 * CH-AP.              DXL..

                An A C T fOr the Preervation of Deer and other Game, and
                                 to prevent treffafing with Guns.

                                                                    Paffed Dec.   21,   1771.

                                                         paffed in this Colony for the Preamble.
                W                    the Laws heretofore
                         E R E A of Deer and other Game, and to prevent trefpaff-
                                   S
                       HPrefervation
                                                      Chap. CC.                            ing

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                            ing with Guns, Traps and Dogs, have, by Experience, been found in-
                            fifficient to anfwer the falutary Purpofes thereby intended ; Therefore,

           No Perfon to       Sea. I. BE IT ENACTED by the Governor, Council and General Af-
           o" ands not      femizbly of this Colony of New-Jerfey, and'it is hereby Enaded by the Au-
           his own, ex-      thority of the /ame, That if any Perfon or Perfons fhall prefume, at
           cept, c          any Time after the Publication hereof, to carry any Gun on any
                            Lands not his own, and for which the Owner pays Taxes, or is in his
                            lawful Poffeflion, unlefs he hath Licenfe or Permiffion in Writing from
                            the Owner or Owners or legal Pofreffor, every fuch Perfon to offending,
                            and convi6led thereof, either upon the View of any Juffice of the Peace
                            within this Colony, or by the Oath or Affirmation of one or more Wit-
                            neffes, before any Juflice of the Peace of either of the Counties, Cities or
                            Towns-corporate of this Colony, in which the Offender or Offenders
                            may be taken or refide, he, (he or they, fhall, for every fuch Offence, for-
                            feit and pay to the Owner of the Soil, or his Tenant in Poffeflion, the
           Penalty.         Sum of Forty Shillings, with Cofis of Suit ; which Forfeiture fhil
                            and may be fued for and recovered by the Owner of the Soil, or Te-
                            nant in Poffeffion, before any Juffice of the Peace in this Colony, for
                            the Ufe of fuch Owner or Tenant in Poffeflion.

           NoPerfon to         2. AND BE        IT   ENACTED       by the Authority aforefaid, That if any
            t    Der or     Perfon fhall prefume, at any Time after the Publication of this Act,
           except,    6c*   to hunt or watch for Deer with a-Gun, or fet in any Dog or Dogs to
                            drive Deer, or any other Game, on any Lands not his own, and for
                            which the Owner or Poffeffor pays Taxes, or is in his lawful Poffeffion,
                            unlefs he hath Licenfe or Permifflion in Writing from fuch Owner or
                            Owners or legal Poffeffor ; every fuch Perfon fo offending, and being
                            convi6ted thereof in Manner aforefinid, thall, for every fuch Offence,
                            forfeit and pay to the Owner of the Soil, or Tenant in Poffeffion, the
           Penalty.         Sum of Forty Shillings, with Cofis of Suit ; provided, that nothing
                            herein contained (hall be confirued to extend to prevent any Perfon
                            carrying a Gun upon the King's Highway in this Colony.

           Penalty on          3. AND BE IT FURTHER ENACTED by the Authority aforefaid, That
           Non-Reli-        if the Perfon or Perfons offending againfl this A be Non-Refidents
                            of this Colony, he or they fhall forfeit and pay for every fuch Offence
                            Five Pounds, and fhall forfeit his or their Gun or Guns to any Perfonr
                            or Perfons who fhall inform and profecute the fame to Effed, before
                            any Juflice of the Peace in any County of this Colony, wherein the
                            Offender or Offenders may be taken or apprehended.

           Penalty for         4.   AND    BE   IT   ENACTEDhy the Authority aforefrid, That if any
                 nor of
           Deer out           ebno     Perfons
                                        efn      hall kill, defiroy, hunt or take any Doe, Buck,
                                                hlki,
           Secafon.         Fawn, or any Sort of Deer whatfoever, at any other Time or Seafon,
                            except only between the firft Day of September and the firft Day of
                              anuary yearly and every Year, he, fie'or they fo offending, fhall for-
                            feit and pay the Sum of Forty Shillings for each and every Offence;
                            to be fiied for, recovered and applied as hereafter is dired1ed.

                                . AND, for the better and more effectual conviting of Offenders
           What fhall       againft this A&, BE IT ENACTED by the Authority aforefaid, That any
           be Evidefice
           of Rich X        and every Perfon or Perfons in whofe Cuftody fhall be found, or who'
           ing, &C.                                                                                 fhall


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         fhall expofe to Sale, any green Deerfkins, or frefh Venifon killed at
         any Time after the firft Day of January, and before the firfli Day of
         September aforefaid, and fhall be thereof convi6led by the Oath or
         Affirmation of one or more credible Witneffes, fhall be deemed guilty
         of offending againft this Ad, and be fiubjeded to the Penalties of kill-
         ing Deer out of Seafon.

            6. AND WHEREAS great Numbers of idle and diforderly Per-
         fons make a Pradice of hunting on the wafle and unimproved Lands
         in this Colony, whereby their Families are negleded, and the Publick
         is prejudiced by the Lofs of their Labour, BE IT THEREFORE EN- Who may
         ACTED by the Authority aforcftid, That, from and after the firfl Day improved
         of January next, no Perfon or Perfons whatibever (except fuch PerfonS Lands.
         as are by the Laws of this Colony qualified to vote for Reprefentatives
         in General Affembly, in Right of their Freeholds, and their Sons being
         of the Age of eighteen Years or upwards, and living-with their Parent
         or Parents, or being Freeholders) Ihall, on any Pretence whatever, hunt
         on the wafte and unimproved Lands in this Colony ; and if any Per-
         fon or Perfons, not qualified as aforefaid, fhall prefume to hunt as
         aforefaid, he or they fo offending thall forfeit and pay, for every fuch
         Offence; the Sum- of Twenty Shillings; to be recovered by Adion of             Penaltyon
         Debt, with Cofls, by any Perfon who thall fue for the fame; to be ap-          Offenders.

         plied one Half to the Profecutor, and the other Half to the Ufe of the
         Poor of the Townfhip or Precind where the Fad was committed.

            7. AND BE IT ENACTED by the Authority aforefaid, That if any Per-           Penalty on
         fon or Perfons within this Colony fhall fet any Trap or other Device             ting Traps,
         whatfoever, larger than what is ufually and commonly fet for Foxes
         and Mufkrats, fich Perfon, fetting fuch Trap or. other Device, fhall
         pay the Sum of Five Pounds, and forfeit the Trap or other Device,
         fhall fuffer three Months Imprifonment, and fhall alfo be liable to make
         good all Damages any Perfon fhall fuiflain by fetting fuch Trap or other
         Device, and the Owner of fuch Trap or other Device, or Perfon to
         whom it was lent, fhall be efleemed the Setter thereof, unlefs it fhall
         be proved, on Oath or Affirmation, what other Perfon fet the fame, or
         that fiuch Trap or other Device was loft by faid Owner or Perfbn to
         whom it was lent, and abfolutely out of his Power; and if the Setter Penalty on a
         of the Trap or other Device be a Slave, and it be his own voluntary Ad, Slae fetting
         he fhall (unlefs the Maiter or Miflrefs thall pay the Fine) in Lieu of fich & ac.
         Fine, be publickly whipped with thirty Lafhes, and 'committed till
         the Cofts are paid; and that the faid Trap or other Device fhall be broken.
          and deftroyed in the View and Prefence of the Juffic. of the Peace
         before whom they are brought: And if any Perfon or Perfons fhall have Penalty on
         Poffeffion of, or there fhall be found in his or their Houfe, any Trap eapng            uch
         or Traps, Device or Devices whatfbever, for taking of Deer, fuch Per-
         fon or Perfons fhall be fibjeded to the fame Penalty as if he or they
         were convided of fetting fuch Trap or Traps, or other Device.

             8. AND, for encouraging the Deftrudion of fuch Traps and De-               Reward for
          vices, BE IT ENACTED by the Authority aforefaid, That if any Perfon           Ta,    &r.
          fhall feize any Trap or other Device for the taking Deer, and fhall car-
          ry fuch Trap or other Device to any Magiftrate of the County
          where fuch Trap or Device was feized, fuch Perfon fhall be entitled to
                                              4 .                                an

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                          an Order from the faid Magiffrate to the Colledor of fuch County, to
                          pay him the Sum of Ten Shillings, out of any Money in his Hands raifed
                          for the Ufe of the County ; which Sums fhall be allowed to fuch Col-
                          ledor on the Settlement of his Accounts.

         renalty on a       9.    AND BE IT FURTHER ENACTED              by the Authority aforefaid, That
         Smnithimaking
         or mending       every Smith or other Artificer, who fhall hereafter make or mend any
         fuch Trap,
         Cc.
                          fuch Trap or other Device aforefaid, he fhall forfeit and pay the Sum
                          of Forty Shillings ; and the Perfon carrying fich Trap or other Device
                          to the Artificer aforefaid, fhall forfeit and pay the Sum of Twenty
         Penalty on
         bringing
                          Shillings. And every Perfon who fhall bring into this Colony any
         fuch Trap,       fuch Trap or Device as aforefaid (hall forfeit and pay the Sum of
         &C.into the      Forty Shillings. And if the Perfon who ihall carry the fame to the
         lColony.
                          Smith or Artificer fhall be fo poor as that he fhall not be able to pay the
                          Forfeiture aforefaid, he fhall be committed to the common Gaol, un-
                          til he fhall prove who is Owner of fuch. Trap or Device, or who deli-
                          vered the fame to him; and in fiich Cafe the Forfeiture aforefaid flhall
                          be levied on the Goods, or in Failure of Goods, on the Body of the
                          Owner of fich Trap or Device, or the Perfon who delivered the fame
                          to the Pauper, and the Trap or Device fhall be forfeited and deftroyed.

         Penalty for        1o.  AN D WHER EAS a moft dangerous Method of fetting Guns
         fetting loaded
         Guns.            has too much prevailed in this Province, BE IT ENACTED by the Au-
                          thority aforefaid, That if any Perfon or Perfons within this Colony (hall
                          prefume to fet any loaded Gun in fuch Manner as that the fame fhall
                          be intended to go off or difcharge itfelf, or be difcharged by any String,
                          Rope, or other Contrivance, fuch Perfon or. Perfons fhall 'forfeit and
                          pay the Sum of Six Pounds; and on Non-payment thereof fhall be
                          committed to the common Gaol of the County for fix Months.

         Application         I I. AND BE IT FURTHER ENACTED by the Authority aforefaid, That
         of Penalties.    the Fines and Forfeitures in this A61 expreffed, and not particularly
                          appropriated, fhall be paid, one Half to the Profecutor,. and the other
                          Half to and for the Ufe of the Poor of the Town, Precinq or Diftria,
                          where the Offence is committed; and that the Execution of this Aa,
         juriliion        and every Part thereof, fhall be within the Cognizance and Jurifdic-
         given to one     tion of any one Magiffrate or Juftice of the Peace, without any Re-
         Magifirate.      ference to the Ad for Trial of finall Caufes in this Colony.

         This Ad not        12.   AND BE IT ENACTED, That nothing in this Law'fhall be con-
         to affohd        firued to extend to reftrain the Owners of Parks, or of tame Deer, from
         Parks.
                          killing, hunting or driving their own Deer.

         Penalty on          13. AND   BE IT ALso      ENACT1aDby the Authority aforefaid, That if
         Magiftrate
         negleuing        any Juftice of the Peace or other Magiffrate, within this Province,
         Ili$ Duty.       Ihall have Information of any Perfons offending againfi this Ad, in
                          killing Deer out of Seafon, fetting and making Traps, Non-Refidents
                          killing Deer, and Perfons fetting of Guns, and fhall not profecute
                          the fame to Effea within two Months after fuch Information, lie fhall
                          forfeit and pay the Sum or Sums to which the Offender againft this
                          AdI would have been liable.

                                                                                             14. AND



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              14. AND BE IT ENACTED by the Authority qfre/aid, That the Juf- This Ad to
          tices at every Quarter-Seffions of the Peace (hall caufe this Af to be be publifhed
                                         y   _                                             and executed.
          publickly read; and give in Charge to the Grand-Jury to particularly
          inquire and prefient all Perfons for killing Deer out of Seafbn, fetting
          or making Traps, and all Non-Refidents killing, deftroying, hunting
          and taking any Sort of Deer, and all Perfons 1tting of Guns ; and,
          upon Convicion for either of the faid Offences, the faid Juflices fhall
          fet and impofe the Fines and Penalties herein before-mentioned, with
          Cofs of Suit.

             15. AND BE IT ENACTED by the Authority aforefaid, That if any Appeal given
          Peribn or Perfons whatfoever, whether theI
                                                      Accufed or Accufer, Plaintiff        to next Se-
                                                                                           flons,
          or Defendant, fhall think themfelves aggrieved by any of the Judg-
          nients given by the fkid Juffices or other Magiftrates, for any Suit
          commenced by Virtue of this Ac?; then it fhall and may be lawful
          for fuch Perfon or Perfons to appeal, on giving fufficient Security for
          the Forfeitures and Cofts, to the next Court of General Quarter-Seffions,
          held for fich County where fuch Judgment fhall be given; which Court
          is hereby empowered to hear and dctermine all and every fuch Appeal
          or Appeals.

             16. AND BE IT ENACTED by the Authority aforefaid, That if any Penaltyfot
          Perfon or Perfons, within this Colony, fhall, after the Publication of this watchigin
          A61, watch with a Gun, on any uninclofed Land within two Hun- near aRoad.
          dred Yards of any Road or Path, in the Night Time, whether the faid
          Road is laid out by Law or not, or thall fland or flation him or them-
          felves upon or within two Hundred Yards of any Road as aforefaid,
          for fhooting at Deer driven by Dogs, he or they fo offending, fhall, on
          Convidion, forfeit and pay the Sum of Five Pounds for every fuch Of-
          fence; to be recovered by A6Iion of Debt, or Prelentment of the
          Grand-Jury as aforefaid, and pay all Damages.

            17. PROVIDED ALWAYs, That the fixth Sealion of this At thall NottoaA
                                                                          'd7an,nor
          not be confirued to affe6d any Native Indian; and that nothing in this ~Flcx, B~ergen,
          A f(hall be confirued to prevent the Inhabitants of E,:fflx, Bergen, Mor- Morrif or
          ris and Siffex, from making, having in their Houfes, or fetting Traps S
          of five Pounds Weight or more for Bears, Wolves, Foxes, or any other
          wild Beafts, Deer only excepted.

            18. AND BE IT FURTHER ENACTED by the Authority aforefaid, That Repealof
          all former Laws made in this Colony for the Prefervation of Deer and
                                                                                           FormerLaws.

          other Game, and to prevent trefpalling with Guns, and regulating the
          Size of Traps, fhall be, and they are hereby repealed.

                                 C   H       A   P.       DXLI.

          An ACT declaring the River Delaware a common Highway,
              andfor improving the Navigation in thefaid River.
                                                                Paffed Dec. 21, 1771.

          W      HEREAS the improving the Navigation in Rivers is of great Preamble.
                 Importance to Trade and Commerce; AND WHEREAS the River
                                                                            Delaware

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                                                                          'S
                                  O F      T    H       E




             !ENERAL                       ASSEMBLY


               STATE oF NEW-JERSEY,

             At a SESSION begun at PRINCETON.On t,e 2-th Day
                of- Augur 1776, and continued by Adjournments-,


                          TO   WHICH IS           PREFIXED,




             CONS T I TU T IO                                                  N
                                            t       H




                          T7 A                               T           E.



                           BURLINC                      TO N:
                   printed by ISAAC      COLLINS, M.DCC.LXXVf



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    6                      STATE           OF     NEJJ'-7ERSEr,                1776.

   Juftices to          4. AND BE IT ENACTED by the Authority aforefaid, That any two
   tender the
   Oaths of Ab-      Juflices of the Peace fhall, and they hereby are empowered and directed
   juration and      to convene by Summons or Warrant any Perfon whatfoever, whom
   Allegiance to
   fiufpeited        they fIall fufrec& to be dangerous or difaffected to the prefent Govern-
   Perfonm           ment, and to tender and adminiffer to him the Oaths of Abjuration
                     and Allegiance, fet forth in an A&, entitled, A!n A&for the Security of
                     the Government of New-Jerfey, paffed the nineteenth of September One
                     Thoufand Seven Hundred and Seventy-fix. And if any Perlbn, to whom
                     the faid Oath fhall be tqndered, flhall negle& or refufe to take the fame,
                     the faid Juflices thall bind him over with fufficient Sureties, to appear
                     at the next Court of General Quarter-Seflions of the Peace, and to be
                     in the mean-while of good Behaviour; and in Default of fufficient
                     Sureties, or on Refufal to be bound, the faid Jufliccs are hereby em-
                     powered and direated to commit fuch Offender to clofe Gaol, and cer-
                     tify the fame, with the Caufe of Commitment, under their Hands and
                     Seals, to the next Court of General Qsarter-Seffions of the Peace,
                     where, if fuch Offender refufe to take the Laid Oaths, he fhall continue
                     bound to his good Behaviour, or be fined, or imprifoned, as the, id
                      Court fhall dcem ncceffary.

                                      Pa/ed at Princeton, Oclober 4, 1776.


                                              CHAP.              VI.

                              An A C T for the Infpe ion of Gun-Powder.
    Preamble.         W     H E R E A S the vending of damaged or bad Gun-Powder with-
                      VVin this State, efpecially in the Time of War, may be of. the
                     moft dangerous Confequence
    NoGor-Pow-       Sel. I. BE IT THEREFORE ENACTED byV the Council and General
    der to he fold                                     i

    without In- Afembl. of this State, and it is hereby Enac7ed by the Authority of the
    fpcaion, &e. fimte, That any Perfon who, from and after the Publication of this
                  At, fhall offer any Gun-Powder for Sale, without being previoufly in-
                  fpeated and marked as is herein after direaed, fhall forfeit, for every
    Penalty.      fuch Offence, the Sum, of Five Shillings a Pound for every Pound weight
                  fo offered for Sale, and fo in Proportion for greater or leffer Quantity;
                  to be recovered in any Court where the fame may be cognizable, and
                  applied the one Half to the Perfon who fhall profecute therefor, and the
                  other Half to be paid to the Treafurer for the Ufe of the State.

    1,ifpesdors;       2. That Jacob Zabrifkie of Bergen County, Jonathan Sears of Ejfex,
                     Samuel H. Sullivan of Middlefex, Kenneth Lenki/bn and Jacob Cook of
                     Monmouth, Abraham Stzats of Someifet, Samuel Day and Daniel Lindfly
                     of Morris, William Perine of Suffex, David Cowell of Hunterdon, Jfiah
                     Foier and John Leek of Burligton, Jofeph Rugg, John Somers and
                     Thomas Clark of Gloucejier, Curtis Trenchard of Salem, Enos' Seeley of
                     Cumberland, and Jofepb Ludley and Abraham Bennet of Cape-My, be, and
    their Duty,      they hereby are appointed Infpe6tors of Gun-Powder ; who are direa-
                     ed to pals or mark no Gun-Powder but fuch as is oood as to its Quick-
                     nefs in Firing, Strength, Drynefs, and other Qualities ; and who, before
                                                                                      they



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                WILLIAM L'IVINGSTON, Efquire,                                 GOVERNOR.                   7

                they do any Thing in the Execution of their Office, fhall feverally take,
                before any Juftice of the Peace for the County in which they refide, the
                following Oath or Affirmation, I A B will well and truly toexecute    the and Q      alifi.
                                                        this State, accorditg  the befl of at
                Office of1 InJ enjor of Gun-Powder for
                my Skill aud Undeiflcnding, and agreeable to the Direfions of an Aft,
                entitled, Au Ac7 for the Infpeaion of Gun-Powder.

                  3. That every Infpeaor flhall mark each Caflok of Gun-Powder, by Infpeaor to
                him approved, with the Letters S N I, and ftich other Marks as are           nirk.
                neceffary to diftinguiih the f~veral Sorts of Gun-Powder.

                   4. That every Maker of Gun-Powder flhall pack his Powder in dry Maker to
                well-feafoned Calks, and mark every Cafk in which he fhall pack pack, €c.
                the fame with the initial Letters of his Name.

                   5.' That every Infpe6lor who flhall negle& or refufe to do any of the     Penalty.
                Duties enjoined by this A&, flall forfeit for each Offence the Sum of
                Five Pounds, to be recovered and.applied in like Manner and Form
                as the Fines and Penalties herein before-mentioned.

                  6. That every Infpctor flhall be allowed the one Eighth Part of a I1pe(Ror's
                Dollar for every Hundred Weight of Gun-Powder he ihall examine, to Wages.
                be paid by the Owner of faid Powder; provided, that no Infpc6lor
                fhall be obliged to ride more than ten Miles to infpecf any Ouantity
                of Gun-Powder lef than one Thoufand Weight, without being allow-
                ed by the Owner thereof the Sum of Three-pence a Mile for going, and
                Three-pence a Mile for returning, over and above the Fees of Infpecaion
                allowed by this A6. PROVIDED ALSO, That Powder infpecled by
                Order of the Continental Congrefs, or by any Perfon legally authorifed
                for that Purpofe, in any of the neighbouring States, lhall be fubjec to
                Infpe6lion by Virtue of this A&6, any Thing herein to the contrary
                notwitlifanding.

                   7. That in cafe of the Death, Removal, Difability or Refignatiora of Infpedor dy-
                any Infpeior, the Court of General Quarter-Seflions of the County iog, c.who
                Where the fame flall happen, are hereby authorifed to appoint an In- another.
                fpeor to fupply fuch Vacancy, who flhall take the Oath or Affirma-
                tion, perform the Duty, and be fubjea to the Forfeitures in and by
                this Ac&prefcribed.
                                  Paff'ed at Princeton, OL1ober 4, 1776.


                                          C H      A     P.      VII.

                 4n A C T for y/abli/hing a Court of Admiralty and Cqf/om-
                          H-oqfes within the State of New-jerfey.

                 SeO. i. D E IT ENACTED by the Council and General Affembly of this
                           J State, and it is hereby Enacfed by the Authority of the
                fame, That it flhall and may be lawful for the Governor or Commander
                 in Chief for the Time being, with the Confent of the Council, any
                                                     E                        three


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                                      ACTS




                                          OF TiHE,,"




                   STATE, OF Niz,W JIiSiA",

                                           AND




            FiI'I'Y-FIRST UfNDI,.ll TII l.1NEW C(NSTI'I''IION,




                                      (cu1'.N N. 'I,
                       Iiv   .o'tll     | 1V;IS.IIIN(i ik-il tIATIO.N.
                                           11185.




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                                 GENERAL PUBLIC LAWS.




                                        CHAPTER XLIV.

                  An Amendment to An act to prevent vending, using or
                    exploding of guns, pistols, toy pistols, or other fire-arms
                   to or by persons under the age of fifteen years in this
                   state."
      QeCtrln        1. BE IT ENACTED In'I/1w'                   hi/
                                                        dlar (,dtW     ,Ass01l'!,'tI
      neld.       Mke State qf Ne-w .Yors,, That the second section of the act
                  approved Fcbruary tenth, one thousand eight hundred and
                  eighty-two, entitled as above set forth, be and the same
                   hereby is amended so as to read as follows:
      v,,,fi w,,,u [:!. And be it euacled, That it shall not be lawful to sell.
       ,,,.,,. hire or loan to any person under the age of fifteen years any
       a,Ax.      gun, pistol, to , pistol or other fire-arms ; or for an\ person
                   under the age of fifteen years to purchase, barter or exchange
                  any gun, pistol, to) pistol or other fire-arms; nor for any•
                  person under the age of fifteen years to carry, fire or use an),
                  gull, pistol, toy) pistol or other fire-arms, except in the pres-
                  ence of his father or guardian, or for the purpose of military
                  (trill in accordance with the rules of a school.]
      1,,,lt.        ... And be it enalted, That any person ofiending against
                 the provisions of this act shall be punished by a fine not
                 ceceeding twenty-five dollars.
                   Approved March 2, 1885.




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            68z                               LAWS                   of      NE W-         rO R K.
                I2th GEORGE III.        as aforefaid; that evey fuch Perfon and Perfons, (hall forfeit Three-penceper
                   A. D.     1772.      Pound, for every Pound of Flax fo fold, contrary to this AS, and at and
                                        after that Rate for every greater Quantity, to be fued for and recovered by
                                        Aftion of Debt, with Coffs of Suit, in a fummary Way, by any Perfon
                                        who will fue for and profecute the fame before any Juftice of the Peace
                                        within the City of New-York, to be levied by Procefs, to be directed to
                                        either of the Conflables, or other proper Officer of the City, commanding
                                        them, or either of them, to levy the fame by Diftrefs and Sale of the Of-
                                        fenders Goods and Chattels; which Forfeiture when recovered as aforefaid,
                And for counterfeit-    to be applied by 'the Perfon recovering the fame, to his or her own Ufe ; and
                ing Labels or Marks.
                                        if any Perfon or Perfons, thall prefume to counterfeit the Label or Mark of
                                        the faid Infpector, he, tbe, or they fo offending, thall forfeit for every fuch
                                        Offence, the Sum of Five Pounds, to be fued for, recovered and applied in
                                        Manner aforefaid.
                                           IV, (n.i   'be it furtber Cnafctn, That Obadiah WIJells, thall be, and
                                        hereby is appointed Infpeaor of Flax within the City of New-Tork ;
                                        which faid Infpector before he does any Thing in Execution of the faid
                                        'Oflice, thall take an Oath before the Mayor or Recorder of the City of
                                        New-York, in the Words following, to wit. I A. B. do f/wear, that I
                  Inrpe&or's Oath.       will fithfuly, truly and impartially, according to the befl of my Judgment,
                                         Skill and Underfianding, execute, do and peiform, the Ofice and Duty of an
                                        Infpedor and Examiner of Flax, according to the true Intent and Meaning
                                        of an Ad, entitled, An AR for the Infpeaion of Flax in the City of
                                        New-York ; and I will not diredly or indireVly, buy or fell any Flax, during
                                         the Time I continue Iqlpedor of the fame, except for the private Ufe of my
                  If the Officer is     Family. So help me G 0 D. And if the Officer hereby appointed, [hall
                rendered incapable       by any Accident be rendered incapable, or neglect to execute the faid Office,
                of aing, the Mayor,
                UC. to appoint           or inifbehave himfelf therein, or (hall happen to die, then and fo often,
                anotber.                and from Time to Time, in fuch Cafes, it thall and may be lawful, to
                                         and for the Mayor, Recorder, and Aldermen of the City of New-Tork,
                                         or the major Part of them, to fupply his Place by fome other fit and ca-
                                         pable Perfon, who fhall thereupon be the Officer for putting this Aa in
                                         Execution, until another be appointed by At or Acts hereafter to be paffed
                                         for that Purpofe; which Officer fo appointed, thall take the Oath above-
                                         mentioned, have the fame Powers, and be liable to the fame Penalties, as
                                        the Officer particularly appointed by this At; any Law, Ufage, or Cuftom
                                        'to the contrary notwithflanding.
                                           V. Scotlibe0 aflutp#, an be it enacteD by the Authority afire(iid,
                  Infpeder to pro.      That the faid Infpedor tball be obliged to procure a Houfe or Store proper
                vide a Store near the
                Water.                  for the Infpection of the faid Flax, to be fituated near the Water, between
                                        Peck's and Burli'g-SI s, :in 'this City.

                  A6 of Force until       This AG to continue in Force, from the tenth Day of April next, until
                aft Feb.   1774.        the firft Day of Februaiy, One thoufand feven hundred and feventy-four.

                                                              C H A P. MDXLIX.
                                        An A C T t! -vent the Danger ari-ng from the pernicious
                                         PraIice of tlK ing Gun-Powder in Dwelling-Houfs, 'Stores, or other
                                         Places within the City of New-York, or on board /' Vephi1 ls within the
                                          Harbour.                           Pafs'd the 2 4 th March, 1772.


                Preamble.
                                        W        by the floring
                                               HEREAS           of Gun-Powder
                                                            the City of New-Yorktohas
                                                                                   the lately
                                                                                         Southward
                                                                                              been greatly endangered
                                                                                                     of Fre/b-Water,
                                        contrary to Law, notwithftanding the Corporation have long fince provided
                                        a Puwder-Houfe for that Purpofe.




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                          WILLIAM TRYON, Efq; Governor.                                                        683
             I.     Cit tberefat Enaact       by his Excellency the Governor, the Council, izthA. GEORGE
                                                                                                  D.
                                                                                                         11r.
                                                                                                 1772.
            and the General .I§mbly, and it is hereby Enaled by the Authority of the
          fame, That from and after the paffing of this ARV, it thall not be lawful Retailers of Gun-
            for any Perfon or Perfons, other than Shop-keepers and Retailers of Gun- powder not to keep
                                                                                     more than aS lb.
           Powder, to have or keep in any Place within two Miles of the City-Hall within     2 Miles of
           of the faid City, more than Six Pounds of Gun-Powder, nor for Shop- the City-Hall, and
           keepers and Retailers more than Twenty-eight Pounds Weight of Gun- other Perfons not
                                                                                     more than 6 lb.
           Powder, and that in four feparate Stone Jugs, or Leathern Bags, each of
           which (hall not contain more than Seven Pounds of Gun-Powder, upon on Forfeiture of
           Pain of forfeiting all fuch Gun-Powder; and the Sum of Forty Pounds for the Gun-powder,
                                                                                     and alfo of . 40,
           every Hundred Weight, and in that Proportion for a greater or lefs Quan- for each C. wt.
           tity; and upon Pain of forfeiting all fuch Quantities which any Perfon
           may lawfully keep as aforefaid, and which thail not be feparated as above
           direded, with full Cofis of Suit to any Perfon or Perfons who will inform
           and fue for the fame, by any Adion, Bill, or Information, in any of his
           Majefty's Courts of Record in this Colony; which Courts are hereby im-
           powered and required to give fpecial Judgment in fuch Adions, Bills, or
           Informations to be brought upon this Ad, as well for the Recovery of fuch
           Gun-Powder in Specie, as for the Penalty aforefaid, befides Cofis, and to
           award effedual Execution thereon.
            II. Finb tic it furtict EnaaeD by the Authority aforefaid, That it fhall
          be lawful for the Mayor or Recorder, or any two Juftices of the Peace of                  Warrants to frue
          the City and County of New-ork, upon Demand made by any one or                          to fearch Ships or
                                                                                                  Places where Gun-
          more Houfholder or Houfholders, being an Inhabitant or Inhabitants of                   powder is fufpeGed
          the faid City, within two Miles of the City-Hall of the faid City, affign-              to be lodged, con-
          ing a reafonable Caufe of Sufpicion, on Oath; of the Sufficiency of which               trary to this Ad.
          Caufe the faid Mayor or Recorder, or Juftices, is and are to judge, to iflue
          his or their Warrant or Warrants, under his or their Hands and Seals, for
          fearching in the Day-Time for Gun-Powder within the Limits aforefaid,
          any fuch Building or Place whatfoever, or any fuch Ship or Veffel within
          twelve Hours after her Arrival and faftening to the Wharf, or to any other
          Ship or Veffel along Side of the Wharf or Key, of which Building, Place,
          Ship or VeiTel fuch reafonable Caufe of Sufpicion thall be affligned, on Oath,
          as aforefid; and that upon every or any fuch Search, it fhall be lawful for
                                                                                                  Power to feize and
          the Searchers or Perfons finding the faune, immediately to feize, and then,             remove all above the
          or at any Time within twelve Hours after fuch Seizure, to amove, or Caufe               Quantity allowed.
          to be ainoved, all fuch Gun-Powder as fhall be found within the Limits
          aforefaid, or on board.of fuch Veffel as aforefaid, upon any fuch Search,
          exceeding the Quantity allowed by this Ad, to fome proper Magazine, now
          or to be built for the Purpofe of Storing of Gun-Powder ; and the fame
                                                                                                  Perfons fetizing, not
          being fo amoved, it fhall be lawful to detain and keep the fame until it                fuhjca to any Suit
           fhall be determined in one of his Majefty's Courts of Record of this Co-               for the Detenfion,
          lony, wvhether the fame fhall be forfeited by Virtue of this Ad; and the                until it fhall be de-
                                                                                                  termined whether
           Perfon or Perfons fo detaining the fame, thall not in the mean Time be fub-            forfeited or not.
          jed or liable to any Adion or Suit for the keeping or detaining the fame,
           until it fhall be determined, whether the fame be forfeited as aforefaid.

                III. Vtotioeb nhjaltnwant tic it enacteb by the fame Authority, That
           nothing is this At contained, (hall be conftrued to cointenance or autho-                 Service of civil
           rize any Perfon having fuch Warrant, to take Advantage of the fame, for                Procefs at the Time
                                                                                                  of fearching, void.
           ferving any civil Procefs of any kind whatfoever, but that all fuch Service
           (hall be abfolutely null and void.


                                                                               IV.   ltotbilett




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           684                             LAWS                     of       NEIV-JTO R R.
           1 2th    GEORGE Il.           IV. P9rotico a1fo, anD           it is betebv furtbcr rnactcD hy   the   Authority
                 A. D. _177;.!         afbrefaid,That it (hall not be lawful for any Perfon or Pcrfons intereftd in
                No Suit   to   be      fuch Gun-Powder, or any Perfon or Pcrfons by Collufion with the Owners
           maintained on this          or Proprietors thereof, to have or maintain any A6ion, Bill, or Informa-
           A& by Collufion             tion, upon this Ad; any Thing herein contained to the contrary not-
           with the Owners of
           the Gun-powder.             withftanding.
                                          V. AND for preventing the dangerous Carriage of Gun-Powder, in and
                                       through the Streets of the City of New-Tork, within two Miles of the
                                       City Hall of the faid City : 188 it enartch by the Authority a/ore/aid,
              Not more than            That from and after the paffing of this Ad:, it thall not be lawful for any
            Five C. wt. to be car-     Perfon or Perfons, to carry or convey in or through any of the Streets or
            ried at a Time, thro'
            the Streets.               Lanes within the Limits i aforefhid, more than Five Hundred Pounds Weight
                                       of Gun-Powder at a Time; and that all Gun-Powder which thall be car-
                                       ried or conveyed in any Carts or Carriages,
                                                                                b
                                                                                     or by Hand or otherwitfe, in or
            and that to be cover-
            ed with Bags or            thro' any of the Streets or Lanes aforefaid, after the Time aforefhid, hall
            Leather Cafes,             be in tight Cafks, well headed and hooped, and (hall be put into Bags or
                                       Cafes of Leather, and intirely covered therewith, fo as that no fuch Gunn-
                                       Powder be fpilt or fcattered in the Paffage thereof; and if at any rime after
            on penalty of for-          the paflag of this Aft, any Gun-Powder (hall be carried or conveyed by any
            feiting the Gun-            Perfon or Perfons, in or through any of the Streets or Lanes aforefaid, in
            powder.
                                        any greater Quantity, or in any other Manner than as aforefaid, all fich
                                        Gun-Powder thall be forfeited, and fl-all and may he feized by any Perionl
                                        or Perfons, to his or their own Ufe and Benefit, the Pcrlbn or Perfbns fo
                                        offecnding, being therec lawfully convided before two Juffices of the Peace.
            A&not to extend to          Provided always, That this At or any Thing herein contained, thall not
            Ships of War or the         extend or be confrued to extend in any wife, to affed any Ship of War,
            King's Stores.              Storehoufe, or Magazine belonging to his Majefly, his Heirs or
                                                                                                          Succeflors,
                                        wherein Gun-Powder or other Stores thall be kept, for the Ufe of the
                                        Public or the Powder Houle above-mentioned.

                                          VI. GOD1w ti it furtlyt CIaCted by the Authority i/ore/iid, That if any
                                        Suit or AaIion fhall be commenced or proFecuted againif any Perfon or
                   acneral Iite.        Perfbns, for any Thing done in Purfuance of this A&, in every fLich Cafe,
                                        fuch Perfon or Perfons, lhall and may plead the general Ibiie, and give
                                        this Ad: and the fpecial Matter in Evidence, at any Tryal to be had there-
                                        upon, and that the fame was done in Purfuance, or by the Authority of
                                        this Ad:; and if a Verdi: f(hall pafs for the Defendant or Defendants, or
                                        the Plaintiff or Plaintiffs, (hall become non-fuit or dilcontinue his, her,
                                        or their Suit or Aaion after Iffue joined, or if upon Demurrer or other-
                                        wife, Judgment thall be given againft the Plaintiff or Plaintiffs, the De-
                                        fendant or Defendants, (hall and may recover treble Coffs, and (hall have
                                        the like Remedy for the fame, as any Defendant or Defendants, hath or
                                        have in any other Cafe by Law.

                                           VII. iprolierD aliapo, anD be it @nacteD hy the Authority abre-
                   Limitations of Ac    faid, Th.at all Suits, Adions, and Profecutions to be brought, commenced
                tions to be broughtb
                againfi Perfons exe-     or profecuted againft any Perfon or Perfons, for any Thing done or to be
                cuting this Aa.          done, in Purfuance or by Authority of this Ad, thall be laid and tryed in
                                         the County where the Fad was committed, and fhall be commenced and
                                         profecuted without wilful Delay, within fix Calendar Months next after
                                         the Fadt committed, and not other wife.

                   Firemen may feize       VIII. Sani be it fitttbly @aCtCt by the Authority aforf/zid, That if
                for their own Ufe,       any Powder other than fuch Quantity as any Perfon by this Ad:, may law-
                Gun-powder found         fully keep in his Cufrody, thall be found during any Fire, or Alarm of
                during any Fire.
                                                                                                                          ire




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                               WILLIAM TRYON,                       Efq; Governor.                             6
                 Fire in the faid City, by any of the Firemen of the ftid City, it flall be Izth GEOROE                 III.
                 lawful for him to feize the line, without Warrant from a [Magitlrate, and LA. D. 1772.
                 to hold and have the fame to his own UIfe; any Thing in this Ac' to the
                 contrary notwithifanding.
                    This A& to be and continuc of Force from the pating thereof, until the
                 Twenty-fifth Day of March, One Thoufand Seven Hundred and Se-
                 ven ty-four.


                                              C H1 A P.        MDL.

                 Anl A C T for the better Support of the Hto             be creled in
                         the City of New-YIork, fr jick and indoent Per/ons.
                                                                 Pafs'd the   24th   March, 1772.
                 W      IEREAS his Majefty has been gracioufly pleafed by Letters Patent
                          or Charter, under the Great Seal of this Colony, to efLablilh a
                Corporation under the Name of, 'The Society of the HofTItal in the City of'            Preanmbe.
                New-YORK i/ AmERICA ; for the benevolent Defign of healing ftch lick
                   _lons, who from their extreme Indigence, are become Objeds of (Iha-
                rity. And whereas the thid Society have by their Petition to the General
                Affembly, not only fuggeficd, that without the Aid of the Public, the
                Initution is in Dainger of failing; but given the fhileft and moft explicit
                Aflburances, that the Benefits thpreof flall not be denicd to any poor di-
                cafed Perfons, and that they mean to proceed uniniftenced by any contradaed
                or partial Attachments, and without civil or religious Diftindions of any
                Kind. And whereas a Society efIablithd for Ends, fo laudable, and con-
                duClcd by Principles fo generous, humane and benevolent, deferves the En-
                couragement of the Public;

                    I. 13C it tbcc0tc 811actet by his Exce'//lny the Governor, the Council,
                 and the General A          and it is hereby EnaleHd by the Authority of the
                                            tin/y,
                flne, That the Trealarer of thIs Colony for the Time being, thall, out of nniiuan.1fy
                                                                                                f. Soo, to be paid
                                                                                                        for 2o
                 any Fund in the Trcafury, pay, and he is hereby required to pay unto the Yar , chargeabe on
                 Treafitrer, for the Time being, of the thid Society of the HJofpital in the the Exciei in Ne-
                 City of New-T'ork, in America, the Sum of Elbt hundred Pounds annually, 2r            the_ are
                                                                                                       for         or



                 for and during the Term of Twenty Years, to be computed from the firft
                Day of FebI'ruay next ; which Sum of E ht Hundred Pounds, fo to be
                 paid, fhall become chargeable upon the Duty Of Excife, laid or to be laid,
                on firong Liquors retailed in the City of Aew-Tork.

                    II. 5018 tic it a1o nactc by the 'une Autbority, That the Monies
                that may hereafter arife by the Duty of Excife to be laid on firong Liquors The Excil in the
                retailed in the feveral Cities, Counties, Towns, Boroughs, and Manors other       Counties appro-
                                                                                             priated to repairing
                within this Colony, for and during the Term of Twenty Years, to be lighwas during 20
                computed from the firdf Day of Fcbruay next, and not appropriated by re~ars.
                 this Ad-, flall be paid by the Commilioners to be appointed for colleding
                 the Duty of Excife on firong Liquors retailed within this Colony, unto the
                Treafirer of the Counties feverally, where fuch Duty flall be colle~el,
                to be annually difpofed of and applied to the Ufe of fuch Counties, in
                fitch Manner as the Majority of the Supervifors of the Counties refpedively,
                flall think proper. Provided ahays, That if the Duty on Excife in. the
                City of New-York, thould in any Year exceed the faid Sum of Eitrt Hu -
                dred Pounds, that fuch Excefs fhall be paid, and the Commiflioner to be
                                                  S L                             appointed,



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                      THE STATE OF OHIO.


                Oe~qef'5d                       d oS .LSwO
                                                      ]
                                                   AND




                                JOINT RESOLUTIONS,
                                              PASSED DY T1




                  SIXTY-SECOND GENERAL ASSEMBLY,

                                AT THE ADJOURNED SESSION,



                     Held in the City of Columbus, commencing Tuesday, J3uary 2, 1877.




                                   VOLUME LXXIV.



                                        COLUMBUS:
                      NEVINS & MYERS, STATE PRINTERS.
                                                  1877




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                               sentenced to hard labor iu the jail of the county until the
                               fine and the costs of prosecution and accruing costs are paid;
                               and for his labor such convict shall receive credit upon such
                               fine and costs at the rate of seventy-five cents per day. [72
                               v. 165, § 1.]
                Connecting        SEC. 55. Whoever connects any bridge over the Ohio
                river bridges river with, or attaches the same to the Ohio shore of said
                to Ohio shore
                of Ohio river. river, unless the same have an unbroken and continuous
                               span of not less than four hundred feet over the main
                                                                                        chan-
                               nel of said river, shall be fined ten thousand dollars. [66 v.
                Tavern-        71, §§ 1, 2.]
                keeper per-       SEC. 56. A tavern-keeper who permits any kind of riot-
                mitting riot- ing or reveling, intoxication, or drunkenness, in his house
                ing, drunk-
                enness, etc.,  or on his premises, shall be fined not more than one hundred
                in his house. nor less than five dollars. [64 v. 25, § 1; S. & S. 749.1
                Pawnbroker        SEC. 57. A person engaged in the business of pawnbroker,
                failing to     who fails to take out a license therefor, or receives and ad-
                take out li-
                cense, or to   vances money upon, any property pledged, and fails to keep
                keep reg-      a register thereof, or of any property bought, as required by
                ister.         law, or who refuses to exhibit such register, or any property
                               pledged, or property bought, if in his possession, to the chief
                               of police, or to a police officer lawfully deputed to inspect
                               the same, shall be fined not more than one hundred nor less
                Keeper of       than ten dollars. [66 v. 224, § 451 ]
                tublc  house
                 copiang or       SEc. 58. Whoever, being the keeper of a public house, or
                  p tting       retailer of spiritous liquors, establishes, keeps, or permits to
                baornin-
                 Eall or nie- be kept upon his lot or premises, any ball or nine-pin alley,
                pin alloy,    or is interested in any ball or nine-pin alley upon the prem-
                              ises of another, shall be fined not more than one hundred
                              nor less than ten dollars; and this section shall be construed
                              to extend to any alley denominated a nine-pin alley, wheth-
                              er such alley is used for playing therein a greater or less
                Suffering     number than nine pins. [21 v. 161, § 7; S. & C. 448.]
                Canada this-     SEC. 59. Whoever knowingly vends any grass or other
                ties to grow  seed, in or among which there is any seed of the Canada this-
                on land and
                vending seed tle, white or yellow daisy, and whoever, being the owner or
                thereof.      possessor of any land, suffers any Canada thistle to grow and
                              ripen seed thereon, or on the highway adjoining the same,
                Firing can-   shall be fined twenty dollars. [42 v. 37, § 2; S. & C. 451.)
                non or ex-       SEC. 60. Whoever, except in case of invasion by a foreign
                ploding  gun- enemy, or to suppress insurrection or a mob, or for the pur-
                powder oi:
                public        pose of raising the body of a person drowned, or for the pur-
                street,       pose of blasting or removing rock, fires any cannon, or ex-
                              plodes at any time more than four ounces of gunpowder, up-
                              on any public street or highway, or nearer than ten rods to
                              the same, shall be fined not more than fifty nor less than five
                Exhibiting    dollars. [43 v. 117, § 1 ; S. & C. 451.]
                puppet           SEC. 61. Whoever exhibits any puppet show, wire-dane-
                shows, etc.,  ing, or tumbling, juggling, or sleight-of-hand, and asks and
                for money.    receives any money or other property for exhibiting the
                              same, shall be fined not more than te'n dollars. [29 v. 161,
                              § 8; S. & C. 449.]




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                cense, or to   vances money upon, any property pledged, and fails to keep
                keep reg-      a register thereof, or of any property bought, as required by
                ister.         law, or who refuses to exhibit such register, or any property
                               pledged, or property bought, if in his possession, to the chief
                               of police, or to a police officer lawfully deputed to inspect
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                powder oi:
                public        pose of raising the body of a person drowned, or for the pur-
                street,       pose of blasting or removing rock, fires any cannon, or ex-
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                                                             1 7641
                          be paid by the Trcafurer on the warrants of the Governor ; and
                          the accounts of all diIburlincnts, lerviecs and c.xpnccs, made
                          and incurred in purfuancc of this aJ, flill be exhibited and
                          fettled agreeably to the laws for fettling other public accounts.
                             Si,-c -. XVI. And be itfitrlherenaiqed by the atothority af.refi,
           Rpeal of ,o That the a&, entitulcd " An Ad for laying out a town at 1'retfiu'-
                                H
                                lle," paffcd thc eighth (lay of April, one thouland feven hun-
           tH,,,ni    ,'rci: dred and rninety-three, and the fupplemient thereto, palfld the
           ilL,              eighteenth day of April, one thoufind flevel hundred and ninety-
                          four, flall be, and the lime are hereby, repealed,                      (s)
                                                          GEOR GE LATIMER, 8/caker
                                                                of the !Zoqfe     uJ i-pLrJ2'nialive.
                                                          ROBERT HARE, S ,akcr
                                                                           f the Senate.

                          .4proveul,       prl l'the eigbteentb, 1795.
                                THOMAS MIFFLIN, Govcrnor
                                 of the commonwealth of Penyylvania.



                                            C H A P T E R CCCXXXVII.

                                  An A CT providingjbr the Inj:celio, rf Cun-powder.
                          W        H E R EA S gun-powder imported from abroad, and
                                    manufadured within this ftate, hath frequently been
                          fouhd to vary much in its ftrength, and fometimes of inferior
                          qualities, and its defedts not difcovered until brought into adual
                          ufe : And whereas the nodes heretofore ued to prove the force
                          thereof have been found uncertain and variable : And whereas
                          Jofeph Leacock, of the city of Philadelp'iia, hath invented an
                          engine, called a pendulum powder proof, with a graduated arch
                          and catch-pall, by which it is conccivcd that the force of gun-
                          powder may be proved by experiment, and the article reduced
                          to certain and uniform flandards of flrength, whereby the manu-
                          fadure may be advanced towards ultimate per'c.feion, and the
                          purchafer and confumer proteded agai, R fraud awic impolition :
                                   o
                              SECT 0    I. Be it thereiare enacted by Ike SE NA T E and
           Oun-to,.Aer    lOUSE ?f REPRESENTATIVES oJ'the co;''j niralth of Pc-n/'l-
            n.ti,,f.red          in General
                          vania, in§li4mbly         met, and it is bc.''b;' esach d 1y te au-
           howtohepack-   tbority qf tbefie, That, from and after the fiKl day of Odober
           CE1in cilk.    next, all gun-powder manufadured within this ftate, with in-
                                                                                                              tent
                             (r) For the .6'ts referred to hi this fe&rn, fct an'. pagti 346, 518 ; and for another
                           t& relating to the town at Prcrqu'-Ifle, f,-alt. pge j3,9.




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                                                            r      765     1
                     tent to i:1 tl-,c fame within the city or county of Philadelphia.,
                      thai be put in good and tight kegs or calks of twenty-five, lifty,
                     or one hundred pounds.ncat weight, each mad of Nvell feafoned
                     tin.bcr, bound together with at leall twelve hoops, and having
                     a hoc borcd in each head, of the diaimcter of one fourth part of
                     an inch, well iltopped with corks, and having the tare weight of
                     each calk inarkcd thereon, and that all fuch gun-powder, and
                     al other gun-powder, whereloever manufalured, imported into AIIgun-row.
                                                                                          cr manufac-
                     the port of Philadelphia, cr brought into the city or county o" ,       naor ira-
                      Pi:iiadelphia for tale, (lall be depolited, 1orthwith on fuch ira- rortcd,
                                                                                          clofited
                                                                                                  to be
                                                                                                    in thm
                     portation or bringing in by land or by water, in the public maga- n13gazill.
                     zinc in the fhid city, and delivered to the care of the keeper of
                     .the luroc, who iha:il give his receipt for the t1ime, deliverable
                      to the order of him or them who fliall fo depolit the LAme. (;)
                        S E'CT.   I.                it1/urhcr t,,, ,h'y the amt/ci/y a/bnjai/,
                     That David Rittcnhoutb, Fn'ancis Gurney and Thomas Prodcr cpl'oint-d to
                     be, and they arc hcreby, appointed Conimiflioners, to procure ; ,roatre p-Lnduz
                                                                                                 rlto
                     at leaff two pendtlum powder proof,, upon the conilrudion in-
                     vented by tie Iifid Joltipii Leacock, a, nearly uniform in the ,
                     length cl the radius and weight of pendulim, and in length of
                     calLicr and weight of the piftol, as they can procure the liine,
                     and therewth n-ake experinents of the relpedive flrength or
                     force of the fi:vcral ilecies of gun-powder imported from abroad,
                     and manufa&iired wvihin this ftate, fuffjcient in number to af'ccr-
                     tain the qu-aity and force of three diflrent degrees of ftrength
                     in exploilon, and narking the number of degrees on th6 gradu-
                     ated arch of the Iid engine, to which equal quantities by weight
                     of the faid three I'ecies of gun-powder, rammed with equal
                     loice into the piflol, ihall elevate the fiaid pendulum ; and the
                     powder, which ihall be barely capable of railing the fli{ pendu-
                     lun to ti lowc 'L    rate of elevation, flall be the flandard for the tandard proru''
                     flt :e of Pen,:n :ania for gun-powder of the firft or lowelt proof; f gun-plowdt r
                     a.nd thu powder, which fliall be capable of railing the faid pen.-
                     dulum to the highell rate of elevation, (hall be the flfandard of
                     gLn-powdler for the 11-ate of Pennfylvania of the third or higheft
                     proof; and the middle or fecond proof ltandard of gun-powder
                     ihall be afcertained by the number of degrees on the laid gradu.-
                     ted arch, to which the lame quantity by weight in equal moit-
                     tes of the firll and third proof powder thall be capable of railing
                     the Ihid pendulum; and the faid ftandard being fo fixed and afcer-
                     tained, the faid Commifflioners fliall make report thereof in j'lie ffommiif-
                      writing, by indentures under their hands and Iials, one part *(,[r'C3        to rt-
                                                                                           -imit, wu~di-
                      thereot, together with one of the Liid two pendulum powder tIrzf,    urni areurace
                                                                                                  ef the
                      proofs, and as accurate a draft and defeription thereof as can be two rendulum
                      made fhall be returned to the Governor, to be filed and remain in Polvdcr pruofs;
                      the oflic- of the Secretary of the commonwealth; one other part ,vhcre the faui
                                                                                            1ll be dc-
                      fNall be returned to the MJa~er of the Rolls, to be recorded in his lofited.
                      office, and filed among tle laws of the Rate ; and the other part,
                                                                    9 JI                          together
                        (1t) See ani, pages 87,   171.




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                                                            t    766      1
                                together with the other pendulum powder prouf, f(ball be de-
                                livered to the firfi Inpcdtcr of gun-powder to he apPoited III
                                purliance of this ad, and by him, arid his Ihcceflirs in office, to
                                his and their fuccefibrs, as often as another ofiiccr flull be ap-
                                pointed.
                                    III, And be it further ena fed by the authority q/frefiid,
                                  SECT.
       Ilow th.ein thpn'- That olo often as the laid pendulum powder
       dLuiio                                                       ea, lproo'.s
                                                                          o      in the poffeif
       ICtPi.g of tile   ,of of the Infpeaor fhall, hy natural wear, or by accident, be
       11i4,,,or ,,,Y rendered unfit for ufe, or its accuracy doubted, the fame fhall be
       bc !paired, ur
       a ,,wo,,e                compared with the other remaining in the Secretary's oflice,
       tuade.                   and, if found neceflry, a new one confiruded, and made con-
                                formably thereto in meafure and weight, for the ul' of the In-
                                fpeCtor, at his own colts and charges.
                                      And be it further enafed b, the authoriO , q/awfari,
                                  SEC T. IV.
       Ariuble         That the faid Commiffioners fball prepare and report a plan for
       building to be
       ,real,. oo the the neceffary buildings, and an eltimate of the expence thereof,
                 he I- and the fame being laid before and approved by the Governor,
               tr(if
       f~~clier.        he/hall caufe to be ereded and built, on the nioft proper part
                                of the lot belonging to the public magazine aforefitid, a brick
                                building, for the Life of the Infpedor, with two apartments, one
                                for the purpoll of keeping his engine apparatus and for making
                                proofs, and the other for the purpofe of keeping the fampics of
                                powder in fIafety, the expence of which building fliall be paid
                                and defrayed by warrants to be drawn by the Governor on the
                                State Treafirer, which fhall be allowed him, on fettlernent of
                                his accounts, out of the fund for the fupport of government:
        1,inhation of           ,Provi.Ytd, That the whole amount of the expence thereof do not
        the expiicne.           exceed the fum of live hundred dollars.
                                   SEcT. V. And be it further enaflet ly the authoriy afoefhid,
        An irpLonrof             That it fhall and may be lawful for the Governor of this com-
        b""-po,,nud.             monwealth, and he is hereby required, as foon as conveniently
                                 may be after the paffing of this adf, and as often afterwards as
                                 the office fhall become vacant by death, refignation or otherwife,
                                 to appoint one fuitable and ikilfil perfon to be lnl'pedor of gun-
                                 powder in and for the city, port and county of Philadelphia,
         Us      qual!ifica-     wh, before he enters on the duties of his office, flall take and fub-
        r~U,,,                   fcribe the oatl. or affimation required by law for the fupport of
                                 the confltitutions of the United States and of this late; an.1
                                 moreover lhall take and fubfcribe, before the Governor, an oath
                                 or affirmation, that he will well and faithfully perform all and fin-
                                 gular the duties required by this ad, accordi'ig to the belt of his
                                 knowledge, fkill and ability, and without prejudice or partiality.
                                    S Ecr. VI. rAnd be it further enaled by the authority qibrefid,
         Duties      of thc      That it fhall be the duty of the lnfpe&or of gun-powder lb to.
          1n4c.aor.              be appointed, for the time being, to attcnd at the (hid public
                                 magazine, and his office fo to bq built, as often as fhall be ne-
                                                                                                 ceilruT,,




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                                                   [ 767 ]
                teffary, to infpe& and cxa.nine all              &erc to be de-
                                                                 fin..,.wd"T              To i'1fpcd, exa.
                                                                                          mtii11e and prove
                pofited, to draw famples fron each caflk of puvdr wilih ihall             thec gua-pow-
                                                                                          d cr ;,
                be fo as aforefaid bored, and to open or othcrwvife get famples
                of cafks of powder not bored as a:'orcfaid, and removing fuch
                famples to his office, there to prove the fame by the pendulum
                proof aforeftid, and note the flan'dard quality of each caflk, to
                provide himfelf with cedar plugs flaniped on the outer end with           to mark the
                                                                                          flandard quali-
                the letters S. P. and the figures numler one, number two, and             ty ;
                number three, to defignate the firft, fecond and third proofs of
                flandard gun-powder of the flate of Pennl'lvania, and another
                flamped with the letters S. P. to dolignate condemned gun-pow-            to mark con-
                                             C.                                           deninel gun-
                                                                                          powdcr ;
                der, and therewith carefully to plug up the holes opened or made
                for the purpofe with fuch marked plugs, as the proof quality of
                the powder in each cafk refpedqively contained, and occafionally
                to weigh the Ihid cafks ; and if upon weighing the fare fuljpicion        to weigh the
                                                                                          gu.-pnwder ia-
                 fliucld arife that the cafks are falfe tared, or do not contain the      ca1koall"y;
                (luantity herein above mentioned for each cafk, to empty the
                 fI'ne, and wcigh the cark and powder feparately, to af*ertain
                the deficiency, if any, in the neat weight, and to fill the fame          and to fupply
                                                                                          6 uy deficienc
                to its duc weight out of any other caik belonging to the fame             from othor
                perfon, marking the weight taken on the ullage cafks, and keep-           cafks.
                ing an exat account in his books thereof, and of the names of
                the owners, and the perlbns bringing and depofiting the famre.
                   ,SECT.  VII. Au.! be ilfurther enated b), The authori , aforifhid,
                 That every cafk of gun-powder *npae&ed as aforefi'id ihall be Rule for mark,.
                plugged up with a plug marked with the number next below the tig or,.
                                                                                      d(Inn11ing gun
                 flandard number of degrees to which the pendulum 'hall not be po,,d.
                .Ckvated in the proof, and that every caik of gun-powder in-
                 fIpLded as aforelhid, which fliall not elevate the pendulum to the
                 fiamidard of the firit or loveft proof, flhall be condemned, and one
                 pint of clean water for every twenty-five pounds of powder
                 there~n contained Ihall be poured thereinto, and the hole plugged
                 up with the plug marked S. P. before the fame thall be delivered
                                                  C.
                over to the owner to be refined and re-manufactured; and to The h,,,w&o?,
                ]-revent a failure in the infpetion by the temporary indifpofition "y  appoiuta
                                                                                   Deputy.
                of the InfteC&or, it flhall and may be lawful for him to execute
                all the duties hereby required by a Deputty, to be appointed by
                him, and approved by the Governor, theDeputy firti taking
                -and fubfcribing the like oaths or affirmations hereby required
                from the principal.

                   SECT. VIII. And be itfarlherrn.',7,'d b), Ih authority forf i,
                That the Keeper of the faid magazine Ihall at all feafonable times The !,rp'4-09i
                in every juridical day in the year admit the faid lnI*leCtor,
                                                                          p    and Inittedto into
                                                                                             btad-tlW
                ]ui D'puty and Affiftant-, into the faid nagazine, to do anl per- magazine.
                form thec leveral duties h1'reby required of him and them, and Powder not to
                Ihall not deliver -ny powder from the faid magazine until the infredoc,
                fitnc fliall be in!i eAcd as aforefaid.                     SEc r.




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                                                       [   768    ]
                            SE CT.    X. Aud be it firh'er eClofled      ',,/.e w/thori; , a.rLfd,
                        :, .That no perlon appointed to the otlice oF lnfpcdor, or his De-
           i).           ory-'1 puty,
           D'..i-Oly uIrcM"       l y     ihall, during the time of holding or exerciling the 1aid
                                       illLn.

                      a..,.
                     mfaquigor  office, be concerned dirc'ly or indircOly in manu.t'aduring,
                ;,,,            buying or felling gun-powder in grols, or by retail, under pe-
            ';W',"              nalty of forfelting the fiin of live hunidrcd dollars for cvzry fuch
                                offence, to be rccoN cred by any perfon who will rue for the !aMe
                                in any court having competent juri!-lition, one moicty fbr the
                                ufc of this comnmonwealth, and the other to the uf*e of him or
                                them who f(all fue for the famle ; and upon convidIon thereof
                                fhall be removed from the faid office, and wholly diul'quahihcd to
                                take or hold any cflice of trult cr profit under this collnon-
                                 wealth.

                                  SECT. X. Am! be itJ.,rthercna,5'ic by tL' auihori'Y afrefJai,:
            ,mlt O,,, t That if any perlon, from and after the faid firil day of OCXSober
           dvp..,..r,,pl. next, inporting or bringing into the port or city, or county oc
           I:,gazi,,,   ,Ol Philadelphia, any quantity of '"un-powder exceeding twenty--live
           t',Ihln" th. imec"

                 ,ilpi-       pound,,,, with intent to fell the aime, fhall neglec to depolit the
                              laine fbr inltpeWlton in the magazine afore'aid, or thall 1ill the
                              tIame bufore it be intpeaed and marked as aforel'aid, or fhall fell
                              any, gun-powder that fliall be condemned as aforelaid as and for
                              me'chantable gun-powder, every perfon lb olending fhall forlCit
                               ill fich gun-powder as aforefaid.

                              S c,, r. X1 .1A&1,be it fwr/her cnaled by the au/hon/v qfqief iii, "
            Fe, oF the In- That the Iifpeaor lhall be entitled to demand and receive
            1.,,6aor.      and friom the owner and poflefior of all gun-powder depofited in
                           the laid magazine, and by him or his Deputy examined, proved
                           and plugged, as aforefaid, the following fums or rates, whethec
                           the fame be approved or condemned, paid or fecured, before the
                           fame flall be removed from the magazine, if the l.fpedtr lhahl
                           fo require ; for every cafk of powder, nianufaEture(I in Oli:; i:' t
                           or any of the United States, bored, and flopped with corks by
                           the manufaaurer, containing twenty-live pounds neat weight,
                            feven cents; for every like cafi: conitaining fifty poundk, eight
                           cents ; for every like cafk containing one hundred pounJ:', nine
                           cents ; and for every caik of foreign powdcr, or powde" mar, ii-
                           fa&ured in the United States, not bored and flopped with coi kS
                           as aforefaid, double the (aid price or rates ; and for every c.Ak
                           which he fhall find deficient one per cent. in weight, aid ,hi.ll
                           fill up, fifty cents.

                                    S9CT. XII. A,d be itfitherenafledloib   the authoril, afiferf.'tl,
                Ilowdirputes That if any diljute fhould arife between tho owner, pofliir or
                owner of ,gun.-t confignce of any
                                                   fuch' powder and the hfp2Eo', touching the
                powd r adt       proof or condemnation thereof, or of the good et',; of the inate-
                Inf eetnir fh3l
                 ,e d cc d,      rials aiid manner in which the caiks are made, upol application
                                 by the owner, poffeflbr or conifig.,ce of fuch puWidcr to o..e of
                                                                                                  Slhe




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                                                     r    769 1
                   the IMagffrates of the city or county of Philadelphia, where the
                   difpte Ilhadl arife, the faid Magiffrate lhall ilie his warrant to
                   three indifferent judicious perfons to be triers thereof, one of
                   them to be named by the Laid owner, pofleflbr or confignec, one
                   by the lhid Infpeaor, and the third by the fiid Magitrate, di-
                   rcliiig the faid triers to view and examine the itaid powder, and
                     nake report to him forthwith touching the condition thereof,
                   4Llld that if they fhall find the faid powder not merchantable, that
                    they certify to him the caufie thereof, and the faid Magiftrate
                    lball thereupon give his judgment agreeably to the report of the
                    £aid triers, or any two of them ; and in cat the faid Magiftrate
                    ilall on fuch report adjudge the powder not to be merchant-
                     able, he fhall award the owner, poflffor or confignee thereof, to
                     pay all coils; but in caie the faid powder hall be found mer-
                     chantable, the Infp1etor flhall be adjudged to pay all coils which
                     may have accrued, and flall thereupon caufe the powder to be
                     marked as of the flandard to be direded by the laid triers.
                                                   GEORGE LATIMER, Speaker
                                                     of"the Hoi' of Reprefintatives.
                                                   ROBERT HARE, Speaker
                                                        oJ the Senate.

                    _A4proved, .Aprilthe eig/hteeiitb, 1795.
                         THOMAS MIFFLIN, Governor
                           oJ" the commonwealth of Pennflvania.




                                     C H A P T E R CCCXXXVIII.

                     An A C T iipplcmen'ay to the feveial Aqs of 4fl'                                 for
                       O/fahling the Iudicial Cowrts of this commonweall/, in con.
                       fortity to the alterations and amendments in the coq/itution. (u)
                     W        IHI    R 7 A S the times direcaed for holding the Supreme
                                Court of this commonwealth are inconvenient: There-
                     fore,
                         SEC'ION      I. Be itenaLted by the SEN ATE and HousE or RE-
                     PRESEN A'ATIVES         of the commonwealth of Peniflvania, in Ge.
                     neral .4ffenibly mIet, and it is hereby enafted by the authority of the
                                                        9 1      f    ame,
                       (u) For the fev'eral ans reflce1iog the Jid]cial Department, fcc ant. pagcs 92, 40z,
                     409 ; ad tie Index to the fcvcral Voluma of the p 'fent edition.




                                                    Add. 95
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                               9)cober, 1776.
                             the     GENERAL                  ASSEM-
                       BLY of the GOVERNOR and
                       COMPANY of the STATE
                       of Rbode-Iand, and Provi-
                       dence Plantations, begun and
                       holden at South-Kingflown,
                       within and for the State afore-
                       faid, on the laft Monday of
                       Odober, in the Year of our
                       LORD One Thoufand-, Se-
                       ven Hundred and Seventy-
                       fix;,
                ai'             P    R   E   S E N       Tj
                                      The Honorable

                William Bradford, Efq; Deputy-
                                     Governor.
                   YOHNV COLLINS, Efq;    I
                   SIMEON POTTER, Efq;
                   JOHN JEPSON, Efq;      I
                   JAMES ARNOLDjun. Efq;    i
                   'PETEAr PHILLIPS, Efl*     Afit a nts
                   WILLiAM R OTTER, Efl;
                      THOM,4S CHURCH, Ifq; J
                        Rows E J.   H i, , E Ef{i.; Deputy-Secretary.


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                                  O6 oer, r776.
       e, by this Affembly, Itis Voted and Refolved, Thai
       the SLm aforef~iid be paid to the laid G.romel Child,
       out of the General Treafury.,

       AN ACT for the hfpedion of GU NP OWD                   F   R1
                    nan ufatred within this State.
            E it Enafled by this GeneralAf'enb.y, and, bv the A&regulai-
                                  isEnaqed, That ifany Per-'ing the In-
             Authority it'reo], 1'1
                                                                       fpdchon of
       fon or Perf01is,.'within this State, fliall vend or ex" GunpoWcr
       polle to Sale any Gunpowder, mai ifa.furcd within
       the fame, uhilc.s faid Gunpowdcr be packed in a
       good dry Cak marked with the two firfl Letters of
       the Manulfiturer's Name, and hath be.n examined
       and .approved by the Infpcdlor of Gunpowder, for
       fhid State, and' by him nr arked with the Letters
        U. S..4. and fuch other Mirks as.are neceilfry to
        difltinguifh 'the feveral Sorts of Gunpowder ; the
       Pv':f oi or Perfons fo offending, flhall forlcit and pay
        fix Pounds, lawful Money, for everyCafk f,expidied
       to Sale, to be recovcred by Bill, Plaint or lnfurma-
        tion, upoll Convikion before any Court of Record
        -withinl this Stare; which Forfeiture thall one Moie-
        ty thereof be given to the Informtr, and the other
        be paid into the General Trcafury of this State:
         .Andbe it  firther Enafed by the Authority aforefiiid,
         Th at the faid [f pedor be paid, out of the General
         Tret(urV. nitre Pence, l-\0ul Money, for every
         Calk lumaik d and infpedcd by him.
                               XXXXXXX


        AN A C T for punifhing Perfois counrerfeiting the
          Bilk or Notes of either of the Continental Loau-
          Ollices, within the United Stater of A.merica.
        B     E it Enaled by this Geieral.4emhby, and, by tb? Perrons coun-
                Authority thereof, it is Enafled, That if any Per- teoeitiri, the
         fon or Perfons, within this State, flhall counterfeit Bills or Notes
                                                           Loan- te Coti-
         the Bills or Notes of either of the Conrinentl
         Offices, within the Unite.] States of Americajor utter tintalLc:m-.
         or pals the lire, Knovirg them to be fuch, and be Office:, to be
         thercof duly cojviied,fhall fuiffter the Pains of Death. Death
                                                                   IT




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                     ACTS AND RESOLVES
                                    PASSED BY THE



                         GENERAL ASSEMBLY
                                     -OF     THE-




            STATE OF VERMONT,
                                           AT THE


                   EIGHTH BIENNIAL SESSION, 1884.




                       PUBLISHED BY AUTHORITY.




                                       RUTLAND:
              THE TUTTLE Co.,   OFFICIAL PRINTERS TO THE STATE OF VERMONT.

                                            188.1,



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            74                        PUBLIC ACTS.                         [ A. D.
                    No. 74.-AN ACT RELATING TO BEAR TRAPS.
               It is hereby enacted by the General Assembly of the State of
             Vermont:
               SEC. 1.  A person who sets or causes to be set a bear trap, shall
            cause to be built and maintained, three-fourths around the same in
            a substantial manner, a railing or guard not less than three feet
            high and shall protect the entrance to such trap against domestic
            animals by placing a pole horizontally, at a height of three feet
            from the ground, across the points between which it is designed
            that the bear should enter the trap. A person who violates the
            provisions of this section shall be fined not less than ten dollars
            nor more than thirty dollars.
               SEC. 2. Justices of the county shall have jurisdiction of
            offenses under this act.
               Approved November 25, 1884.




            No. 75.-AN ACT IN ADDITION TO SECTION THREE
               THOUSAND EIGHT HUNDREb AND NINETY-FIVE,
               CHAPTER ONE HUNDRED AND SEVENTY OF REVISED
               LAWS, TO PROTECT GAME.
               It is hereby enacted by the General Assembly of the State of
            Vermont:
               SEC. 1. No person in this State shall, at any time, take, kill,
            purchase or receive, or cause to be taken, killed or received, any
            woodcock or ruffled grouse, commonly called partridge, for the
            purpose of shipping or-in any manner disposing of them to parties
            or persons outside of this State, for traffic or gain. Any person
            violating any of the provisions of this act shall forfeit, for each
            offense, ten dollars and cost, one-half to go to the person making the
            complaint and one-half to the State.
               SEC. 2. This act shall take effect January 1, 1885.
               Approved Nov. 25, 1884.




                       No. 76.-AN ACT RELATING TO TRAPS.
               It is hereby enacted by the General Assembly of the State of
            Vermont, as lollows:
               SEC. 1.  A person who sets a spring gun trap, or a trap whose
            operation is to discharge a gun or firearmi at an animal or person
            stepping into such trap, shall be fined not less than fifty nor more



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           188-1.]                   P3UBLIC ACTS.                          75
           than five hundred dollars, and shall be further liable to a person
           suffering damage to his own person or to his domestic animals by
           such traps, in a civil action, for twice the amount of such damage.
           If the person injured dies, his persoil reprezentative may have
           the action, as provided in seCeions two thousand one hundred and
           thirty-eight and two thousand one hundred and thirty-nine of the
           Revised Laws.
              SEC. 2.   This act shall take effect from its passage.
             Approved Nov. 25, 1884.




           No. 17.-AN ACT IN AMENDMENT OF CHAPTER ONE
            HUNDRED AND SEVENTY OF THE REVISED LAWS,
            ENTITLED, " PRESERVATION OF FISH, GAME AND
            BIRDS."
             It is herebu enacted by the General Assembly of the State of
            Vermont:
              SEC. 1. The word sparrow in section three thousand eight hun-
           "dred and ninety-six of the Revised Laws relating to the protection
           of birds, shall not be construed to include English sparrows. Said
           section is also hereby amended by striking out the word " Wood-
           pocker" from the list of birds protected.
              SEC. 2.   This act shall take effect from its passage.
              Approved Nov. 25, 1884.




           No. 78.-AN ACT TO REPEAL NO. ONE HUNDRED AND
             SIXTEEN OF TH1E LAWS OF 1882, ENTITLED, "AN
             ACT FOR THE PROTECTION OF MUSKliATS."
             It is hereby enacted by the General Assembly of the S/ate of
            Vermont :
             SEC. 1. Number one hundred and sixteen of the laws of 1882 is
           hereby repealed.
              SEC. 2.   This act shall take effect from its passage.
              Approved Nov. 24, 1884.



                                          Add. 100
